USCA Case #25-1119       Document #2114177           Filed: 05/02/2025    Page 1 of 58



               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

 SERVICE EMPLOYEES
 INTERNATIONAL UNION,

       Petitioner,

 v.                                         Case No. 25-1119

 NATIONAL LABOR RELATIONS
 BOARD,

       Respondent.


                            PETITION FOR REVIEW

      Pursuant to § 10(f) of the National Labor Relations Act, 29 U.S.C. § 160(f),

and Federal Rule of Appellate Procedure 15, the Service Employees International

Union (“SEIU”) hereby petitions the Court for review of the final agency action

titled “Joint Employer Status Under the National Labor Relations Act” issued by

the National Labor Relations Board (“NLRB”) and published in the Federal

Register on February 26, 2020 at Volume 85, pages 11,184 through 11,236. A

copy of that final agency action is attached to this Petition as Exhibit A.
USCA Case #25-1119   Document #2114177        Filed: 05/02/2025    Page 2 of 58



DATED: May 2, 2025

                         Respectfully submitted,

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                                 * Petition for admission to be filed




                                   2
USCA Case #25-1119       Document #2114177         Filed: 05/02/2025   Page 3 of 58



                          CERTIFICATE OF SERVICE

      On May 2, 2025, I caused a copy of this Petition to be filed on the following

via email and first-class mail:


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                                      s/ Adam Bellotti
                                      Adam Bellotti
USCA Case #25-1119       Document #2114177         Filed: 05/02/2025      Page 4 of 58



                         DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioner Service Employees International Union (“SEIU”) hereby makes the

following disclosures:

      The SEIU is an unincorporated labor organization as defined by the National

Labor Relations Act, 29 U.S.C. § 152. It has no parent corporation and no publicly-

traded corporation has an ownership interest in it. The SEIU represents

approximately 2 million workers throughout the United States and Canada,

including many workers whose terms and conditions of employment are

determined by more than one employer. The SEIU seeks to safeguard and advance

workers’ welfare and security and to elevate its members and their families by

improving wages, benefits, and working conditions.

                                      s/ Adam Bellotti
                                      Adam Bellotti
USCA Case #25-1119   Document #2114177   Filed: 05/02/2025   Page 5 of 58




                 EXHIBIT A
                                                      USCA Case #25-1119                           Document #2114177                                 Filed: 05/02/2025                Page 6 of 58
                                              11184            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              NATIONAL LABOR RELATIONS                                 stability,1 protecting employees’ right to              application of the labor policy, or
                                              BOARD                                                    designate representatives of their own                  exercise[d] any immediate control over
                                                                                                       choosing ‘‘for the purpose of collective                the operation, of INI’’). Consistent with
                                              29 CFR Part 103                                          bargaining or other mutual aid or                       the statutory requirement that the
                                                                                                       protection,’’ 2 and preventing unfair                   common law of agency be applied, joint-
                                              RIN 3142–AA13                                            labor practices by employers and labor                  employer determinations have focused
                                                                                                       organizations.3                                         on the extent to which the separate
                                              Joint Employer Status Under the                             The NLRA also defines the terms                      companies exercise control over the
                                              National Labor Relations Act                             ‘‘employer’’ and ‘‘employee.’’ Under                    persons performing the work. Id.
                                                                                                       Section 2(2) of the Act, ‘‘the term                       As also discussed below, Section 6 of
                                              AGENCY: National Labor Relations                         ‘employer’ includes any person acting                   the Act authorizes the Board to ‘‘make,
                                              Board.                                                   as an agent of an employer, directly or                 amend, and rescind . . . such rules and
                                              ACTION: Final rule.                                      indirectly,’’ but excludes certain                      regulations as may be necessary to carry
                                                                                                       governmental entities, entities subject to              out the provisions of this subchapter.’’
                                              SUMMARY: The National Labor Relations                    the Railway Labor Act, or any labor                     See American Hosp. Ass’n v. NLRB, 499
                                              Board (NLRB or Board) has decided to                     organization (other than when acting as                 U.S. 606 (1991) (affirming authority of
                                              issue this final rule for the purpose of                 an employer). Section 2(3) of the Act                   NLRB to enact rules establishing
                                              carrying out the provisions of the                       provides that ‘‘the term ‘employee’ shall               bargaining units for acute care
                                              National Labor Relations Act (NLRA or                    include any employee, and shall not be                  hospitals). The Board has determined
                                              Act) by establishing the standard for                    limited to the employees of a particular                that it is appropriate to do so now in
                                              determining whether two employers, as                    employer, unless this subchapter [of the                order to define who may be a joint
                                              defined in Section 2(2) of the Act, are                  Act] explicitly states otherwise . . . but              employer under the Act.
                                              a joint employer under the NLRA. The                     shall not include . . . any individual
                                              Board believes that this rulemaking will                 having the status of an independent                     B. The Development of the Joint-
                                              foster predictability and consistency                    contractor. . . .’’ 29 U.S.C. 152(3).                   Employment Doctrine Under the NLRA
                                              regarding determinations of joint-                          The text of the Act and its legislative                 The general formulation of the
                                              employer status in a variety of business                 history further establish that, in                      Board’s joint-employer standard is
                                              relationships, thereby enhancing labor-                  determining whether an employment                       firmly established. ‘‘The Board will find
                                              management stability, the promotion of                   relationship exists between a putative                  that two separate entities are joint
                                              which is one of the principal purposes                   employer and employee, common-law                       employers of a single work force if the
                                              of the Act. Under this final rule, an                    agency principles are controlling. See,                 evidence shows that they ‘share or
                                              entity may be considered a joint                         e.g., NLRB v. United Ins. Co. of America,               codetermine those matters governing the
                                              employer of a separate employer’s                        390 U.S. 254, 256 (1968). Thus, in                      essential terms and conditions of
                                              employees only if the two share or                       making this determination, the Board is                 employment.’ ’’ CNN America, Inc., 361
                                              codetermine the employees’ essential                     bound by common-law principles,                         NLRB 439, 441 (2014) (quoting TLI, Inc.,
                                              terms and conditions of employment,                      which require that it focus on the                      271 NLRB 798 (1984), enfd. mem. sub
                                              which are exclusively defined as wages,                  control exercised by a putative                         nom. Gen. Teamsters Local Union No.
                                              benefits, hours of work, hiring,                         employer over a person performing                       326 v. NLRB, 772 F.2d 894 (3d Cir.
                                              discharge, discipline, supervision, and                  work for it. Id; see also Nationwide Mut.               1985)), enf. denied in part 865 F.3d 740
                                              direction.                                               Ins. Co. v. Darden, 503 U.S. 318, 322–                  (DC Cir. 2017). This standard derives
                                                                                                       323 (1992).                                             from language in Greyhound Corp., 153
                                              DATES: This rule has been classified as
                                                                                                          The Act does not contain the term                    NLRB 1488, 1495 (1965), enfd. 368 F.2d
                                              a major rule subject to Congressional                    ‘‘joint employer,’’ much less define it.
                                              review. The effective date is April 27,                                                                          778 (5th Cir. 1966), and was endorsed
                                                                                                       As discussed below, the Board and                       in NLRB v. Browning-Ferris Industries of
                                              2020. However, at the conclusion of the                  reviewing courts have developed that
                                              congressional review, if the effective                                                                           Pennsylvania, Inc., 691 F.2d 1117,
                                                                                                       concept in adjudication over the years                  1122–1123 (3d Cir. 1982). It is rooted in
                                              date has been changed, the National                      to address situations where two or more
                                              Labor Relations Board will publish a                                                                             longstanding Board precedent and has
                                                                                                       separate entities engaged in a business                 been consistently approved by
                                              document in the Federal Register to                      relationship jointly affect the terms and
                                              establish the new effective date or to                                                                           reviewing courts.
                                                                                                       conditions of employment of a group of                     Notably, however, the Board has
                                              withdraw the rule.                                       employees. See Boire v. Greyhound                       never attempted to comprehensively
                                              FOR FURTHER INFORMATION CONTACT:                         Corp., 376 U.S. 473 (1964) (holding that                define the ‘‘essential terms and
                                              Roxanne L. Rothschild, Executive                         Board’s determination that bus company                  conditions of employment’’ that are
                                              Secretary, National Labor Relations                      possessed ‘‘sufficient control over the                 relevant to the joint-employer inquiry,
                                              Board, 1015 Half Street SE, Washington,                  work’’ of its cleaning contractor’s                     even though the standard itself
                                              DC 20570–0001, (202) 273–2917 (this is                   employees to be considered a joint                      inherently implies that it is control over
                                              not a toll-free number), 1–866–315–6572                  employer was not reviewable in federal                  those terms and conditions of
                                              (TTY/TDD).                                               district court); Indianapolis                           employment that is determinative of
                                              SUPPLEMENTARY INFORMATION:                               Newspapers, Inc., 83 NLRB 407, 408–                     joint-employer status.4 And even when
                                                                                                       409 (1949) (finding that two newspaper                  a term or condition of employment is
                                              I. Background                                            businesses, Star and INI, were not joint                deemed ‘‘essential’’ for the purpose of
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                                              A. The Act                                               employers, despite their integration,
                                                                                                       because ‘‘there [wa]s no indication that                   4 The Board has held that a joint-employer
                                                 The NLRA sets forth a number of                       Star, by virtue of such integration, t[ook]             finding requires ‘‘a showing that the employer
                                              rights and responsibilities that apply to                an active part in the formulation or                    meaningfully affects matters relating to the
                                              employers, employees, and labor                                                                                  employment relationship such as hiring, firing,
                                              organizations representing employees,                                                                            discipline, supervision, and direction.’’ Laerco
                                                                                                         1 Section 1 of the Act, 29 U.S.C. 151.
                                                                                                                                                               Transportation, 269 NLRB 324, 325 (1984); accord
                                              in furtherance of the Act’s overarching                    2 Section 7 of the Act, 29 U.S.C. 157.
                                                                                                                                                               TLI, Inc., 271 NLRB at 798–799. But this list did not
                                              goals of promoting labor relations                         3 Section 8 of the Act, 29 U.S.C. 158.                purport to be exhaustive.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700     E:\FR\FM\26FER2.SGM   26FER2
                                                      USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 7 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11185

                                              determining joint-employer status, the                      The law governing joint-employer                   court therefore affirmed Browning-
                                              joint-employer standard described                        determinations changed significantly in               Ferris’s ‘‘articulation of the joint-
                                              above does not specify the extent of                     August 2015. At that time, a divided                  employer test as including
                                              control that must be shown before the                    Board overruled the then-extant                       consideration of both an employer’s
                                              two entities may be found to ‘‘share or                  precedent described above and                         reserved right to control and its indirect
                                              codetermine’’ that essential term or                     substantially relaxed the requirements                control over employees’ terms and
                                              condition. As fully described in the                     for proving a joint-employer                          conditions of employment.’’ Id. at 1200.
                                              Notice of Proposed Rulemaking                            relationship. Specifically, a Board                   In so holding, the court recognized that
                                              (NPRM), the Board’s treatment of the                     majority held that it would no longer                 Browning-Ferris did not present the
                                              latter issue has evolved over the years.5                require proof that a putative joint                   issue of whether either indirect control
                                              Nevertheless, for at least 30 years (from                employer has exercised any ‘‘direct and               or a contractually reserved but
                                              no later than 1984 to 2015), evidence of                 immediate’’ control over the essential                unexercised right to control can be
                                              indirect control was typically                           terms and conditions of employment of                 dispositive of joint-employer status
                                              insufficient to prove that an entity was                 another company’s workers. Browning-                  absent evidence of exercised direct and
                                              the joint employer of another                            Ferris Industries of California, Inc. d/b/            immediate control. Id. at 1213, 1218.
                                              employer’s workers. Even direct and                      a BFI Newby Island Recyclery, 362                        The court, however, faulted the
                                              immediate supervision of another                         NLRB 1599, 1600 (2015) (Browning-                     Browning-Ferris Board for failing to
                                              employer’s employees was insufficient                    Ferris), affd. in part, reversed in part and          confine its inquiry to ‘‘indirect control
                                              to establish joint-employer status where                 remanded 911 F.3d 1195 (D.C. Cir.                     over the essential terms and conditions
                                              such supervision was ‘‘limited and                       2018). The majority in Browning-Ferris                of the workers’ employment.’’ Id. at
                                              routine.’’ 6                                             explained that, under its new standard,               1209. Specifically, the court found that,
                                                                                                       a company could be deemed a joint                     in considering the factor of indirect
                                                 5 As more fully described in the NPRM, the Board      employer even if its control over the                 control, Browning-Ferris failed to
                                              has consistently recognized that direct control of       essential working conditions of another               hew to the relevant common-law boundaries
                                              essential terms and conditions is relevant to this       business’s employees was indirect,                    that prevent the Board from trenching on the
                                              determination, while the extent to which indirect                                                              common and routine decisions that
                                              control was a factor has changed over time.
                                                                                                       limited and routine, or contractually
                                                                                                       reserved but never exercised. Id. at                  employers make when hiring third-party
                                              Compare Floyd Epperson, 202 NLRB 23, 23 (1973)
                                              (dairy company was the joint employer of truck           1613–1614. At the same time, however,                 contractors and defining the terms of those
                                              drivers supplied to it by an independent trucking                                                              contracts. To inform the joint-employer
                                                                                                       the Browning-Ferris majority stated that              analysis, the relevant forms of indirect
                                              firm based on evidence of both direct and indirect
                                              control over the working conditions of the drivers),
                                                                                                       ‘‘[e]ven where the common law does                    control must be those that ‘‘share or co-
                                              enfd. 491 F.2d 1390 (6th Cir. 1974), with Airborne       permit the Board to find joint employer               determine those matters governing essential
                                              Express, 338 NLRB 597, 597 fn. 1 (2002) (holding         status in a particular case, the Board                terms and conditions of employment.’’ By
                                              that ‘‘the essential element’’ in a joint-employer       must determine whether it would serve                 contrast, those types of employer decisions
                                              analysis ‘‘is whether a putative joint employer’s                                                              that set the objectives, basic ground rules,
                                              control over employment matters is direct and
                                                                                                       the purposes of the Act to do so. . . .’’
                                                                                                       Id. at 1610 (emphasis in original); see               and expectations for a third-party contractor
                                              immediate’’ (citing TLI, Inc., 271 NLRB at 798–                                                                cast no meaningful light on joint-employer
                                              799)); see also NLRB v. CNN America, Inc., 865 F.3d      also id. at 1614 (‘‘[I]t is certainly                 status.
                                              740, 748–751 (D.C. Cir. 2017) (finding that Board        possible that in a particular case, a
                                              erred by failing to adhere to ‘‘direct and immediate
                                                                                                       putative joint employer’s control might               Id. at 1219–1220 (internal citations
                                              control’’ standard); SEIU Local 32BJ v. NLRB, 647                                                              omitted). The court remanded the case
                                              F.3d 435, 442 (2d Cir. 2011) (‘‘An essential element’    extend only to terms and conditions of
                                              of any joint employer determination is ‘sufficient       employment too limited in scope or                    to the Board, and the Board accepted the
                                              evidence of immediate control over the employees.’’      significance to permit meaningful                     remand.7
                                              (quoting Clinton’s Ditch Co-op Co. v. NLRB, 778
                                              F.2d 132, 138 (2d Cir. 1985))).
                                                                                                       collective bargaining.’’).                            C. NPRM
                                                 As also described in the NPRM, the relevance to          In December 2018, the United States                   On September 14, 2018, the Board
                                              the joint-employer determination of an entity’s          Court of Appeals for the District of                  issued its joint-employer NPRM. There,
                                              contractually reserved but unexercised authority         Columbia Circuit issued its decision on
                                              over another company’s employees has also                                                                      the Board proposed the following rule:
                                              changed over time. See Hychem Constructors, Inc.,        review of the Board’s Browning-Ferris
                                                                                                       decision. See Browning-Ferris Industries                An employer, as defined by Section 2(2) of
                                              169 NLRB 274 (1968) (petrochemical manufacturer
                                                                                                                                                             the National Labor Relations Act (the Act),
                                              was not a joint employer of its construction             of California, Inc. v. NLRB, 911 F.3d                 may be considered a joint employer of a
                                              subcontractor’s employees even though their cost-        1195 (Browning-Ferris v. NLRB).
                                              plus agreement reserved to the manufacturer a right                                                            separate employer’s employees only if the
                                              to approve wage increases and overtime hours and         Consistent with the principles stated                 two employers share or codetermine the
                                              the right to require the subcontractor to remove any     above, the court held that the Board was              employees’ essential terms and conditions of
                                              employee whom the manufacturer deemed                    required to apply the common law of                   employment, such as hiring, firing,
                                              undesirable); Jewel Tea Co., 162 NLRB 508, 510           agency in determining whether an entity               discipline, supervision, and direction. A
                                              (1966) (department store was a joint employer of the                                                           putative joint employer must possess and
                                              employees of two independent companies licensed          was a joint employer of particular
                                                                                                                                                             actually exercise substantial direct and
                                              to operate specific departments of its store based on    employees. Whether proceeding by                      immediate control over the employees’
                                              its reserved contractual authority). In AM Property      adjudication or rulemaking, then, the                 essential terms and conditions of
                                              Holding Corp., the Board found that a ‘‘contractual      Board ‘‘must color within the common-
                                              provision giving [a property owner] the right to                                                               employment in a manner that is not limited
                                              approve [its cleaning contractor’s] hires, standing      law lines identified by the judiciary.’’              and routine.
                                              alone, [was] insufficient to show the existence of a     Id. at 1208. The court upheld the
                                              joint employer relationship.’’ 350 NLRB 998, 1000        Board’s longstanding right-to-control                    7 The court also found that the Browning-Ferris
                                              (2007), enfd. in relevant part sub nom. SEIU Local       standard as ‘‘an established aspect of the            Board had neglected to apply the second step of its
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                                              32BJ v. NLRB, 647 F.3d 435 (2d Cir. 2011). The                                                                 newly-fashioned standard, under which, ‘‘even if it
                                              Board explained that ‘‘[i]n assessing whether a joint    common law of agency.’’ Id. at 1209. In               finds that the common law would deem a business
                                              employer relationship exists, the Board does not         addition, the court also concluded that               to be a joint employer, the Board will also ask
                                              rely merely on the existence of such contractual         the common law ‘‘permits consideration                whether the putative joint employer possesses
                                              provisions, but rather looks to the actual practice      of those forms of indirect control that               sufficient control over employees’ essential terms
                                              of the parties.’’ Id.                                                                                          and conditions of employment to permit
                                                 6 See, e.g., AM Property Holding Corp., 350 NLRB      play a relevant part in determining the               meaningful collective bargaining.’’ Id. at 1221
                                              at 998; Airborne Express, 338 NLRB at 597; TLI,          essential terms and conditions of                     (internal quotation omitted). The court directed the
                                              Inc., 271 NLRB at 798.                                   employment.’’ Id. at 1199–1200. The                   Board to address this issue on remand as well.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                      USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 8 of 58
                                              11186            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              83 FR at 46696. The proposed rule also                   share or codetermine the employees’                   where the entity’s control over one or
                                              included a number of hypothetical                        essential terms or conditions of                      more related nonessential terms may
                                              examples illustrating how it would                       employment. However, the Board has                    tend to support a finding of substantial
                                              apply to particular scenarios.                           modified the proposed rule to define                  direct and immediate control over an
                                                 In the NPRM, the Board                                ‘‘share or codetermine’’ as the                       essential term or condition. For
                                              acknowledged that the Agency                             possession and exercise of ‘‘such                     example, an entity’s control over
                                              historically has made major policy                       substantial direct and immediate control              grievance adjustment or drug or alcohol
                                              determinations through adjudication,                     over one or more essential terms or                   testing might be probative of its direct
                                              but stated that it interpreted Section 6                 conditions of their employment as                     and immediate control over discipline
                                              of the Act as authorizing the Board to                   would warrant finding that the entity                 or supervision, and an entity’s control
                                              engage in this rulemaking, adding that                   meaningfully affects matters relating to              over dress codes or attendance rules
                                              rulemaking on the issue of determining                   the employment relationship with those                might be probative of its direct and
                                              joint-employer status was preferable to                  employees.’’ The Board has also                       immediate control over discipline.
                                              adjudication in order to provide clarity                 modified the proposed rule to factor                    Evidence of an entity’s contractually
                                              and stability to this area of the law. The               indirect control over essential terms or              reserved or indirect control over an
                                              NPRM further stated the Board’s                          conditions of employment,                             essential term or condition of
                                              preliminary view, subject to potential                   contractually reserved control over                   employment, or its control over
                                              revision in response to comments, that                   essential terms or conditions of                      mandatory but nonessential subjects of
                                              a joint-employer doctrine under which                    employment, and control over                          bargaining, is not, however, otherwise
                                              the duty to bargain is imposed only on                   mandatory subjects of bargaining other                probative of whether the entity
                                              entities that have played an active role                 than essential terms and conditions of                ‘‘meaningfully affects matters relating to
                                              in establishing essential terms and                      employment into the joint-employer                    the employment relationship.’’ Under
                                              conditions of employment best serves                     analysis, ‘‘but only to the extent [they]             the final rule, a putative joint employer
                                              the Act’s purposes of promoting                          supplement[] and reinforce[] evidence                 reaches that threshold only through
                                              collective bargaining and minimizing                     of the entity’s possession or exercise of             possession and exercise of substantial
                                              industrial strife. The NPRM invited                      direct and immediate control over a                   direct and immediate control over one
                                              comments on these issues and, indeed,                    particular essential term and condition               or more essential terms and conditions
                                              on all aspects of the proposed rule,                     of employment.’’                                      of employment.
                                              including input from employees,                              Consistent with these provisions,
                                                                                                                                                             B. Indirect Control
                                              unions, and employers regarding their                    evidence of contractually reserved
                                                                                                       control over an essential term or                        The Board has modified the proposed
                                              experience in workplaces where
                                                                                                       condition of employment is probative                  rule to factor indirect control into the
                                              multiple entities have some authority
                                                                                                       for the purpose of determining whether                joint-employer analysis, but not to find
                                              over the workplace.
                                                 The Board set an initial comment                      an entity possesses or exercises direct               it sufficient without more to make an
                                              period of 60 days, with 7 additional                     and immediate control over that                       entity a joint employer. Accordingly, the
                                              days allotted for reply comments.                        essential term or condition. Plainly, the             final rule provides that evidence of
                                              Thereafter, the Board extended these                     fact that an entity has a contractually               indirect control over essential terms and
                                              deadlines three times, including an                      reserved right to control an essential                conditions of employment is probative
                                                                                                       term or condition is probative of                     of joint-employer status, but only to the
                                              extension to allow interested parties to
                                                                                                       whether it possesses control over that                extent that it supplements and
                                              comment on the impact of the D.C.
                                                                                                       term. Such evidence may also be                       reinforces evidence of direct and
                                              Circuit’s decision in Browning-Ferris v.
                                                                                                       probative of whether the control                      immediate control over essential terms
                                              NLRB.8
                                                                                                       possessed and exercised is                            and conditions.
                                              II. Summary of Changes to the                            ‘‘substantial,’’ as that term is defined in              The definitions of the several
                                              Proposed Rule                                            the final rule (see Sec. II.E,                        essential terms and conditions of
                                                 In this section, we provide a summary                 ‘‘ ‘Substantial’ direct and immediate                 employment include statements of what
                                              overview of changes to the proposed                      control’’, infra). Similarly, evidence of             does and does not count as direct and
                                              rule.                                                    indirect control over an essential term               immediate control over the essential
                                                                                                       or condition of employment may be                     term and condition being defined. These
                                              A. Overview                                              probative of whether the control                      statements may bear on indirect control,
                                                The final rule, like the NPRM,                         possessed and exercised is substantial.               since what does not count as direct and
                                              provides that an entity is a joint                           Depending on the circumstances of a               immediate control may count as indirect
                                              employer of a separate employer’s                        particular case, evidence of control over             control. However, consistent with the
                                              employees only if the two employers                      a nonessential term or condition that                 D.C. Circuit’s decision in Browning-
                                                                                                       nonetheless constitutes a mandatory                   Ferris v. NLRB, the definition of
                                                 8 See Order dated January 11, 2019. The NPRM          subject of bargaining may be probative                ‘‘indirect control’’ excludes ‘‘control or
                                              set the deadline for initial comments as November        of whether an entity possesses and                    influence over setting the objectives,
                                              13, 2018, and comments replying to comments              exercises substantial direct and                      basic ground rules, or expectations for
                                              submitted during the initial comment period were
                                              due November 20, 2018. On October 30, 2018, the          immediate control over an essential                   another entity’s performance under a
                                              Board extended the deadlines for submitting initial      term or condition of employment. One                  contract,’’ and evidence of control that
                                              and reply comments for 30 days, to December 13,          can readily foresee cases where the                   by definition does not count as direct
                                              2018, and December 20, 2018, respectively. On            parties dispute the significance or                   and immediate control may fall within
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                                              December 10, 2018, the deadlines were extended for
                                              an additional 30 days, to January 14, 2019, and
                                                                                                       sufficiency of evidence that an entity                this exclusion and so not constitute
                                              January 22, 2019, respectively. After the D.C.           exercises substantial direct and                      indirect control, either. For example, the
                                              Circuit issued its decision in Browning-Ferris v.        immediate control over an essential                   definition of ‘‘[h]ours of [w]ork’’ states
                                              NLRB, the Board extended the deadlines a third and       term or condition of employment, such                 that ‘‘[a]n entity does not exercise direct
                                              final time to permit commenters to address issues
                                              raised by the court’s decision. The deadline for
                                                                                                       as by claiming that the evidence is not               and immediate control over hours of
                                              initial comments was extended to January 28, 2019,       credible or is too isolated or sporadic to            work by establishing an enterprise’s
                                              and for reply comments to February 11, 2019.             meet the substantiality standard, but                 operating hours or when it needs the


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                         USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025           Page 9 of 58
                                                                  Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                      11187

                                              services provided by another                                or expectations for a third-party                     F. ‘‘Essential’’ Terms And Conditions of
                                              employer.’’ But establishing an                             contractor is not probative of joint-                 Employment
                                              enterprise’s operating hours may not be                     employer status, as the D.C. Circuit held                The proposed rule, in relevant part,
                                              evidence of indirect control, either. A                     in Browning-Ferris v. NLRB, then                      states that ‘‘[a]n employer may be
                                              business that contracts, for example,                       necessarily a contractual but                         considered a joint employer of a
                                              with a food service contractor to staff its                 unexercised right to control such                     separate employer’s employees only if
                                              employee lunchroom surely sets ‘‘basic                      matters cannot be probative of such                   the two entities share or codetermine
                                              ground rules or expectations’’ for that                     status, either. See Browning-Ferris v.                the employees’ essential terms and
                                              contractor by specifying the hours when                     NLRB, 911 F.3d at 1221 (‘‘[A] joint                   conditions of employment, such as
                                              the lunchroom will be open. Thus,                           employer’s control—whether direct or                  hiring, firing, discipline, supervision,
                                              specifying those hours would be neither                     indirect, exercised or reserved—must                  and direction’’ (emphasis added). The
                                              direct and immediate control nor                            bear on the essential terms and                       phrase ‘‘such as’’ suggested that the
                                              indirect control. In other instances,                       conditions of employment, and not on                  specifically enumerated essential
                                              however, what is excluded by definition                     the routine components of a company-                  terms—hiring, firing, discipline,
                                              from direct and immediate control may                       to-company contract.’’) (emphasis                     supervision, and direction—might not
                                              constitute indirect control. Accordingly,                   added; internal quotation and citation                be exhaustive, but the proposed rule left
                                              what is indirect control over an                            omitted).                                             unanswered whether additional terms
                                              essential term and condition of                                                                                   and conditions could be deemed
                                                                                                          D. Limited and Routine Control
                                              employment versus what is merely a
                                                                                                            The proposed rule stated, in relevant               essential, and if so, what those terms
                                              setting of objectives, basic ground rules
                                                                                                          part, that ‘‘[a] putative joint employer              and conditions might be.
                                              or expectations for a contractor’s                                                                                   The final rule expands the list of
                                              performance is an issue of fact to be                       must possess and actually exercise
                                                                                                          substantial direct and immediate control              essential terms and conditions to
                                              determined on a case-by-case basis.                                                                               include wages, benefits, and hours of
                                                                                                          over the employees’ essential terms and
                                              C. Contractually Reserved But                               conditions of employment in a manner                  work. Additionally, to provide greater
                                              Unexercised Right To Control                                that is not limited and routine’’                     certainty and remove a potential issue
                                                The final rule recognizes                                 (emphasis added). The Board has                       from litigation, the final rule makes the
                                              contractually reserved but unexercised                      decided to revise the proposed rule to                list of essential terms exhaustive.
                                              control as a potentially relevant                           delete ‘‘limited and routine’’ as a                   Finally, the final rule has been revised
                                              consideration. It provides that evidence                    general qualifying term and instead to                to provide that an entity’s control over
                                              of an entity’s contractually reserved but                   use that term solely in the context of                other mandatory subjects of bargaining
                                              never exercised authority over the                          defining what is and is not direct and                not considered essential terms and
                                              essential terms and conditions of                           immediate control over supervision.                   conditions of employment is probative
                                              another employer’s employees is                             Thus, the final rule provides that an                 of joint-employer status, but only to the
                                              probative of joint-employer status, but                     entity does not exercise direct and                   extent it supplements and reinforces
                                              only to the extent it supplements and                       immediate control over supervision                    evidence of direct and immediate
                                              reinforces evidence of direct and                           when its instructions are limited and                 control over essential terms and
                                              immediate control over essential terms                      routine and consist primarily of telling              conditions of employment.
                                              and conditions of employment.                               another employer’s employees what                     G. Hypothetical Scenarios in the NPRM
                                                In addition, although not stated                          work to perform, or where and when to
                                                                                                          perform the work, but not how to                         The proposed rule included a number
                                              explicitly in the regulatory text, the
                                                                                                          perform it. The final rule does not                   of hypothetical scenarios, termed
                                              distinction drawn between indirect
                                                                                                          otherwise use the phrase ‘‘limited and                ‘‘examples.’’ They were included to
                                              control that may be relevant to a joint-
                                                                                                          routine.’’                                            provide additional guidance on the
                                              employer determination and ‘‘decisions
                                                                                                                                                                practical application of the proposed
                                              that set the objectives, basic ground                       E. ‘‘Substantial’’ Direct and Immediate               rule. The Board has decided to omit the
                                              rules, and expectations for a third-party                   Control                                               hypothetical scenarios from the final
                                              contractor’’ 9—i.e., the ‘‘routine
                                                                                                             The final rule retains the requirement             rule and has instead provided more
                                              components of a company-to-company
                                                                                                          that direct and immediate control over                specific guidance in the text of the rule
                                              contract’’ 10—also applies to
                                                                                                          essential terms and conditions of                     itself, as discussed below.
                                              contractually reserved but unexercised
                                              control. That is, if a contract reserves to                 employment be ‘‘substantial’’ to give                 III. Justification for Using Rulemaking,
                                              an entity a right to control one or more                    rise to joint-employer status. The Board              Rather Than Adjudication, To Revise
                                              matters involving the objectives, basic                     has decided, however, to define                       the Joint-Employer Standard
                                              ground rules, or expectations for a third-                  ‘‘substantial direct and immediate
                                                                                                          control’’ in the final rule. As defined,              A. Authority To Engage in Rulemaking
                                              party contractor, such evidence will not
                                              be probative of joint-employer status.                      ‘‘substantial’’ direct and immediate                    Congress has delegated general
                                              For example, contractual safety,                            control means direct and immediate                    rulemaking authority to the Board.
                                              performance, and quality standards are                      control that has a regular or continuous              Specifically, Section 6 of the National
                                              generally ‘‘routine components of a                         consequential effect on an essential term             Labor Relations Act, 29 U.S.C. 156,
                                              company-to-company contract’’ 11 and                        or condition of employment of another                 provides that the Board ‘‘shall have
                                              do not support a finding of joint-                          employer’s employees. Such control is                 authority from time to time to make,
                                                                                                          not ‘‘substantial’’ if it is only exercised           amend, and rescind, in the manner
khammond on DSKJM1Z7X2PROD with RULES2




                                              employer status. This necessarily
                                              follows from the final rule’s definition                    on a sporadic, isolated, or de minimis                prescribed by the [Administrative
                                              of indirect control. If actual influence                    basis. Thus, the exercise of even direct              Procedure Act (APA)], such rules and
                                              over the objectives, basic ground rules,                    and immediate control may be so                       regulations as may be necessary to carry
                                                                                                          isolated, sporadic or de minimis that it              out the provisions of [the Act].’’
                                                9 Browning-Ferris v. NLRB, 911 F.3d at 1220.              fails to establish that the putative joint              Although the Board historically has
                                                10 Id. at 1221.                                           employer meaningfully affects matters                 made most substantive policy
                                                11 Id.                                                    relating to the employment relationship.              determinations through case


                                         VerDate Sep<11>2014       17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 10 of 58
                                              11188            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              adjudication, it has, with Supreme                       adjudication, is the better method to                 comport with the Supreme Court’s
                                              Court approval, engaged in substantive                   revise and clarify the standard for                   instruction that the Board should
                                              rulemaking. American Hosp. Ass’n. v.                     determining joint-employer status under               provide parties with ‘‘certainty
                                              NLRB, 499 U.S. 606 (1991) (upholding                     the Act.                                              beforehand as to when [they] may
                                              Board’s rulemaking on appropriate                          First, the Board has been well served               proceed to reach decisions without fear
                                              bargaining units in the healthcare                       by public comment on the issue. The                   of later evaluations labeling [their]
                                              industry); see also NLRB v. Bell                         Board received numerous helpful                       conduct an unfair labor practice.’’ First
                                              Aerospace Co., 416 U.S. 267, 294 (1974)                  comments from a wide variety of                       Nat’l Maint. Corp. v. NLRB, 452 U.S.
                                              (‘‘[T]he choice between rulemaking and                   sources, many with considerable legal                 666, 679 (1981).
                                              adjudication lies in the first instance                  expertise and/or a great deal of relevant                Third, the Board continues to believe,
                                              within the Board’s discretion.’’).                       experience. Having considered these                   as discussed in the NPRM, that by
                                                 Further, Section 6 authorizes the final               comments, the Board has refined the                   establishing the joint-employer standard
                                              rule as necessary to carry out Sections                  proposed rule in several ways, outlined               through the Board’s Rules and
                                              2, 7, 8, 9, and 10 of the Act, 29 U.S.C.                 above in Section II and discussed more                Regulations, the final rule will enable
                                              152, 157, 158, 159, and 160,                             fully below in Sections V and VI.                     employers, unions, and employees to
                                              respectively. Specifically, Section 2(2)                   It is likely that the Board would not               plan their affairs free of the uncertainty
                                              of the Act defines ‘‘employer’’ and                      have received as much input from                      that significant changes to the joint-
                                              Section 2(3) defines ‘‘employee.’’                       revisiting the joint-employer standard                employer doctrine could be made, and
                                              Section 7 of the Act defines the                         through adjudication rather than                      retroactively applied, via case
                                              employee rights that the Act protects,                   rulemaking. Rulemaking has given                      adjudication. NLRB v. Wyman-Gordon
                                              including the right to bargain                           interested persons a way to provide                   Co., 394 U.S. 759, 777 (1969) (Douglas,
                                              collectively through representatives of                  input through the convenient comment                  J., dissenting) (‘‘The rule-making
                                              their own choosing, the right to engage                  process, and participation was not                    procedure performs important
                                              in other concerted activities for the                    limited, as in the adjudicatory setting, to           functions. It gives notice to an entire
                                              purpose of collective bargaining or                      legal briefs filed by the parties and                 segment of society of those controls or
                                              mutual aid or protection, and the right                  amici. Further, the comments confirm                  regimentation that is forthcoming.’’).
                                              to refrain from these activities. Section                that it was especially important for the                 Finally, the decision to engage in
                                              8 of the Act defines unfair labor                        Board to receive feedback in light of the             rulemaking regarding the standard for
                                              practices under the Act. Of particular                   recent oscillation on the joint-employer              determining joint-employer status is
                                              relevance is Section 8(a)(5), which                      standard, after decades of stability,                 consistent with the similar
                                              provides that it is an unfair labor                      beginning with Browning-Ferris, which                 determinations, by the United States
                                              practice for an employer ‘‘to refuse to                  overruled longstanding Board precedent                Department of Labor (DOL) and the
                                              bargain collectively with the                            and substantially relaxed the                         United States Equal Employment
                                              representatives of his employees’’                       evidentiary requirements for finding a                Opportunity Commission (EEOC), to
                                              (emphasis added). Section 9 of the Act                   joint-employer relationship, and                      similarly address this issue through
                                              sets forth the Board’s responsibilities for              followed by Hy-Brand Industrial                       rulemaking.13
                                              conducting representation elections,                     Contractors, Ltd. & Brandt Construction                  In sum, and as indicated in the NPRM
                                              and Section 10 of the Act provides the                   Co., 365 NLRB No. 156 (2017) (Hy-                     with respect to the proposed rule, the
                                              Board with the authority to investigate,                 Brand I), which restored the prior                    Board believes that the final rule will
                                              prevent, and remedy unfair labor                         standard, but which was then vacated                  foster predictability and consistency
                                              practices. The Board’s joint-employer                    for procedural reasons in Hy-Brand                    regarding determinations of joint-
                                              doctrine implicates each of these                        Industrial Contractors, Ltd. & Brandt                 employer status in a variety of business
                                              provisions of the Act, and Section 6                     Construction Co., 366 NLRB No. 26                     relationships, thereby enhancing labor-
                                              grants the Board the authority to                        (2018) (Hy-Brand II),12 resulting in                  management stability, the promotion of
                                              promulgate rules that carry out those                    reinstatement by default of the joint-                which is one of the principal purposes
                                              provisions.                                              employer standard adopted in                          of the Act.
                                              B. The Preference for Rulemaking Over                    Browning-Ferris.
                                                                                                         Second, rulemaking has made it                      IV. Recusal Issues
                                              Adjudication
                                                                                                       possible for the Board to provide greater               A number of commenters claim that
                                                In the NPRM, we expressed a                            clarity with respect to the standard than             Chairman Ring, Member Emanuel, and/
                                              preliminary belief that rulemaking in                    would likely be accomplished through                  or Member Kaplan entered into this
                                              this area of the law is desirable for                    adjudication. Although the Board has                  rulemaking with unalterably closed
                                              several reasons. Specifically, the NPRM                  decided, in response to comments, to                  minds as to the outcome and
                                              stated that rulemaking, rather than                      omit the examples that were set forth in              consequently that each should recuse
                                              adjudication, would enable the Board to                  the text of the proposed rule, the final              himself from participating in it. For the
                                              gather information from a wide variety                   rule provides clarity by, for example,                reasons that follow, the Board rejects
                                              of interested parties and to provide                     setting forth actions that will and                   these contentions.
                                              greater clarity to the joint-employer                    actions that will not constitute direct                 ‘‘[A]n individual should be
                                              analysis. Rulemaking would also respect                  and immediate control over each                       disqualified from rulemaking only when
                                              the reasonable expectations of regulated                 essential term and condition of                       there has been a clear and convincing
                                              parties by ensuring that further changes                 employment. This is regulatory                        showing’’ that the official ‘‘has an
                                              to the law in this area would only be
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                       guidance that could be dismissed as
                                              made prospectively in a new                              dicta if set forth in an adjudicatory                    13 See Joint Employer Status Under the Fair Labor
                                              rulemaking proceeding, whereas with                      decision in a case in which it was not                Standards Act, 85 FR 2820 (Jan. 16, 2020) (to be
                                              case adjudication, changes in the law                    essential to the outcome. By providing                codified 29 CFR part 791); Introduction to the Fall
                                              may be made retroactively. After                                                                               2019 Regulatory Plan, 84 FR 71091 (Dec. 26, 2019)
                                                                                                       such guidance, the final rule will                    (listing EEOC Fall 2019 Unified Rulemaking
                                              carefully considering nearly 29,000                                                                            Agenda, Joint Employer Status Under the Federal
                                              comments, the Board continues to                           12 Mot. for reconsideration denied 366 NLRB No.     Equal Employment Opportunity Statutes (RIN:
                                              believe that rulemaking, rather than                     93 (2018) (Hy-Brand III).                             3046–AB16)).



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 11 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11189

                                              unalterably closed mind on matters                       2017).14 As other commenters correctly                 (2). Further, the phrase ‘‘including
                                              critical to the disposition of the                       note, the cited provision is                           regulations’’ in the pledge recusal
                                              proceeding.’’ Air Transp. Ass’n of                       inapplicable.15 Section 1, paragraph 6 of              provision in section 1, paragraph 6 of
                                              America, Inc. v. NMB, 663 F.3d 476, 487                  Executive Order 13770 is a pledge that                 Executive Order 13770 ‘‘is not intended
                                              (D.C. Cir. 2011) (quoting C & W Fish Co.                 states: ‘‘I will not for a period of 2 years           to suggest that all rulemakings are
                                              v. Fox, 931 F.2d 1556, 1564 (D.C. Cir.                   from the date of my appointment                        covered,’’ but instead is a ‘‘reminder
                                              1991)). Moreover, ‘‘[a]n administrative                  participate in any particular matter                   that regulations sometimes may be
                                              official is presumed to be objective and                 involving specific parties that is directly            particular matters involving specific
                                              ‘capable of judging a particular                         and substantially related to my former                 parties, although in rare circumstances.’’
                                              controversy fairly on the basis of its own               employer or former clients, including                  Ethics Pledge: Revolving Door Ban—All
                                              circumstances.’ ’’ Steelworkers v.                       regulations and contracts.’’ This                      Appointees Entering Government, DO–
                                              Marshall, 647 F.2d 1189, 1208 (D.C. Cir.                 paragraph, read together with the                      09–11 at 2 (Mar. 26, 2009) (‘‘certain
                                                                                                       definitions of ‘‘former employer,’’                    rulemakings may be so focused on the
                                              1980) (quoting United States v. Morgan,
                                                                                                       ‘‘former client,’’ and ‘‘directly and                  rights of specifically identified parties
                                              313 U.S. 409, 421 (1941)). Further,
                                                                                                       substantially related’’ set forth in                   as to be considered a particular matter
                                              ‘‘[w]hether the official is engaged in
                                                                                                       Executive Order 13770, prohibits a                     involving specific parties’’); see also
                                              adjudication or rulemaking,’’ the fact                   Board Member from participating in a                   Guidance on Executive Order 13770,
                                              that he or she ‘‘has taken a public                      ‘‘particular matter involving specific                 LA–17–03 (Mar. 20, 2017). Because the
                                              position, or has expressed strong views,                 parties’’ in which his or her former                   joint employer rulemaking is not
                                              or holds an underlying philosophy with                   employer or own former client is a party               directed at specific parties, the cited
                                              respect to an issue in dispute cannot                    or the representative of a party. Section              provision of Executive Order 13770
                                              overcome that presumption.’’ Id. That                    2(s) of Executive Order 13770 provides                 does not apply, and arguments based on
                                              presumption is also not overcome                         that a particular matter involving                     Executive Order 13770 are misplaced.
                                              ‘‘when the official’s alleged                            specific parties has the same meaning as                  Citing Member Emanuel’s
                                              predisposition derives from [his or] her                 set forth in 5 CFR 2641.201(h).16 5 CFR                participation in Hy-Brand I, one
                                              participation in earlier proceedings on                  2641.201, which contains interpretive                  commenter argues that Member
                                              the same issue.’’ Id. at 1209. Expanding                 guidance for the post-employment                       Emanuel should recuse himself because
                                              on the latter point, the D.C. Circuit has                restrictions found in 18 U.S.C. 207,                   ‘‘[i]t is clear where [he] stands on the
                                              explained that ‘‘[t]o disqualify                         states that ‘‘only those particular matters            important issues at stake in this
                                              administrators because of opinions they                  that involve a specific party or parties               rulemaking’’ and because he has
                                              expressed or developed in earlier                        fall within the prohibition’’ of 18 U.S.C.             ‘‘expressed those strong views.’’ 17
                                              proceedings would mean that                              207(a)(1), and that                                    However, the fact that Member Emanuel
                                              ‘experience acquired from their work                     [s]uch a matter typically involves a specific          expressed views on the joint-employer
                                              . . . would be a handicap instead of an                  proceeding affecting the legal rights of the           standard in Hy-Brand I is insufficient to
                                              advantage.’ ’’ Id. (quoting FTC v. Cement                parties or an isolatable transaction or related        demonstrate that Member Emanuel has
                                              Inst., 333 U.S. 683, 702 (1948)). More                   set of transactions between identified parties,        engaged in this rulemaking with an
                                              recently, the D.C. Circuit has similarly                 such as a specific contract, grant, license,           unalterably closed mind. See Air
                                                                                                       product approval application, enforcement              Transp. Ass’n of America, Inc., 663 F.3d
                                              emphasized that it would ‘‘‘eviscerate                   action, administrative adjudication, or court
                                              the proper evolution of policymaking                                                                            at 487–488; Steelworkers, 647 F.2d at
                                                                                                       case.
                                              were we to disqualify every                                                                                     1208–1209. Accordingly, the AFT’s
                                              administrator who has opinions on the                    5 CFR 2641.201(h)(1). Further, the                     argument is unfounded.
                                              correct course of his agency’s future                    regulation states that ‘‘[l]egislation or                 Commenters also argue that Member
                                                                                                       rulemaking of general applicability and                Emanuel should recuse himself because
                                              actions.’ ’’ Air Transp. Ass’n of America,
                                                                                                       the formulation of general policies,                   his participation in this rulemaking
                                              663 F.3d at 488 (quoting C & W Fish Co.,
                                                                                                       standards or objectives, or other matters              would ‘‘accomplish the same goals’’ that
                                              931 F.2d at 1565).
                                                                                                       of general applicability are not                       he could not accomplish in Hy-Brand I,
                                                 Consistent with the foregoing                         particular matters involving specific                  and this would be inconsistent with his
                                              precedent, each participating Member                     parties.’’ Id. 2641.201(h)(2).                         ‘‘ethical obligations.’’ 18 As an initial
                                              has determined that there is no basis to                   Here, the joint-employer                             matter, Member Emanuel’s
                                              recuse himself from this rulemaking.                     rulemaking—unlike an administrative                    disqualification from Hy-Brand I was
                                              Indeed, comparison of the final rule                     adjudication of a case—is not a ‘‘specific             unrelated to the substantive issues in
                                              with the proposed rule in itself clearly                 proceeding affecting the legal rights of               that case. It was based on the fact that
                                              demonstrates that the Members did not                    the parties’’ to that proceeding. Rather,              Member Emanuel had been a
                                              engage in this endeavor with ‘‘an                        this rulemaking is a matter of general                 shareholder in the law firm that
                                              unalterably closed mind.’’ After                         applicability. See 5 CFR 2641.201(h)(1)-               represented Leadpoint Business
                                              considering nearly 29,000 comments,                                                                             Services, one of the parties before the
                                              the Board has revised the proposed rule
                                                                                                          14 See comment of Service Employees
                                                                                                                                                              Board in Browning-Ferris; it had nothing
                                                                                                       International Union (SEIU).                            to do with the substance of the case or
                                              in several significant respects.                            15 See comments of Ranking Member Virginia
                                              Throughout this rulemaking process, the                  Foxx of the U.S. House of Representatives              the joint-employer standard. See
                                              Board has been willing to reconsider the                 Committee on Education and Labor (Ranking              Browning-Ferris v. NLRB, 911 F.3d at
                                              preliminary views expressed in the                       Member Foxx); HR Policy Association.                   1205–1206. To the extent the AFT is
                                                                                                          16 Section 2(s) additionally states that the
                                                                                                                                                              suggesting that Member Emanuel should
khammond on DSKJM1Z7X2PROD with RULES2




                                              NPRM and to revise the rule as found                     definition of a particular matter involving specific
                                              appropriate.                                             parties shall also include ‘‘any meeting or other
                                                                                                                                                              be disqualified from participating in this
                                                                                                       communication relating to the performance of one’s
                                                 One commenter raises arguments                        official duties with a former employer or former         17 See comment of American Federation of

                                              based on section 1, paragraph 6 of                       client, unless the communication applies to a          Teachers (AFT) at 4.
                                              Executive Order 13770, entitled ‘‘Ethics                 particular matter of general applicability and           18 Id.; see also comments of AFL–CIO; SEIU;

                                              Commitments by Executive Branch                          participation in the meeting or other event is open    Congressional Progressive Caucus; Attorneys
                                                                                                       to all interested parties.’’ This portion of the       General of New York, Pennsylvania, et al.; Center
                                              Appointees,’’ 82 FR 9333 (Jan. 28,                       provision does not apply here.                         for American Progress Action Fund.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                                Filed: 05/02/2025                  Page 12 of 58
                                              11190            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              rulemaking because he has ‘‘[policy]                     undermines the DAEO’s opinion                            participation of Chairman Ring and
                                              goals,’’ neither Member Emanuel’s                        regarding Member Emanuel’s                               Member Emanuel in this rulemaking is
                                              underlying philosophy, nor his                           participation.                                           ‘‘no less problematic’’ because it would
                                              previously expressed views, nor his                         One commenter also contends that                      enable Chairman Ring and Member
                                              initial participation in Hy-Brand I                      Member Emanuel’s participation in this                   Emanuel ‘‘to tailor a rule for the
                                              constitute grounds for his                               rulemaking creates an appearance of                      McDonald’s case that would directly
                                              disqualification or establish that                       preferential treatment of a client                       benefit their former firms’ client.’’
                                              Member Emanuel has an unalterably                        (Leadpoint) of his former law firm
                                                                                                       because the client would ‘‘derive the                       The Board issued its decision
                                              closed mind on matters critical to this
                                                                                                       same impermissible benefit as it would                   approving a proposed settlement of the
                                              rulemaking. See Air Transp. Ass’n of
                                              America, Inc., 663 F.3d at 487–488;                      have from Hy-Brand I.’’ 23 Accordingly,                  McDonald’s litigation on December 12,
                                              Steelworkers, 647 F.2d at 1208–1209.                     this commenter argues that Member                        2019. See McDonald’s USA, LLC, 368
                                                 Moreover, and as emphasized above,                    Emanuel’s participation ‘‘runs afoul’’ of                NLRB No. 134 (2019). Chairman Ring
                                              the final joint-employer rule applies                    section 1, paragraph 6 of Executive                      took no part in the consideration of the
                                              prospectively only. Thus, the final rule                 Order 13770, as well as 5 CFR                            case, and the motion for his recusal was
                                              will not effectively reinstate the Board’s               2635.101(b)(8) and (14). Id. 5 CFR                       dismissed as moot. Id., slip op. at 1 fn.
                                              vacated decision in Hy-Brand I, it will                  2635.101(b)(8) states: ‘‘Employees shall                 2. For the reasons explained in the
                                              not affect the outcome in Browning-                      act impartially and not give preferential                decision, the motion to recuse Member
                                              Ferris (currently pending before the                     treatment to any private organization or                 Emanuel was denied. Id. Moreover, as
                                              Board on remand from the D.C. Circuit),                  individual.’’ 5 CFR 2635.101(b)(14)                      discussed above, the final rule applies
                                              and it will not affect Leadpoint or any                  similarly requires employees to                          prospectively only and thus will have
                                              other party in Browning-Ferris.19                        ‘‘endeavor to avoid’’ any actions that                   no substantive effect on the now-
                                                 Although the Board’s Designated                       would create the appearance that they                    concluded McDonald’s litigation.25 As
                                              Agency Ethics Official (DAEO)                            are violating the law or applicable                      such, there is no reasonable basis for
                                              determined that Member Emanuel was                       ethical standards, as ‘‘determined from                  concluding that the participation of
                                              disqualified from participation in the                   the perspective of a reasonable person                   Chairman Ring and Member Emanuel in
                                              Hy-Brand cases, the DAEO subsequently                    with knowledge of the relevant facts.’’                  this rulemaking would involve
                                              determined that Member Emanuel was                          As discussed above, section 1,                        preferential treatment of any party to the
                                              not disqualified from participating in                   paragraph 6 of Executive Order 13770                     McDonald’s litigation or create an
                                              this rulemaking and provided guidance                    does not apply to this rulemaking and                    appearance of partiality or preferential
                                              to all Board members with respect to                     thus does not support SEIU’s claim.                      treatment. Accordingly, the pendency of
                                              general recusal considerations. With                     Further, because the final rule will                     the McDonald’s litigation at the time the
                                              respect to the DAEO’s latter                             apply prospectively only and will not                    NPRM was published neither requires
                                              determination, one comment faulted the                   affect pending unfair labor practice                     nor supports Chairman Ring’s or
                                              DAEO’s memorandum for purportedly                        cases such as Browning-Ferris, and                       Member Emanuel’s recusal from
                                              failing to apply the recusal standard for                because there is no evidence that                        participation in this rulemaking.
                                              rulemaking ‘‘in light of the NPRM’s                      Member Emanuel has acted other than
                                                                                                                                                                   Finally, to the extent that any
                                              particularly suspect history,’’ asserting                impartially or given preferential
                                              that there should be a ‘‘more fulsome’’                  treatment to anyone through this                         commenter’s argument regarding the
                                              public examination of the DAEO’s                         rulemaking, there is no basis for finding                McDonald’s litigation is based on 5 CFR
                                              opinion or memorandum.20 This vague                      that Member Emanuel’s participation is                   2635.502(a)–(b), the argument is
                                              claim does not undermine the DAEO’s                      contrary to 5 CFR 2635.101(b)(8), and no                 misplaced. 5 CFR 2635.502(a)(1) states
                                              determination.                                           reasonable person with knowledge of                      that, unless he receives prior
                                                 Another commenter has suggested                       the relevant facts would find that                       authorization, an employee should not
                                              that the DAEO’s memorandum is flawed                     Member Emanuel’s participation in this                   participate in a particular matter
                                              because it was issued while the Board’s                  rulemaking would create an appearance                    involving specific parties that he knows
                                              recusal procedures were under                            that the law or ethical standards have                   is likely to affect the financial interests
                                              review.21 The Board’s report on those                    been or are being violated.                              of a member of his household, or in
                                              procedures issued on November 19,                           Two commenters argue that Chairman                    which he knows that a person with
                                              2019.22 Nothing in that report or in the                 Ring and Member Emanuel are ‘‘too                        whom he has a covered relationship is
                                              fact that the review was underway at the                 biased to participate in rulemaking’’
                                                                                                                                                                   25 The fact that the Board had proposed a joint-
                                              time the DAEO issued her memorandum                      based on unfair labor practice litigation
                                                                                                                                                                employer rule was taken into consideration in the
                                                                                                       involving McDonald’s USA, LLC (the                       decision to approve the settlement in the
                                                 19 The question of what standard should apply in
                                                                                                       McDonald’s litigation).24 Those                          McDonald’s litigation, but only to the extent that
                                              Browning-Ferris on remand was not addressed by           commenters cite Chairman Ring’s and                      the Board recognized that the standard adopted in
                                              the D.C. Circuit, which declined to rule on BFI’s                                                                 a final rule ‘‘[would] likely supplant any standard
                                              challenge to the retroactive application of the          Member Emanuel’s former law firms’
                                                                                                                                                                arising from the [McDonald’s] litigation,’’ and
                                              Browning-Ferris standard in that case. See 911 F.3d      work in connection with the                              therefore ‘‘a decision regarding joint-employer
                                              at 1222.                                                 McDonald’s litigation and then-pending                   status’’ in that litigation ‘‘may have limited
                                                 20 Comment of Chairman Robert C. ‘‘Bobby’’ Scott
                                                                                                       motions for Chairman Ring and Member                     precedential value.’’ 368 NLRB No. 134, slip op. at
                                              of the House Committee on Education and Labor                                                                     7. Importantly, in weighing the risks inherent in
                                              and Ranking Member Patty Murray of the Senate
                                                                                                       Emanuel to recuse themselves from that
                                                                                                                                                                continued litigation, the Board observed that ‘‘there
                                              Committee on Health, Education, Labor, and               case. These commenters argue that the                    [was] no guarantee that McDonald’s would be found
khammond on DSKJM1Z7X2PROD with RULES2




                                              Pensions (Chairman Scott and Ranking Member                                                                       to be a joint employer with its Franchisees’’ ‘‘[e]ven
                                              Murray) at 16.                                             23 Comment of SEIU at 20.
                                                                                                                                                                under the joint-employer standard articulated in
                                                 21 Comment of Congressional Progressive Caucus.          24 Comment of SEIU National Fast Food Workers         Browning-Ferris,’’ considering that the Board ‘‘has
                                                 22 See NLRB’s Ethics Recusal Report, https://         Union at 2 (capitalization altered); see also id. at 3   generally not held franchisors to be joint employers
                                              www.nlrb.gov/reports/other-agency-reports/ethics-        (citing McDonald’s USA, LLC, a Joint Employer, et        with their franchisees’’ and that ‘‘the Board in
                                              recusal-report (last visited Jan.15, 2020). The Board    al. ‘‘Charging Parties’ Motion for Recusal of            [Browning-Ferris] explicitly disclaimed an intent to
                                              subsequently announced plans to modify aspects of        Chairman Ring and Member Emanuel,’’ Case 02–             address the joint-employer standard in the context
                                              the report not material to the issues discussed here.    CA–093893 et al. (Aug. 14, 2018)); see also              of the relationship between a franchisor and a
                                              Id.                                                      comment of SEIU at 21.                                   franchisee.’’ Id., slip op. at 6–7.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM     26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 13 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                       11191

                                              or represents a party,26 if he determines                This requirement disappeared in August                described above is consistent with the
                                              that a reasonable person with                            2015 with the issuance of Browning-                   common law of joint-employment
                                              knowledge of the relevant facts would                    Ferris, which held that joint-employer                relationships in the context of the Act.
                                              question his impartiality in the matter.                 status could be based on evidence of                  Even assuming that Laerco, TLI, and
                                              For reasons already stated, because this                 indirect or reserved-but-unexercised                  Airborne Express did not adequately
                                              CFR provision applies to ‘‘particular                    control, without more.                                explain the basis for requiring
                                              matters involving specific parties,’’ it                    Several commenters criticize the                   substantial direct and immediate
                                              does not apply to a rulemaking of broad                  proposed rule’s return to the Board’s                 control, the Board has provided that
                                              application such as this one. Id.; see                   joint-employer standard as it existed                 explanation here.
                                              also Office of Government Ethics Legal                   before Browning-Ferris.27 These                          As the D.C. Circuit has held, ‘‘the
                                              Advisory, DO–06–029, ‘‘Particular                        commenters contend that the Board                     common law inquiry is not woodenly
                                              Matter Involving Specific Parties,’’                     cannot simply revert to the pre–                      confined to indicia of direct and
                                              ‘‘Particular Matter,’’ and ‘‘Matter,’’ at 9              Browning-Ferris joint-employer                        immediate control; an employer’s
                                              fn. 10 (Oct. 4, 2006) (‘‘[R]ulemaking                    standard because the Board precedent                  indirect control over employees can be
                                              ‘would not, except in unusual                            upon which that standard was based—                   a relevant consideration.’’ Browning-
                                              circumstances covered under section                      Laerco and its progeny—departed                       Ferris v. NLRB, 911 F.3d at 1209
                                              502(a)(2), raise an issue under section                  without explanation from the standard                 (emphasis added). And again, the court
                                              502(a)[.]’ ’’) (quoting OGE Informal                     articulated in Greyhound Corp., 153                   upheld ‘‘as fully consistent with the
                                              Advisory Letter 93 x 25 (Oct. 1, 1993)).                 NLRB at 1488, by disregarding evidence                common law the Board’s
                                                 5 CFR 2635.502(a)(2) also includes a                  of contractually reserved authority and               determination’’ in Browning-Ferris ‘‘that
                                              ‘‘catchall’’ provision, which states: ‘‘An               indirect control as evidence of joint-                both reserved authority to control and
                                              employee who is concerned that                           employer status and discounting                       indirect control can be relevant factors
                                              circumstances other than those                           evidence of supervision and direction                 in the joint-employer analysis.’’ Id. at
                                              specifically described in this section                   that was ‘‘limited and routine.’’ See                 1222 (emphasis added). The Board
                                              would raise a question regarding his                     Laerco, 269 NLRB at 326; TLI, 271 NLRB                agrees that reserved authority to control
                                              impartiality should use the process                      at 798–799. In the view of these                      and indirect control are relevant
                                              described in this section to determine                   commenters, these departures led to a                 considerations. To state the obvious,
                                              whether he should or should not                          narrowing of the joint-employer                       however, the court also acknowledged
                                              participate in a particular matter’’                     standard without ‘‘the benefit of any                 the significance of direct and immediate
                                              (emphasis added). But because the final                  explicit modification of the earlier                  control to the common-law joint-
                                              rule applies prospectively only and does                 Greyhound standard.’’ 28                              employer analysis when it stated that
                                              not affect the outcome of any pending                       In addition, some commenters                       ‘‘the common-law inquiry is not
                                              litigation, no such concerns are present                 contend that the final rule’s ‘‘direct and            woodenly confined to indicia of direct
                                              here.                                                    immediate’’ standard was                              and immediate control,’’ id. at 1209
                                                                                                       ‘‘manufactured’’ by the Board in                      (emphasis added), and the court
                                              V. Response to Comments                                  Airborne Express, with no explanation                 expressly did not decide whether either
                                                 The Board received almost 29,000                      and no citation to the common law.29                  indirect control or contractually
                                              comments from interested                                 These commenters point to Restatement                 reserved but unexercised authority,
                                              organizations, labor unions, business                    (Second) of Agency (1958) Sec. 220(1),                without more, could establish joint-
                                              owners, members of Congress, state                       comment d, which states that ‘‘the                    employer status under the Act, id. at
                                              attorneys general, academics, and other                  control or right to control needed to                 1213, 1218. Accordingly, the final rule
                                              individuals. The Board has carefully                     establish the relation of master and                  makes evidence of indirect control and
                                              reviewed and considered these                            servant may be very attenuated.’’ Some                contractually reserved but unexercised
                                              comments as discussed below.                             commenters argue that the proposed                    authority probative of joint-employer
                                                                                                       rule’s requirement that a putative joint              status insofar as it supplements and
                                              A. Comments Regarding the
                                                                                                       employer must possess and actually                    reinforces evidence of direct and
                                              Development of the Joint-Employer
                                                                                                       exercise substantial direct and                       immediate control over essential terms
                                              Doctrine Under the Act
                                                                                                       immediate control over employees’                     and conditions of employment. The
                                                 The Board received numerous                           working conditions ‘‘amounts to little                final rule is therefore consistent with
                                              comments on the development of the                       more than a ‘categorical rule’ that drains            the D.C. Circuit’s decision in Browning-
                                              joint-employer doctrine under the Act.                   reserved and/or indirect control of any               Ferris. And by requiring evidence of
                                              In general, those comments                               relevance.’’ At least one commenter                   direct and immediate control, it is also
                                              acknowledge the accuracy of the Board’s                  observes that the common-law ‘‘right-to-              consistent with Laerco and its progeny.
                                              description of that development in the                   control’’ principle is consistent with                   The final rule, moreover, is consistent
                                              NPRM, which is briefly summarized                        Section 2(11) of the NLRA, which                      with the Board’s pre-1984 precedent,
                                              above in Section I. As more fully                        defines ‘‘supervisor’’ as ‘‘any individual            which deemed indirect control relevant
                                              developed there, for at least 30 years                   having authority, in the interest of the              to joint-employer status without holding
                                              (from no later than 1984 to 2015),                       employer,’’ to perform one or more of 12              that it was sufficient, standing alone, to
                                              evidence of direct and immediate                         supervisory functions. 29 U.S.C. 152(11)              establish that status. For example, in
                                              control over essential terms and                         (emphasis added).30                                   Floyd Epperson, 202 NLRB at 23, the
                                              conditions of employment was required                       Contrary to these comments, the pre–               Board considered the fact that the
                                              to prove that an entity was the joint                    Browning-Ferris Board precedent                       putative joint employer, a dairy
khammond on DSKJM1Z7X2PROD with RULES2




                                              employer of another business’s workers.                                                                        company, had indirect control over the
                                                                                                         27 See comments of Laborers’ International Union
                                                                                                                                                             wages of drivers supplied by another
                                                26 Pursuant to 5 CFR 2635.502(b)(1)(iv), an            of North America (LIUNA); International Union of      employer. But the Board’s conclusion
                                              employee is considered to have a ‘‘covered               Operating Engineers (IUOE); AFL–CIO.
                                                                                                         28 See comment of IUOE.                             that the dairy company was a joint
                                              relationship’’ with ‘‘[a]ny person for whom the
                                              employee has, within the last year, served as officer,     29 See comments of State Attorneys General; the     employer of the drivers relied on ‘‘all
                                              director, trustee, general partner, agent, attorney,     AFL–CIO.                                              the circumstances’’ of the case,
                                              consultant, contractor, or employee.’’                     30 See comment of AFL–CIO.                          including the fact that the company


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 14 of 58
                                              11192            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              dictated the specific routes that drivers                assigns unfair labor practice liability to            control is actually exercised in the
                                              were required to take when transporting                  the employer responsible for the                      workplace.47 Some commenters state
                                              its goods, ‘‘generally supervise[d]’’ the                violation; 38 and enables businesses to               that indirect control can be just as
                                              drivers, and had authority to modify                     enter into a variety of business                      effective and significant as direct
                                              their work schedules. Id. As explained                   relationships and to establish certain                control.48 Further, some commenters
                                              in the NPRM, in Floyd Epperson and                       high-level requirements (e.g., minimum                state that the Board failed to adequately
                                              like cases arising before 1984, the Board                training levels) with the confidence that             justify its ‘‘preliminary belief’’ in the
                                              was not called upon to decide, nor did                   they will not be held responsible for                 NPRM that, without requiring direct and
                                              it assert, that an entity’s indirect                     another entity’s employees.39 Further,                immediate control, it would be difficult
                                              influence over another company’s                         some commenters state that pre–                       to police the line between independent
                                              workers’ essential working conditions,                   Browning-Ferris precedent addressing                  commercial contractors and genuine
                                              standing alone, could establish a joint-                 the meaning of direct and immediate                   joint employers.49
                                              employer relationship.                                   control will provide helpful guidance to                 Citing various sections of the Act,
                                                 Some commenters argue that the rule                   parties.40                                            several commenters argue that indirect
                                              conflicts with the policies and purposes                    Relatedly, several commenters state                control is either relevant to, or an
                                              of the NLRA by purportedly                               that evidence of indirect control may be              independently sufficient basis for
                                              diminishing opportunities for collective                 ‘‘probative,’’ 41 relevant, or permissibly            finding, joint-employer status.
                                              bargaining and eliminating protections                   considered, but that the common law,                  Specifically, they cite the definition of
                                              for those seeking to exercise their rights               the courts, and/or the Taft-Hartley                   ‘‘employer’’ in Section 2(2),50 of
                                              under the Act.31 Another commenter                       Congress would not support finding                    ‘‘supervisor’’ in Section 2(11),51 and of
                                              argues that while the Browning-Ferris                    joint-employer status absent evidence of              ‘‘agent’’ in Section 2(13),52 and the
                                              standard facilitates collective bargaining               direct or immediate control.42 In this                policies set forth in Section 1.53
                                              when chosen by workers, promotes                         connection, one commenter states that                    Under the common law, some forms
                                              enforcement of the Act, and provides                     the Board may choose to address                       of indirect control are relevant to the
                                              clear standards, the proposed rule fails                 whether indirect control could be                     joint-employer analysis. Consistent with
                                              on each of these counts.32 Other                         ‘‘dispositive,’’ noting that the D.C.                 this principle, the final rule makes clear
                                              commenters take the opposite position,                   Circuit in Browning-Ferris v. NLRB left               that evidence of indirect control over
                                              arguing that the proposed rule                           that question unanswered.43 However,                  essential terms and conditions of
                                              encourages collective bargaining by                      another commenter takes the position                  employment is probative of joint-
                                                                                                       that the extent to which control is
                                              fostering predictable joint-employer                                                                           employer status, but only to the extent
                                                                                                       exercised has limited or no relevance.44
                                              determinations in a variety of business                                                                        that it supplements and reinforces
                                                                                                          In contrast, several commenters say
                                              relationships, thereby promoting labor-                                                                        evidence of direct and immediate
                                                                                                       that consideration of indirect control is
                                              management stability, one of the                                                                               control over essential terms and
                                                                                                       consistent with the common law, the
                                              principal purposes of the Act.33 In                                                                            conditions of employment. Nothing in
                                                                                                       pertinent Restatements, court decisions
                                              agreement with the latter commenters,                    (including Browning-Ferris v. NLRB),45
                                                                                                                                                             the Act itself or joint-employer
                                              the Board believes that the final rule                                                                         precedent compels us to adopt a rule
                                                                                                       and the practices of other federal
                                              promotes national labor policy by                                                                              that permits a finding of joint-employer
                                                                                                       agencies that consider indirect control
                                              appropriately imposing bargaining                                                                              status based solely on an entity’s
                                                                                                       under other statutes.46 One commenter
                                              obligations solely on entities that have                                                                       indirect control over another entity’s
                                                                                                       asserts that considering indirect control
                                              actually exercised substantial direct and                                                                      employees, and the Board declines to do
                                                                                                       is necessary in order to capture how
                                              immediate control over essential terms                                                                         so. With regard to comments that cite
                                              and conditions of employment.                            American Staffing Association; Council on Labor
                                                                                                                                                             various sections of the Act, none of the
                                                                                                       Law Equality (COLLE); Restaurant Law Center.          cited sections requires a conclusion that
                                              B. Comments Regarding Indirect Control                      38 Comments of COLLE; Americans for Tax            one entity’s exercise of merely indirect
                                                Many commenters support requiring                      Reform.                                               control over another entity’s employees
                                                                                                          39 Comment of National Association of Truckstop
                                              actual exercise of substantial direct and                                                                      is sufficient to make the former entity a
                                                                                                       Operators.
                                              immediate control in order to establish                     40 Comments of International Bancshares
                                                                                                                                                             joint employer. Further, the Board
                                              joint-employer status. In this regard,                   Corporation; Restaurant Law Center; COLLE.            believes that the policies of the Act are
                                              commenters assert, among other things,                      41 Comment of CDW.                                 furthered, not hindered, by requiring
                                              that this requirement is practical; 34 is                   42 Comments of CDW; HR Policy Association;         only those entities to come to the
                                              long-accepted 35 and has always been a                   American Staffing Association; Retail Industry        bargaining table that have sufficient
                                              fundamental aspect of the joint-                         Leaders Association (RILA).                           control over essential terms and
                                                                                                          43 Comment of Jenner & Block, LLP.
                                              employer standard; 36 is consistent with                    44 Comment of SEIU.
                                                                                                                                                             conditions of employment to warrant a
                                              court precedent, the common law, the                        45 Comments of Southern Poverty Law Center;        finding that they meaningfully affect
                                              pertinent Restatements, and/or                           United Brotherhood of Carpenters and Joiners of       matters relating to the employment
                                              congressional intent; 37 appropriately                   America; Congressional Progressive Caucus; Greater    relationship, and that direct and
                                                                                                       Boston Legal Services; International Union, United    immediate control over at least one
                                                                                                       Automobile, Aerospace and Agricultural Implement
                                                31 See comments of National Employment Law
                                                                                                       Workers of America (UAW); AFL–CIO;
                                                                                                                                                             essential term is necessary to warrant
                                              Project (NELP); Economic Policy Institute (EPI).                                                               such a finding.
                                                32 See comment of State Attorneys General.             International Brotherhood of Teamsters (IBT);
                                                33 See comments of American Supply
                                                                                                       United Association of Journeymen and Apprentices
                                                                                                       of the Plumbing and Pipe Fitting Industry of the
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                               47 Comment of NELP.
                                              Association; Chamber of Commerce.                        United States and Canada, AFL–CIO (UA);
                                                34 Comment of International Foodservice                                                                        48 See, e.g., Comment of Kelly Sagaser.
                                                                                                       1199SEIU United Healthcare Workers East; LIUNA;         49 Comments of Chairman Scott and Ranking
                                              Distributors Association.                                Spivak Lipton LLP; IUOE; Members of Congress;
                                                35 Comments of International Foodservice
                                                                                                       Chairman Scott and Ranking Member Murray;             Member Murray; Attorneys General of New York,
                                              Distributors Association; Restaurant Law Center.         Communications Workers of America, AFL–CIO            Pennsylvania, et al.
                                                36 Comment of National Retail Federation.                                                                      50 Comments of A. Feola; AFL–CIO; UA; SEIU.
                                                                                                       (CWA); NELP; James van Wagtendonk; SEIU;
                                                                                                                                                               51 Comments of UAW; AFL–CIO.
                                                37 Comments of Coalition for a Democratic              Attorneys General of New York, Pennsylvania, et
                                                                                                       al.; SEIU Local 32BJ.                                   52 Comment of SEIU.
                                              Workplace (CDW); Chamber of Commerce; HR
                                              Policy Association; Ranking Member Foxx;                    46 Comments of UA; James van Wagtendonk.             53 Comments of IUOE; Members of Congress.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 15 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                               11193

                                                 Several commenters state that the                     version of that concept.61 Relatedly,                 customers are protected; 65 deciding that
                                              term ‘‘direct and immediate control’’ is                 other commenters state that, in                       the services of temporary workers
                                              unclear and will lead to uncertainty and                 determining the meaning of indirect                   supplied by another company are no
                                              litigation over its meaning.54 Some                      control, it may be useful to consider the             longer needed at one’s worksite; 66
                                              commenters also state that the final rule                common-law ‘‘subservant doctrine.’’ 62                establishing the amount that the
                                              should define the term,55 and some                          Based on these comments, the Board                 customer is willing to pay for
                                              propose definitions or advocate for                      has decided to provide more clarity by                services; 67 cost-plus contracts; 68
                                              particular interpretations of that                       expressly defining ‘‘indirect control’’ in            corporate social-responsibility
                                              phrase.56                                                the final rule in a manner that largely               policies; 69 ensuring compliance with
                                                 For the reasons stated by many                        tracks the distinction that the D.C.                  regulatory obligations; 70 permitting
                                              commenters, the final rule provides                      Circuit articulated in Browning-Ferris v.             employees to participate in basic benefit
                                              guidance on distinguishing what does                     NLRB. Thus, under the final rule,                     plans such as retirement, health, dental,
                                              and does not evidence direct and                         ‘‘indirect control’’ means indirect                   and life insurance; 71 establishing
                                              immediate control over each essential                    control over essential terms and                      minimum wages, where the direct
                                              term and condition of employment. We                     conditions of employment of another                   employer is permitted to pay more; 72
                                              believe that that this approach helps                    employer’s employees, but not control                 and establishing requirements
                                              clarify the meaning of ‘‘direct and                      or influence over setting the objectives,             concerning performance management,
                                              immediate control.’’ Moreover, the                       basic ground rules, or expectations for               products, quality, or safety.73
                                              several definitions of essential terms                   another entity’s performance under a                     The final rule incorporates several
                                              and conditions of employment—                            contract. In defining indirect control,               aspects of these comments.
                                              specifically, of what does not constitute                the Board has opted to focus on the                   Preliminarily and as a general matter,
                                              evidence of direct and immediate                         connection between the entity’s actions               the rule states that joint-employer status
                                              control—also shed light on the meaning                   and the employees’ essential terms and                must be determined on the totality of
                                              of indirect control.                                     conditions of employment, rather than                 the relevant facts in each employment
                                                 Many commenters are critical of the                   on how alleged control is                             setting. More specifically, the final rule
                                              term ‘‘indirect control,’’ saying, among                 communicated. However, the final rule                 provides guidance as to kinds of
                                              other things, that it is undefined,                      is not intended to immunize an entity                 indirect control that may not be
                                              ambiguous, and/or seemingly                              from joint-employer status based solely               probative of joint-employer status. It
                                              limitless.57 Some commenters note that                   on how its control is communicated, if                does so in the several definitions of
                                              there are different types of indirect                    the other requirements of joint-employer              essential terms and conditions in stating
                                              control, and they cite the Browning-                     status otherwise are met. In this                     what does not constitute direct and
                                              Ferris court’s distinction between forms                 connection, as the D.C. Circuit observed              immediate control of each essential
                                              of indirect control that involve sharing                 in Browning-Ferris v. NLRB, the                       term. Thus, for example, the final rule
                                              or codetermining those matters                           common law has never countenanced                     provides that direct and immediate
                                              governing essential terms and                            the use of intermediaries or controlled               control excludes setting minimal hiring
                                              conditions of employment, which may                      third parties to avoid the creation of a              standards; setting minimal standards of
                                              be relevant to a joint-employer                          master-servant relationship, and we do                performance or conduct; refusing to
                                              determination, and employer decisions                    not intend this rule to do so. Relatedly,             allow another employer’s employee to
                                              that set the objectives, basic ground                    as Browning-Ferris v. NLRB discussed,                 continue performing work under a
                                              rules, and expectations for a third-party                the subservant doctrine takes into                    contract; entering into a cost-plus
                                              contractor, which are not.58 Relatedly,                  account control exercised through an                  contract; maintaining standards that are
                                              other commenters state or imply that                     intermediary.                                         required by government regulation; and
                                              joint-employer status should not be                         One commenter states that indirect                 permitting another employer, under an
                                              found based solely on a business having                  control should be considered along with               arms-length contract, to participate in
                                              the ability to cancel a contract with a                  all of the facts and circumstances,                   its benefit plans. These same acts also
                                              subcontractor or franchisee.59                           including how often indirect control is               would not constitute evidence of
                                                 Further, several commenters propose                   actually exercised, how many                          indirect control to the extent they
                                              defining, or describe, ‘‘indirect control’’              employees are impacted by the indirect                involve setting the objectives, basic
                                              as involving or including control                        control, and whether the indirect                     ground rules, or expectations for
                                              exercised through intermediaries or                      control governs a significant number of               another entity’s performance under a
                                              controlled third parties,60 or some                      essential terms and conditions of                     contract.74 See Browning-Ferris v.
                                                                                                       employment.63 In addition, several                    NLRB, 911 F.3d at 1220 (‘‘[E]mployer
                                                54 Comments of UAW; 1199SEIU United
                                                                                                       commenters propose examples of
                                              Healthcare Workers East; SEIU; Signatory Wall and        indirect control or other arrangements                  65 Id.
                                              Ceiling Contractors Alliance.
                                                55 See, e.g., Comment of Restaurant Law Center.
                                                                                                       that should not demonstrate joint-                      66 Comment of Jenner & Block, LLP.

                                                56 Comments of SEIU; National Retail Federation;       employer status, such as determining                    67 Comment of Restaurant Law Center.

                                              American Hotel & Lodging Association.                    the skills of the individuals who will                  68 Comments of Restaurant Law Center; COLLE.
                                                                                                                                                                69 Comments of COLLE; RILA; HR Policy
                                                57 Comments of American Staffing Association;          perform services; 64 establishing
                                              American Action Forum; International Sign                                                                      Association.
                                                                                                       conduct requirements to ensure that the                  70 Comment of HR Policy Association.
                                              Association; Restaurant Law Center; American
                                              Hotel & Lodging Association; FedEx Corporation;
                                                                                                       company’s employees, property, and                       71 Id.

                                              HR Policy Association; National Association of                                                                    72 Comment of John B. Hirsch.
khammond on DSKJM1Z7X2PROD with RULES2




                                              Home Builders; General Counsel Peter Robb;               Drivers, Chauffeurs, Sales, Industrial and Allied        73 Comment of HR Policy Association.
                                              Chamber of Commerce.                                     Workers, Local 848, IBT; Chairman Scott and              74 On the other hand, conduct excluded by
                                                58 Comments of the American Hotel & Lodging            Ranking Member Murray.
                                                                                                         61 See, e.g., Comment of Kentucky Equal Justice
                                                                                                                                                             definition from evidencing direct and immediate
                                              Association; COLLE; Restaurant Law Center.                                                                     control may evidence indirect control where it does
                                                59 See, e.g., Comment of Dean Johnson.                 Center (‘‘via supervisors and other lower-level       not involve setting the objectives, basic ground
                                                60 Comments of Selby Schwartz; United                  direct overseers’’).                                  rules, or expectations for another entity’s
                                                                                                         62 See, e.g., Comment of SEIU.
                                              Brotherhood of Carpenters and Joiners of America;                                                              performance under a contract. See Sec. II.B,
                                                                                                         63 Comment of Jenner & Block, LLP.
                                              UAW; Spivak Lipton LLP; HR Policy Association;                                                                 ‘‘Summary of Changes to the Proposed Rule:
                                              SEIU; Wholesale Delivery Drivers, General Truck            64 Comment of Restaurant Law Center.                Indirect Control.’’



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM     26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 16 of 58
                                              11194            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              decisions that set the objectives, basic                   One commenter states that we should                 bearing on the joint-employer
                                              ground rules, and expectations for a                     rely on indirect control that is ‘‘actual             determination. As the Browning-Ferris
                                              third-party contractor cast no                           and measurable’’—i.e., indirect control               court discussed, the issue of whether a
                                              meaningful light on joint-employer                       would be probative of joint-employer                  worker is an independent contractor or
                                              status.’’).                                              status if it can be readily identified and            an employee is distinct from the issue
                                                While not specifically addressed in                    objectively measured.78 While the final               of whether a worker who is
                                              the text of the final rule, so-called social             rule does not incorporate the                         undisputedly the employee of one
                                              responsibility provisions, such as                       commenter’s proposed ‘‘actual and                     employer also has a second, joint
                                              contractual provisions requiring                         measurable’’ standard, it does limit the              employer. Accordingly, the Board has
                                              workplace safety practices, sexual                       scope of probative ‘‘indirect control’’               not amended the rule to make the
                                              harassment policies, morality clauses,75                 evidence in other ways. Consistent with               suggested change.
                                              wage floors, or other measures to                        the D.C. Circuit’s decision in Browning-
                                                                                                                                                             C. Comments Regarding Contractually
                                              encourage compliance with the law or                     Ferris v. NLRB, the final rule provides
                                                                                                                                                             Reserved But Unexercised Control
                                              to promote desired business practices                    that control or influence over setting the
                                                                                                       objectives, basic ground rules, or                       Many commenters address the
                                              generally will not make joint-employer
                                                                                                       expectations for a third-party contractor             question of whether reserved but
                                              status more likely under the Act.
                                                                                                       does not constitute ‘‘indirect control’’              unexercised control is relevant to the
                                              Typically, such provisions will
                                                                                                       for the purpose of determining joint-                 joint-employer analysis.
                                              constitute the setting of basic ground                                                                            A number of commenters argue that
                                              rules or expectations for a third-party                  employer status. Moreover, the several
                                                                                                       definitions of essential terms and                    the Board should not consider
                                              contractor. We cannot rule out the                                                                             contractually reserved but unexercised
                                              possibility, however, that a social-                     conditions of employment—specifically,
                                                                                                       of the statements in those definitions of             control in its joint-employer analysis.
                                              responsibility provision may be                                                                                One commenter argues that under the
                                              probative of joint-employer status to the                what does not count as evidence of
                                                                                                       direct and immediate control—also                     right-to-control standard set forth in the
                                              extent it goes beyond merely setting                                                                           Board’s decision in Browning-Ferris,
                                              basic ground rules or expectations for a                 furnish guidance on what may not count
                                                                                                       as evidence of indirect control, either.              virtually all user employers, franchisors,
                                              third-party contractor and evidences                                                                           etc., would be joint employers simply
                                              substantial control over one or more                     Finally, as to evidence of indirect
                                                                                                       control that may factor into a joint-                 because their contracts with undisputed
                                              essential terms or conditions of                                                                               primary employers almost always give
                                              employment.                                              employer determination, the final rule
                                                                                                       provides that such evidence is probative              them the potential to control the terms
                                                One commenter asserts that the                         of joint-employer status only to the                  and conditions of employment of the
                                              NPRM created confusion by providing                      extent it supplements and reinforces                  primary employer’s employees, if only
                                              that joint-employer status would be                      evidence of direct and immediate                      because such user employers can simply
                                              limited to entities that play an active                  control.                                              cancel such contracts if not satisfied
                                              role in ‘‘establishing’’ essential terms                    Some commenters describe various                   with the terms and conditions of
                                              and conditions of employment.76 The                      fact patterns they said would be                      employment set by the primary
                                              commenter states that it would                           problematic under the proposed rule,                  employer.81 Another commenter argues
                                              undermine the Act’s goals if the Board                   including a situation where an entity                 that finding an entity to be an employer
                                              immunized from joint-employer status                     uses a pretextual reason to ask an                    of another entity’s employees based
                                              entities that did not initially establish                undisputed employer to discharge an                   solely on the conditions under which
                                              terms and conditions of employment,                      employee, where the request is                        the entities have agreed that they might
                                              but that were nonetheless instrumental                   unlawfully motivated.79 Rather than                   terminate their relationship
                                              in post-establishment interpretation and                 lengthening or complicating the final                 unjustifiably restricts parties’ liberty to
                                              implementation of those terms and                        rule with a variety of examples or fact               contract and contravenes private rights
                                              conditions, in preventing modifications                  patterns, the final rule clarifies that               long recognized in Anglo-Saxon
                                              of them, or in ‘‘endorsing, ratifying, and               joint-employer status must be                         jurisprudence.82 Commenters also argue
                                              incorporating’’ them.77                                  determined on the totality of the                     that a standard incorporating
                                                The proposed rule was not intended                     relevant facts in each particular                     contractually reserved control is vague,
                                              to limit joint-employer status in this                   employment setting.                                   elusive, and uncertain, difficult to
                                              way. The text of the proposed rule did                     One commenter states that the Board                 apply, or unworkable, and that such a
                                              not thus limit joint-employer status, and                should first conduct an independent-                  standard may be used in an outcome-
                                              neither does the text of the final rule.                 contractor analysis to determine                      determinative manner to support a
                                              Thus, an entity may be found to be a                     whether the Board has jurisdiction                    particular result.83 Another commenter
                                              joint employer where it possesses and                    before assessing whether direct and                   states that considering reserved control
                                              exercises substantial direct and                         immediate control has been exercised.80               may inappropriately or unfairly enmesh
                                              immediate control over essential terms                   But an entity alleged to be a joint                   an entity, especially a franchisor, in
                                              and conditions of employment by                          employer of another employer’s                        another entity’s labor dispute.84 Finally,
                                              maintaining or revising them without                     employees will be the direct employer                 a commenter argues that extending
                                              having established them in the first                     of its own employees, and the Board’s                 joint-employer status to entities on the
                                              instance.                                                jurisdiction over that entity will be                 basis of potential control would conflict
                                                                                                       established on this basis, provided the               with other federal and state statutory
                                                                                                                                                             schemes, creating unwarranted
khammond on DSKJM1Z7X2PROD with RULES2




                                                75 Morality clauses require employees to maintain      usual statutory and discretionary
                                              standards of behavior to protect the reputation of       jurisdictional standards are met. From
                                                                                                                                                               81 See comment of General Counsel Robb.
                                              their employer. See, e.g., Galaviz v. Post-Newsweek      that point forward, the independent-
                                              Stations, 380 Fed. Appx. 457, 459 (5th Cir. 2010),                                                               82 See comment of Chamber of Commerce.

                                              and Bernsen v. Innovative Legal Marketing, LLC,          contractor analysis has little if any                   83 See comments of American Hotel & Lodging
                                              No. 2:11CV546, 2012 WL 3525612 (E.D. Va. June 20,                                                              Association; International Bancshares Corporation;
                                              2012), for examples of morality clauses.                   78 Comment of HR Policy Association.
                                                                                                                                                             CDW; International Sign Association; International
                                                76 Comment of SEIU.                                      79 See, e.g., Comment of LIUNA.                     Foodservice Distributors Association.
                                                77 Id.                                                   80 Comment of Employment Law Alliance.                84 See comment of FordHarrison LLP.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 17 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                               11195

                                              difficulties for businesses in their                     asserted need to adapt to changes in                  provide that the hospital that employs
                                              attempts to comply with various federal                  today’s workforce by extending the right              the Director of Nursing must be a joint
                                              and state employment-related laws.85                     to collective bargaining to a wide variety            employer of the supplied nurses.96
                                                 In contrast, many commenters argue                    of contingent workers as a matter of                  Other commenters point out that the
                                              that the Board’s standard should give at                 policy.91 Other commenters claim that                 NPRM does not exclude consideration
                                              least some weight to evidence of an                      effective collective bargaining requires              of reserved but unexercised control, but
                                              entity’s contractually reserved control                  that all entities with the ability to                 merely clarifies that it is insufficient to
                                              over essential terms and conditions of                   control workers’ terms and conditions of              establish joint-employer status absent
                                              employment of another employer’s                         employment must participate in                        evidence of actual exercise of such
                                              employees.86 These commenters argue                      collective bargaining, thereby                        control.97
                                              that contractually reserved rights are                   preventing an entity with reserved but                   Having carefully considered these
                                              relevant because they impact and, in                     unexercised control from upending,                    comments, the Board has decided to
                                              some cases, set terms and conditions of                  after the fact, collective-bargaining                 modify the proposed rule to provide
                                              employment and claim that the common                     agreements made by the primary                        that an entity’s contractually reserved
                                              law deems reserved control relevant                      employer of the employees over whom                   but never exercised authority over the
                                              because an entity’s authority over the                   the entity possesses reserved control.92              essential terms and conditions of
                                              work, even if unexercised, prevents                      Another commenter argues that general                 employment of another employer’s
                                              another from deciding to render service                  statutory requirements of good-faith                  employees is probative of joint-
                                              in a manner different from that which                    bargaining require the presence at the                employer status, but only to the extent
                                              serves the entity holding the reserved                   bargaining table of, for instance, an                 that evidence of such authority
                                              control.87 Another commenter argues                      exclusive purchaser of a manufacturer’s               supplements and reinforces evidence of
                                              that a contractual reservation of                        products, or a major donor that                       actually exercised direct and immediate
                                              authority, particularly when paired with                 conditions donations to a nonprofit on                control.
                                              a clause allowing for at-will termination                specified terms and conditions for the                   The Board agrees with those
                                              of the contractual relationship, gives the               nonprofit’s employees, each of which                  commenters who suggest that an entity’s
                                              undisputed primary employer a                            possesses effective control over                      ability to cancel a contract or terminate
                                              powerful incentive to comply with the                    employees’ essential terms and                        a business relationship with another
                                              wishes of the putative joint employer,                   conditions of employment by virtue of                 entity should not be deemed reserved
                                              without the necessity of any actual                      its economic relationship with their                  control relevant to the joint-employer
                                              exercise of control by the latter.88 Many                employer.93                                           inquiry.98 As stated above, reserved or
                                              commenters argue that the common law,                       Two commenters argue that a joint-                 indirect control is not relevant to the
                                              as reflected in relevant Restatements                    employer standard that does not                       joint-employer analysis, whether such
                                              and judicial decisions, permits or                       consider reserved control would be                    control is exercised or not, where it
                                              requires the consideration of reserved                   inconsistent with Section 2(11) of the                bears on ‘‘the objectives, basic ground
                                              but unexercised control.89 These                         Act, which defines who is a                           rules, or expectations for another
                                              commenters argue that the D.C. Circuit’s                 ‘‘supervisor’’ under the Act.94 These                 entity’s performance under a contract.’’
                                              recent decision in Browning-Ferris v.                    commenters contend that established                   See text of Final Rule (Rule) Sec.
                                              NLRB held that consideration of a                        Board interpretations of Section 2(11)                103.40(E), infra; Browning-Ferris v.
                                              company’s reserved authority to control                  exclude individuals who possess                       NLRB, 911 F.3d at 1221 (‘‘[A] joint
                                              terms and conditions of employment is                    supervisory authority as defined in                   employer’s control—whether direct or
                                              an established aspect of the common                      Section 2(11) from employee status                    indirect, exercised or reserved—must
                                              law of agency. Commenters also                           under Section 2(3), whether or not such               bear on the essential terms and
                                              contend that the common law permits                      authority is exercised.95 Thus, they                  conditions of employment, and not on
                                              or requires consideration of                             maintain, it is inconsistent to hold that             the routine components of a company-
                                              contractually reserved control because                   a person may be a Section 2(11)                       to-company contract.’’) (internal
                                              the Second Restatement of Agency                         supervisor based solely on reserved but               quotation and citation omitted).
                                              defines a master as, among other things,                 unexercised control, but not to find his              Consistent with this principle, entities’
                                              someone who has the ‘‘right to control,’’                or her employer a joint employer of the               decisions about the conditions under
                                              defines a servant as someone subject to                  supervised employee based on the same                 which their business relationships may
                                              the master’s right to control, and looks                 reserved but unexercised control. For                 end are ordinary incidents of
                                              to the extent of control that the master                 example, one commenter argues that no                 contractual relationships that are not
                                              may exercise ‘‘by the agreement.’’ 90                    one could dispute that a Director of                  probative of joint-employer status. Cf.,
                                                 Commenters further argue that the Act                 Nursing in a hospital is a statutory                  e.g., First Nat’l Maint. Corp. v. NLRB,
                                              itself supports considering contractually                supervisor if the Director retains                    452 U.S. 666, 677–679, 687–688 (1981)
                                              reserved but unexercised control, citing                 authority, expressly or implicitly, to                (company had no duty to bargain with
                                              the Act’s purpose of promoting                           direct nurses supplied by a staffing                  representative of its own employees
                                              collective bargaining, which is expressly                agency when the Director observes that                over decision to terminate contract and
                                              stated in Section 1 of the Act, and the                  the nurses are not providing services                 discharge employees).
                                                                                                       correctly. In that commenter’s view, a                   The Board agrees with commenters
                                                85 See comment of General Counsel Robb.                proper joint-employer framework would                 who observe that the common law and
                                                86 See comments of IBT; NELP.
                                                                                                                                                             the Act permit consideration of reserved
khammond on DSKJM1Z7X2PROD with RULES2




                                                87 NELP cites Restatement of Employment Law              91 See comments of IUOE; Professor Alexia
                                                                                                                                                             control, the approach adopted by the
                                              Sec. 1.04.                                               Kulwiec.
                                                88 Comment of CWA.                                       92 See comments of IUOE; NELP.
                                                                                                                                                             final rule. In response to commenters’
                                                89 See comments of Chairman Scott and Ranking            93 See comment of International Brotherhood of      concerns about vague and unlimited
                                              Member Murray; Equal Justice Center; Spivak              Electrical Workers Local 21 (IBEW Local 21).
                                                                                                                                                               96 See comment of AFL–CIO.
                                              Lipton LLP; IUOE.                                          94 See comments of UAW; AFL–CIO.
                                                90 See comments of Chairman Scott and Ranking            95 AFL–CIO cites Yamada Transfer, 115 NLRB            97 See comments of Ranking Member Foxx; CDW.

                                              Member Murray; AFL–CIO; IBT; IUOE; Attorneys             1330, 1332 (1956), and U.S. Gypsum Co., 93 NLRB         98 See, e.g., comments of General Counsel Robb;

                                              General of New York, Pennsylvania, et al.                91, 92 fn. 8 (1951).                                  Job Creators Network; Dean Johnson.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 18 of 58
                                              11196            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              ‘‘potential’’ control that might have been               that the Board cannot rely on such                    agency nurses, the hospital might well
                                              found probative of joint-employer status                 considerations in determining joint-                  be found to be a joint employer of the
                                              under the Browning-Ferris standard, the                  employer status, either.                              supplied nurses, and the individual
                                              final rule defines and limits what will                     For the following reasons, the Board               might accordingly be found to be a
                                              constitute probative evidence of                         is unpersuaded by the arguments by                    statutory supervisor. Accordingly, in
                                              contractually reserved authority. Under                  analogy to the Board’s analysis of                    practice, the legal tests for joint
                                              the final rule, such contractually                       supervisory status under Section 2(11)                employer and supervisory status are
                                              reserved authority, to be probative of                   of the Act.                                           likely to converge on consistent results
                                              joint-employer status, (1) means                            First, determining supervisory status              in individual cases.
                                              reserved authority over the essential                    under Section 2(11) turns on the                         Many commenters provide examples
                                              terms and conditions of employment of                    interpretation of statutory language that             of industries or business relationships
                                              another employer’s employees, and (2)                    differs from the statutory language                   involving what the commenters identify
                                              must supplement and reinforce                            governing employer or employee status                 as potential or reserved control.100 The
                                              evidence of direct and immediate                         under Section 2(2) and 2(3),                          final rule incorporates the well-
                                              control over essential terms and                         respectively. The history of                          established legal principle that joint-
                                              conditions of employment of the other                    interpretation of Section 2(11) has not               employer status must be determined on
                                              employer’s employees. Rule Sec.                          been straightforward or free from                     the totality of the relevant facts in each
                                              103.40(F), (A), infra. It therefore follows              controversy. See, e.g., NLRB v. Kentucky              particular employment setting. Rule
                                              that an entity’s contractual authority to                River Commty. Care, Inc., 532 U.S. 706,               Sec. 103.40(A), infra. Accordingly, the
                                              cancel a contract or terminate a business                712–721 (2001) (discussing history of                 outcome of a joint-employer analysis in
                                              relationship with another entity is not                  interpretation of parts of Sec. 2(11)).               individual cases will not be determined
                                              evidence that the former shares or                       Given the intricacy of Section 2(11) and              based on the industry or type of
                                              codetermines matters governing                           its different purpose from Section 2(2),              business relationship involved, but
                                              essential terms and conditions of                        it should not be surprising that the                  rather will result from application of the
                                              employment of the latter’s employees.                    Board applies different standards to the              standards set forth in the final rule to
                                              Accordingly, the rule’s approach is                      analysis of supervisory status and joint-             the particular facts of the case. See, e.g.,
                                              consistent with contract-respecting                      employer status.                                      Boire v. Greyhound Corp., 376 U.S. at
                                              principles of Anglo-Saxon                                   Second, while the commenters                       481 (‘‘[W]hether Greyhound possessed
                                              jurisprudence.                                           correctly observe that the possession of              sufficient indicia of control to be an
                                                 Similarly, and consistent with the                    authority under Section 2(11)                         ‘employer’ is essentially a factual
                                              congressional purpose expressed in the                   establishes supervisory status, it is well            issue.’’).
                                              Taft-Hartley amendments,99 an entity’s                   established that the Board looks beyond                  Further, many commenters provide
                                              reserved ‘‘control’’ in the sense of its                 mere job titles or conclusory statements              examples of specific kinds of
                                              ability to indirectly affect the terms and               of supervisory status in order to                     contractual reservations of control that
                                              conditions of employment of another                      determine whether an individual is                    should or should not be probative of an
                                              entity’s employees as a matter of                        actually a supervisor under Section                   entity’s status as a joint employer. As
                                              economic reality—including by being                      2(11). See, e.g., Coral Harbor Rehab. &               made clear above, kinds of reserved
                                              the exclusive purchaser of a                             Nursing Ctr., 366 NLRB No. 75, slip op.               ‘‘control’’ that are ‘‘routine components
                                              manufacturer’s products or by a donor                    at 1, 17 (2018) (‘‘[W]hat the statute                 of a company-to-company contract,’’
                                              conditioning donations to a nonprofit                    requires is evidence of actual                        Browning-Ferris v. NLRB, 911 F.3d at
                                              on changes to terms and conditions of                    supervisory authority visibly translated              1221, will not be probative of joint-
                                              employment of the nonprofit’s                            into tangible examples demonstrating                  employer status under the rule, and,
                                              employees—will not be the kind of                        the existence of such authority.’’).                  when necessary, the Board will evaluate
                                              control that is relevant to the joint-                   Accordingly, while the Board need not                 evidence of an entity’s alleged
                                              employer analysis. As a matter of                        apply congruent standards to analyze                  contractually reserved but unexercised
                                              economic reality, an employer                            these different statutory relationships,              control over another company’s
                                              producing goods or performing services                   the legal tests are in fact less divergent            employees within this framework.
                                              under a contract that is terminable at                   than the commenters suggest.                          (Consistent with the provisions of the
                                              will has strong incentives to respond to                    Finally, ‘‘an individual must exercise             final rule, such an evaluation need not
                                              any complaints, suggestions, or requests                 supervisory authority over employees of               be conducted unless the proponent of
                                              that the contracting entity may have.                    the employer at issue, and not                        joint-employer status proves that the
                                              The Board is, however, precluded from                    employees of another employer, in order               entity exercises direct and immediate
                                              taking such considerations into account                  to qualify as a supervisor under Section
                                              in determining employer status under                     2(11) of the Act.’’ Crenulated Co., 308                 100 For example, commenters including

                                              the Act. See, e.g., Nationwide Mut. Ins.                 NLRB 1216, 1216 (1992) (citing cases).                International Bancshares Corporation, Chamber of
                                                                                                       Thus, an individual, employed by a                    Commerce, General Counsel Robb, COLLE,
                                              Co. v. Darden, 503 U.S. at 324–325                                                                             International Sign Association, Job Creators
                                              (discussing Congress’s 1947                              hospital, who possesses contractually                 Network, FordHarrison LLP, and Jim Steitz, discuss
                                              amendments to NLRA in response to                        reserved but unexercised authority                    potential or reserved control in business
                                                                                                       responsibly to direct nurses supplied to              relationships including those between franchisors
                                              Supreme Court’s expansive                                                                                      and franchisees, contractors and subcontractors,
                                              interpretation of Sec. 2(3) in Hearst);                  the hospital by a staffing agency would               parent and subsidiary companies, and companies
                                              NLRB v. United Ins. Co. of America, 390                  not, on that basis, be a Section 2(11)                that generally provide and receive goods or
                                                                                                       supervisor, nor would the hospital, on                services, including labor, from one another.
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                                              U.S. at 254 (same). It necessarily follows                                                                     Commenters including SEIU Local 32BJ, COLLE,
                                                                                                       that basis, be a joint employer of the
                                                                                                                                                             Professor Kulwiec; National Association of Home
                                                 99 See, e.g., Nationwide Mut. Ins. Co. v. Darden,     nurses employed by the staffing agency.               Builders, International Sign Association, American
                                              503 U.S. 318, 324–325 (1992) (discussing Congress’s      However, if the hospital, through the                 Hotel & Lodging Association, and FordHarrison LLP
                                              1947 amendments to NLRA in response to Supreme           individual, possessed and exercised                   discuss potential or reserved control in industries
                                              Court’s expansive interpretation of Sec. 2(3)                                                                  including building cleaning and security, food
                                              ‘‘employee’’ in NLRB v. Hearst Publ’s Inc., 322 U.S.
                                                                                                       substantial direct and immediate control              service and hospitality, home healthcare,
                                              111 (1944)); NLRB v. United Ins. Co. of America,         over essential terms and conditions of                agriculture, home building, visual communications,
                                              390 U.S. 254 (1968) (same).                              employment of the supplied staffing-                  and professional employee organizations.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                                Filed: 05/02/2025                Page 19 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11197

                                              control over at least one essential term                 significant control over the work of the                  employees where such efforts fall short
                                              and condition of employment.) More                       drivers’’).                                               of controlling the manner, means and
                                              specifically, some commenters discuss                       An entity’s contractually reserved                     details of their performance.106 In
                                              whether the joint-employer analysis can                  authority to monitor performance                          general, policies prohibiting disruption
                                              or should turn on contractual                            ordinarily will not be probative of joint-                of operations or unlawful conduct
                                              performance requirements and general                     employer status. If, however, the                         constitute the type of basic ground rules
                                              work standards,101 or contractually                      evidence were to demonstrate that                         and expectations that ‘‘cast no
                                              required compliance with regulations or                  conduct characterized as ‘‘monitoring                     meaningful light on joint-employer
                                              codes, including government-required                     performance’’ also encompasses                            status.’’ Browning-Ferris v. NLRB, 911
                                              nondiscrimination provisions.102 These                   instructing individual employees how to                   F.3d at 1219–1220. Efforts to monitor,
                                              kinds of contractual requirements are                    perform their work or issuing                             evaluate, and improve the performance
                                              ordinary incidents of any contractual                    performance appraisals to individual                      of supplied employees would constitute
                                              relationship, and they will generally not                employees, that conduct may be                            direct and immediate control of
                                                                                                       probative of joint-employer status. Rule                  essential terms and conditions if those
                                              be probative of joint-employer status
                                                                                                       Sec. 103.40(C)(7), infra. And an entity’s                 efforts entailed a decision by the user
                                              under the final rule. See, e.g., Aldworth
                                                                                                       reserved authority to dictate times,                      entity to actually discharge, suspend, or
                                              Co., 338 NLRB 137, 139 (2002)
                                                                                                       manner, and method of performance                         otherwise discipline another entity’s
                                              (‘‘[A]ctions taken pursuant to                           may be probative of joint-employer
                                              government statutes and regulations are                                                                            employees, to instruct them how to
                                                                                                       status to the extent such authority                       perform their work or issue performance
                                              not indicative of joint employer                         encompasses determining work
                                              status.’’), enfd. sub nom. Dunkin’                                                                                 appraisals, or to assign them individual
                                                                                                       schedules or work hours, including                        work schedules, positions, and tasks.
                                              Donuts Mid-Atlantic Distrib. Ctr., Inc. v.               overtime, of another employer’s
                                              NLRB, 363 F.3d 437 (D.C. Cir. 2004).                                                                               Rule Sec. 103.40(C)(5)–(8). Thus,
                                                                                                       employees, instructing another                            contractually reserved authority that, if
                                                 Some commenters discuss whether                       employer’s employees how to perform                       exercised, would result in the foregoing
                                              the joint-employer analysis can or                       their work, or assigning particular                       would be probative of joint-employer
                                              should consider the ability of an entity                 employees their individual work                           status to the extent it supplements and
                                              that uses services provided by another                   schedules, positions, and tasks. Rule                     reinforces evidence of direct and
                                              entity’s employees to have input on who                  Sec. 103.40(C)(3), (7), and (8); see also                 immediate control.
                                              provides those services, to monitor                      Cmty. for Creative Non-Violence v. Reid,
                                                                                                       490 U.S. 730, 751 (1989) (‘‘In                               Another commenter observes that
                                              performance, to dictate times, manner,                                                                             many businesses outsource janitorial
                                              and method of performance, or a user                     determining whether a hired party is an
                                                                                                       employee under the general common                         and security services, or production,
                                              entity’s reservation of the right to reject                                                                        delivery, and marketing functions.107 It
                                              individual workers provided by a                         law of agency, we consider the hiring
                                                                                                       party’s right to control the manner and                   suggests that any reserved control
                                              supplier entity and to require that                                                                                inherent in such outsourcing should not
                                              supplied workers comply with the user                    means by which the product is
                                                                                                       accomplished.’’) (emphasis added);                        establish a joint-employment
                                              entity’s plant rules and regulations.103                                                                           relationship. Under the rule, such
                                              The final rule clarifies the conditions                  Restatement of Employment Law Sec.
                                                                                                       1.01(a)(3) (‘‘[A]n individual renders                     ordinary contractual relationships do
                                              under which such contractually                                                                                     not make the outsourcing company a
                                                                                                       services as an employee of an employer
                                              reserved controls may be probative of a                                                                            joint employer so long as it does not
                                                                                                       if . . . the employer controls the
                                              user entity’s joint-employer status.104                                                                            possess and exercise substantial direct
                                                                                                       manner and means by which the
                                              Thus, the contractually reserved but                     individual renders services.’’) (emphasis                 and immediate control over essential
                                              unexercised right to have input on who                   added).105                                                terms and conditions of employment of
                                              provides services may be probative of                       One commenter also questions                           employees performing the outsourced
                                              joint-employer status if the evidence                    whether the joint-employer analysis                       functions. Rule Sec. 130.40(A), infra.
                                              demonstrates that such input, if                         could consider a user entity’s                            The commenter further observes that
                                              provided, would determine which                          reservation of authority to prevent                       companies have sound business reasons
                                              particular individuals another employer                  disruption of its operations or unlawful                  for establishing operational, production,
                                              will hire and which it will not or would                 conduct by a supplier entity’s                            and safety standards in their agreements
                                              directly result in the discharge of                      employees on its property, or the user’s                  with suppliers and contractors. For
                                              another employer’s employee. Rule Sec.                   efforts to monitor, evaluate, and                         example, it suggests that an aircraft
                                              103.40(C)(4) and (5), infra; see also                    improve the performance of supplied                       manufacturer’s contractual specification
                                              NLRB v. Browning-Ferris Indus. of                                                                                  of timeframe and production standards
                                              Pennsylvania, 691 F.2d at 1125 (facts                      105 Sections 103.40(C)(1)–(8), the definitions of       for a parts supplier and requirement that
                                              that BFI ‘‘shared with the brokers the                   the several essential terms and conditions of             the supplier certify that it has a drug
                                                                                                       employment, do not directly address contractually         and alcohol testing program in place
                                              power to approve drivers, and devised                    reserved but unexercised control. Those definitions
                                              the rules under which the drivers were                   specify what does, and give examples of what does         should not weigh towards finding the
                                              to operate at BFI sites’’ contributed to                 not, count as direct and immediate control. But as        manufacturer an employer of the
                                                                                                       with indirect control, so also with contractually         supplier’s employees. Under the rule,
                                              ‘‘substantial evidence which supports                    reserved but unexercised control: In many if not
                                              the Board’s finding that BFI exerted                     most cases, examples of what does not count as            such standards are likely ordinary
                                                                                                       direct and immediate control will also come within        incidents of contractual relationships
                                                                                                       the scope of routine components of company-to-            that merely set basic ground rules for
khammond on DSKJM1Z7X2PROD with RULES2




                                                101 CDW; General Counsel Robb.
                                                 102 National Association of Home Builders; Center
                                                                                                       company contracting and thus not be probative of          the supplier’s performance under the
                                                                                                       joint-employer status. However, we are unable to
                                              for Workplace Compliance.                                state, a priori, that this will hold true in all cases.   contract and are therefore not probative
                                                 103 See comments of General Counsel Robb;
                                                                                                       Ultimately, therefore, whether a particular type of       of joint-employer status. Rule Sec.
                                              Chamber of Commerce.                                     contractually reserved but unexercised control that       103.40(E), infra.
                                                 104 Again, in all cases, contractually reserved but   would not, if exercised, count as direct and
                                              unexercised control is probative only to the extent      immediate control may nonetheless be probative of
                                                                                                                                                                  106 See comment of General Counsel Robb.
                                              it supplements and reinforces evidence of direct         joint-employer status is a question of fact to be
                                              and immediate control. Rule Sec. 103.40(A), infra.       determined on the evidence in each case.                   107 See comment of COLLE.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM    26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 20 of 58
                                              11198            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                                 Two commenters suggest that the                       makes clear that evidence of reserved,                permit a union representing Company
                                              Board should clarify that an entity does                 unexercised control will only be found                B’s employees to picket against
                                              not exercise control over a term or                      probative to the extent it supplements                Company A with an object prohibited
                                              condition of employment by entering                      and reinforces evidence of actually                   by Section 8(b)(4). However, under the
                                              into a contract that dictates a particular               exercised direct and immediate control.               final rule, evidence of Company A’s
                                              employment term for individuals                          However, the Board finds it impractical               contractually reserved but unexercised
                                              performing services under that                           to attempt to quantitatively                          control over essential terms and
                                              contract.108 To the contrary, another                    predetermine how specific factual                     conditions of employment of Company
                                              commenter suggests that the Board                        evidence will weigh in all future cases.              B’s employees will be probative of joint-
                                              should examine whether an agreement                         Two commenters suggest that the                    employer status to the extent it
                                              between contracting parties sets wages                   Board should draw clear lines between                 supplements and reinforces evidence of
                                              and/or other working conditions of one                   the kinds of reserved control it will not             exercised direct and immediate control.
                                              party’s employees.109 The final rule                     find probative of joint-employer status               Rule Sec. 103.40(A). If Company A is
                                              adopts the latter suggestion. Under the                  (such as brand standards in franchise                 found to be a joint employer of
                                              final rule, if a contract between two                    agreements) and those it will find
                                              employers actually sets essential terms                                                                        Company B’s employees, action by
                                                                                                       probative (such as contractually                      Company’s B’s employees’ bargaining
                                              and conditions of employment for                         reserved authority to codetermine
                                              employees who will manufacture goods                                                                           representative against Company A that
                                                                                                       essential terms and conditions of
                                              or perform services under the contract,                                                                        would otherwise be secondary and
                                                                                                       employment).112 The Board agrees with
                                              the two employers have shared or                                                                               unlawful absent the joint-employer
                                                                                                       this comment and has attempted to
                                              codetermined those essential terms. In                   provide the guidance requested in both                finding would be lawful primary
                                              this regard, the rule is consistent with                 the regulatory text and this                          activity.
                                              the Board’s pre–Browning-Ferris                          accompanying supplementary material.                     Another commenter suggests that the
                                              precedent and with the Third Circuit’s                      Another commenter suggests that the                Board should consider, in individual
                                              formulation of the joint-employer test in                Board should consider reserved control                unfair labor practice cases, whether a
                                              NLRB v. Browning-Ferris Industries of                    probative of joint-employer status only               putative joint employer actually
                                              Pennsylvania, 691 F.2d at 1124                           insofar as it embodies an entity’s                    controls the specific term(s) or
                                              (‘‘[W]here two or more employers . . .                   specific right to displace another entity             condition(s) of employment implicated
                                              share or co-determine those matters                      and directly control the other entity’s               in the case, whether or not it possesses
                                              governing essential terms and                            employees, as opposed to possession by                or exercises control over other terms
                                              conditions of employment—they                            the first entity of some economic                     and conditions of employment.115 In
                                              constitute ‘joint employers’ within the                  influence over the entity that retains                brief, the current rule does not change
                                              meaning of the NLRA.’’).                                 day-to-day control over its own                       the Board’s existing policies with regard
                                                 One commenter suggests that the                       employees.113 The final rule adopts this
                                              Board should require proof that a joint                                                                        to the allocation of unfair labor practice
                                                                                                       suggestion insofar as the rule will not               liability among multiple employers.
                                              employer exercises actual supervision                    permit finding joint-employer status
                                              and direction on an ongoing basis.110                    solely on the basis of an entity’s                       Finally, a commenter suggests that the
                                              The final rule is partially consistent                   economic influence. However, the                      Board explain the term ‘‘active role’’
                                              with this suggestion, in that a finding                  ‘‘share or codetermine’’ standard does                used in the NPRM and define the
                                              that an entity exercises ongoing                         not require displacement by one entity                frequency with which an entity must
                                              supervision and direction (as the rule                   of another company’s control because                  actually exercise contractually reserved
                                              defines those terms) over the employees                  the underlying premise of that standard               control and the scope of such exercise
                                              of another entity will likely suffice to                 is that two entities together determine               in order to be found a joint employer.116
                                              establish a joint-employer relationship.                 the terms and conditions of employment                The final rule does not include the term
                                              However, because supervision and                         of a single group of employees. See, e.g.,            ‘‘active role,’’ but it does provide
                                              direction are only two of eight essential                NLRB v. Browning-Ferris Indus. of                     guidance on these issues. The rule
                                              terms and conditions of employment                       Pennsylvania, 691 F.2d at 1125 (finding               requires possession and exercise of
                                              defined by the rule, the final rule does                 joint-employer relationship where ‘‘BFI               ‘‘substantial direct and immediate
                                              not adopt the commenter’s suggestion to                  and the brokers together determined the               control over one or more essential terms
                                              the extent it implies that control over                  drivers’ compensation and shared in the               or conditions’’ of employment, it
                                              supervision and direction are necessary                  day to day supervision of the drivers’’).             specifies what will constitute ‘‘direct
                                              to a joint-employer finding. Evidence of                    A commenter suggests that the Board                and immediate’’ control over each
                                              control over other essential terms and                   should not consider reserved control as               essential term or condition of
                                              conditions of employment may suffice                     a sufficient basis to permit, as primary,             employment, and it defines
                                              to establish joint-employer status even                  activity otherwise prohibited as                      ‘‘substantial’’ direct and immediate
                                              absent supervision and direction.                        secondary under Section 8(b)(4) of the                control. Rule Sec. 103.40(A), (C)(1)–(8),
                                                 Many commenters suggest that if the                   Act.114 The final rule is consistent with             (D). The rule does not otherwise specify
                                              Board decides to consider indicia of                     this suggestion. Thus, under the rule,                predetermined thresholds of exercised
                                              reserved, unexercised control, it do so                  Company A’s contractually reserved but                control that will be necessary to support
                                              with specific limits.111 The final rule                  unexercised control over terms and                    a finding of a joint-employer status.
                                                                                                       conditions of employment of Company                   Rather, such status will be determined
khammond on DSKJM1Z7X2PROD with RULES2




                                                108 See comments of General Counsel Robb; Job

                                              Creators Network.                                        B’s employees will not, standing alone,               within the framework of the rule based
                                                109 See comment of IBEW Local 21.                                                                            on the totality of the relevant facts in
                                                110 See comment of HR Policy Association.              specifically limiting the consideration of reserved   each particular employment setting.
                                                111 For example, Center for Workplace                  control to ten percent of the analysis.
                                                                                                         112 See comments of Restaurant Law Center;          Rule Sec. 103.40(A).
                                              Compliance suggests that the Board should accord
                                              reserved control less weight than actual control,        International Franchise Association (IFA).
                                                                                                         113 See comment of RILA.                              115 See comment of IFA.
                                              and quantify the weight that should be given.
                                                                                                                                                               116 See comment of CWA.
                                              Relatedly, HR Policy Association suggests                  114 See comment of HR Policy Association.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 21 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                              11199

                                              D. Comments Regarding Actual Exercise                    reserved, unexercised control.120                     Board disagrees with any contention
                                              Requirement                                              Another commenter suggests that just-                 that requiring evidence of actual
                                                                                                       cause provisions in collective-                       exercise of direct and immediate control
                                                 Many commenters present practical
                                                                                                       bargaining agreements between a                       unnecessarily complicates the joint-
                                              and legal arguments for and against the
                                                                                                       staffing agency and its employees would               employer analysis. For similar reasons,
                                              proposed rule’s requirement that an
                                                                                                       be meaningless if entities to which the               the Board disagrees with the suggestion
                                              entity actually exercise control over
                                                                                                       agency supplied services retained a                   that the rule’s approach introduces a
                                              terms and conditions of employment of
                                                                                                       contractual right to exclude employees                ‘‘worst evidence rule.’’ To the contrary,
                                              another entity’s employees in order to
                                                                                                       from the worksite without cause.121                   an entity’s actual exercise of direct and
                                              be found a joint employer of those
                                                                                                       Relatedly, commenters argue that an                   immediate control over essential terms
                                              employees. As reflected in the final rule
                                                                                                       exercise requirement would erode the                  and conditions of employment of
                                              and discussed below, the Board has
                                                                                                       duty to bargain under Section 8(a)(5) by              another entity’s employees is the best
                                              decided to retain this requirement.                      allowing an entity to move in and out                 evidence that the first entity is a joint
                                                 Beginning with practical arguments                    of joint-employer status tactically by                employer of those employees and is
                                              about an actual exercise requirement,                    acting to control employment                          properly subjected to the consequences
                                              many commenters argue that such a                        conditions when it finds it necessary to              of that finding under the Act. Moreover,
                                              requirement introduces ambiguity into                    do so, but refraining from exercising its             the rule does take parties’ contractual
                                              the analysis, makes outcomes less                        reserved control when it prefers to avoid             allocation of rights and responsibilities
                                              predictable, or otherwise prejudices                     the legal obligations incumbent upon a                into account as part of the totality of the
                                              interested parties in any potential                      joint employer.122 Finally, a commenter               relevant facts in each particular
                                              litigation of joint-employer issues.117                  argues that imposing an actual exercise               employment setting. This approach is
                                              These commenters argue that an                           requirement is not supported by the                   consistent with the long line of Board
                                              exercise requirement complicates the                     Board’s expressed desire to avoid                     and court decisions emphasizing the
                                              analysis because, unlike contractually                   involving uninterested entities in the                fact-dependent nature of the joint-
                                              reserved control, exercised control                      bargaining relationships of their                     employer inquiry. E.g., Boire v.
                                              cannot be analyzed simply by reference                   business partners because an entity that              Greyhound Corp., 376 U.S. at 481.
                                              to documents. In contrast, these                         contracts to reserve control over terms                  The Board has concluded that an
                                              commenters argue, a standard that did                    and conditions of employment of                       actual exercise requirement will provide
                                              not require evidence of exercised                        another entity’s employees may be as                  businesses more certainty over whether
                                              control would allow parties to set                       interested in the employment                          the Board will or will not find them to
                                              expectations at the outset of their                      relationship as is the undisputed                     be joint employers of another
                                              contractual relationship and to allocate                 employer.123                                          employer’s employees and to conduct
                                              rights and duties in advance of any                         Other commenters argue that an                     themselves accordingly. An actual
                                              allegation of joint employment. With                     actual exercise requirement is a bright-              exercise requirement is also a bright-line
                                              regard to litigation, one commenter                      line rule that will make it easier for                rule that will make it easier for the
                                              argues that an exercise requirement                      parties to predict outcomes, encourage                Board, and ultimately for the courts, to
                                              introduces a ‘‘worst evidence rule,’’                    economically fruitful business                        reach consistent decisions across a
                                              where the Board will ignore express                      relationships and contractual                         range of individual cases. And the
                                              language of the contract unless a party                  arrangements, and promote stability by                Board has responded to commenters’
                                              can show that an entity has actually                     providing the Board and the courts with               requests for guidance about the meaning
                                              exercised control.118 Commenters argue                   a consistent standard.124 One                         of contractually reserved but
                                              that an exercise requirement will subject                commenter argues that an exercise                     unexercised control and the extent to
                                              the outcome to the vagaries of the                       requirement ensures meaningful                        which we will find it probative of a
                                              litigation process, with slight factual                  collective bargaining, while a standard               joint-employer relationship in Part V.C,
                                              differences leading to opposite                          that permits finding joint-employer                   ‘‘Response to Comments: Comments
                                              outcomes, will require extensive mini-                   status based solely on contractually                  Regarding Contractually Reserved But
                                              trials—which may take place months or                    reserved control does not.125 Finally,                Unexercised Control,’’ above.
                                              years after the fact—over individual                     one commenter seeks guidance as to                       The Board finds unpersuasive
                                              instances of alleged exercised control,                  how much weight, if any, the Board will               arguments that an exercise requirement
                                              and will impose an unfair evidentiary                    afford various factors evidencing                     imposes an unfair burden of proof on
                                              burden on unions.119                                     reserved control, guidance that                       unions. To the contrary, a putative joint
                                                 Commenters also argue that an actual                  assertedly was missing from Browning-                 employer’s actual exercise of direct and
                                              exercise requirement will prevent                        Ferris.126                                            immediate control is readily observable
                                              effective collective bargaining, because                    After carefully considering all of the             by employees, who can then share the
                                              an entity subject to another entity’s                    commenters’ arguments, the Board has                  information with unions or others.
                                              reserved authority will be unable to                     decided to retain the actual exercise                 Evidence of reserved but unexercised
                                              effectively bargain over terms and                       requirement in the final rule. Whether                control, in contrast, is more likely to be
                                              conditions of employment subject to                      or not evidence of actual exercise of                 known only by the contracting parties
                                              that authority, and could allow an entity                control was required, it would clearly be             themselves. In any event, in unfair labor
                                              that had not participated in bargaining                  relevant under any permissible joint-                 practice cases, the burden in every case
                                              to upend any collective-bargaining                       employer standard. Accordingly, the                   is on the General Counsel to establish
                                                                                                                                                             the complaint allegations,127 while in
khammond on DSKJM1Z7X2PROD with RULES2




                                              agreement covering terms and
                                              conditions of employment over which
                                                                                                         120 See comments of LIUNA; IUOE.
                                                                                                                                                             representation cases, NLRA Section 9(c)
                                                                                                         121 See comment of IBT.
                                              the entity possessed contractually                                                                             instructs the Board to investigate a
                                                                                                         122 See comments of AFL–CIO; IUOE.
                                                                                                         123 See comment of LIUNA.
                                                                                                                                                               127 See, e.g., Laborers Local 1177 (Qualicare-
                                                117 See comments of IBT; SEIU Local 32BJ;                124 See comments of National Retail Federation;
                                                                                                                                                             Walsh), 269 NLRB 746, 746 (1984) (‘‘The burden of
                                              Employment Law Alliance; AFL–CIO.                        CDW; FedEx Corporation.                               proof regarding jurisdiction, as with all other
                                               118 See comment of LIUNA.                                125 See comment of CDW.
                                                                                                                                                             elements of a prima facie case, is on the General
                                               119 See comments of LIUNA; SEIU Local 32BJ.              126 See comment of General Counsel Robb.             Counsel.’’) (emphasis added).



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                   Page 22 of 58
                                              11200            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              petition and direct a hearing ‘‘if it has                employer’s employees from                                Community for Creative Non-Violence v.
                                              reasonable cause to believe that a                       safeguarding their contractually                         Reid, 490 U.S. 730 (1989).131 Finally,
                                              question of representation affecting                     reserved authority to do so by engaging                  commenters argue that imposing an
                                              commerce exists.’’ Section 11 of the Act                 in bargaining, either directly or through                exercise requirement puts the Board’s
                                              further provides for the issuance of                     a representative.                                        standard in conflict with other state and
                                              subpoenas on the application of any                         Turning to legal arguments about an                   federal standards, including Health
                                              party with respect to ‘‘all hearings and                 exercise requirement, some commenters                    Insurance Portability and
                                              investigations.’’ Accordingly, the rule’s                assert that the Board only began in 1984                 Accountability Act, Medicaid and
                                              actual exercise requirement does not                     to require evidence that an entity had                   Medicare, the Affordable Care Act, Title
                                              unfairly burden unions.                                  exercised control over another entity’s                  VII of the Civil Rights Act of 1964 (Title
                                                 Finally, the Board disagrees with                     employees as part of the joint-employer                  VII), the Fair Labor Standards Act
                                              arguments that an exercise requirement                   analysis, and that, at that time, the                    (FLSA), and Uniformed Services
                                              will impede collective bargaining,                       Board did not articulate a legal                         Employment and Reemployment Rights
                                              interfere with the formation of                          justification for doing so.128 Without                   Act—and with guidance from the EEOC,
                                              efficacious collective-bargaining                        accepting the commenters’                                Internal Revenue Service (IRS), U.S.
                                              relationships, or permit entities to move                characterization of the Board’s pre–                     Citizenship and Immigration Services,
                                              in and out of joint-employer status and                  Browning-Ferris precedent, the Board                     and DOL.132
                                              thus selectively affect terms and                        has concluded that the final rule’s                        On the other side of the issue,
                                              conditions of employment of other                        approach is warranted for the reasons                    commenters argue that an exercise
                                                                                                       explained herein.                                        requirement is consistent with the
                                              employers’ employees without incurring
                                                                                                          Some commenters oppose an actual                      common law as reflected in court
                                              obligations under the Act. Nothing in
                                                                                                       exercise requirement by arguing that the                 decisions, prior Board decisions,
                                              this rule changes the ordinary rights and                common law, as reflected in judicial
                                              obligations of employees, employers,                                                                              legislative history of the NLRA, and
                                                                                                       decisions, restatements of the law, and                  relevant restatements of law.133 Other
                                              and unions under the Act. Every                          elsewhere, requires giving contractually
                                              employer remains subject to all rights                                                                            commenters argue that courts have
                                                                                                       reserved but unexercised control                         approved the Board’s focus on actual
                                              and obligations defined by Sections 8                    dispositive weight.129 Other
                                              and 9 of the Act with respect to its                                                                              control.134 Many of the same
                                                                                                       commenters note that contractual rights                  commenters also point out that the D.C.
                                              employees. Thus, an employer that                        exist even if they have never been
                                              possesses and exercises substantial                                                                               Circuit in Browning-Ferris v. NLRB held
                                                                                                       exercised, and contend that an exercise                  that reserved control was relevant to
                                              direct and immediate control over                        requirement is inconsistent with court
                                              employees’ terms and conditions of                       and Board decisions recognizing that                       131 See comment of AFL–CIO.
                                              employment must, if those employees                      while highly skilled professionals like                     132 See comments of Representative Scott and
                                              are represented, bargain on request with                 nurses or low-skilled workers like                       Senator Murray; UA; Professor Kulwiec; James van
                                              their representative as required by                      janitors may require little or only                      Wagtendonk.
                                              Section 8(a)(5). The rule does not excuse                ‘‘routine’’ supervision, such workers                       133 See comments of HR Policy Association;

                                              joint employers from that duty, nor does                 nevertheless remain employees of the                     General Counsel Robb; CDW; IFA; RILA; Center for
                                              it deprive represented employees of                                                                               Workplace Compliance. Commenters cite, inter alia,
                                                                                                       employer providing that supervision.130                  Kelley v. S. Pac. Co., 419 U.S. 318, 324 (1974);
                                              their remedies under Section 8(a)(5)                     One commenter further argues that                        Shenker v. Baltimore & Ohio R.R. Co., 374 U.S. 1,
                                              with respect to an employer that                         imposing an actual exercise requirement                  6 (1963); NLRB v. Pennsylvania Greyhound Lines,
                                              unilaterally changes their terms and                     raises predictability concerns similar to                Inc., 303 U.S. 261, 263 (1938); Jones v. Royal
                                              conditions of employment without first                                                                            Admin. Servs., Inc., 887 F.3d 443 (9th Cir. 2018);
                                                                                                       those that motivated the Supreme                         NLRB v. CNN America, Inc., 865 F.3d 740 (D.C. Cir.
                                              giving their representative notice and an                Court’s rejection of an actual-control test              2017); Butler v. Drive Auto. Indus. of America, Inc.,
                                              opportunity to request bargaining, or of                 in favor of a reserved-control test in a                 793 F.3d 404, 409, 410 (4th Cir. 2015); Doe I v. Wal-
                                              their remedies under Section 8(a)(5)                     dispute over copyright ownership in                      Mart Stores, Inc., 572 F.3d 677, 683 (9th Cir. 2009);
                                              within the meaning of Section 8(d) with                                                                           Gulino v. New York State Education Dep’t, 460 F.3d
                                                                                                                                                                361, 379 (2d Cir. 2006); Clinton’s Ditch Co-op Co.
                                              respect to an employer that fails to                        128 See comments of Senator Murray and
                                                                                                                                                                v. NLRB, 778 F.2d at 138; NLRB v. Browning-Ferris
                                              adhere to the terms of a collective-                     Representative Scott (joined by numerous other           Indus. of Pennsylvania, 691 F.2d 1117 (3d Cir.
                                              bargaining agreement with their                          Senators and Representatives); IBT.                      1982); Zapex Corp. v. NLRB, 621 F.2d 328, 333 (9th
                                                                                                          129 See comments of Julia Tomassetti; AFL–CIO;        Cir. 1980); Herbert Harvey, Inc. v. NLRB, 424 F.2d
                                              representative. Moreover, a collective-
                                                                                                       NELP; SEIU; Attorneys General of New York,               770, 776–777 (D.C. Cir. 1969); NLRB v. Greyhound
                                              bargaining agreement may, in certain                     Pennsylvania, et al. Commenters cite, inter alia,        Corp., 368 F.2d 778, 781 (5th Cir. 1966), enfg. 153
                                              circumstances, impose restraints on an                   Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 318,        NLRB 1488 (1965); Vernon v. California, 10 Cal.
                                              entity’s exercise of contractually                       323 (1992) (quoting Reid, 490 U.S. at 751–752);          Rptr. 3d 121, 130–131 (Cal. Ct. App. 2004); SEIU
                                              reserved authority over essential terms                  Singer Mfg. Co. v. Rahn, 132 U.S. 518, 523 (1889);       Local 434 v. City of Los Angeles, 275 Cal. Rptr. 508
                                                                                                       Garcia-Celestino v. Ruiz Harvesting, Inc., 898 F.3d      (Cal. Ct. App. 1990); Airborne Express, 338 NLRB
                                              and conditions of employment governed                    1110, 1121 (11th Cir. 2018) (quoting NLRB v.             597 (2002); TLI, Inc., 271 NLRB 798 (1984); Laerco
                                              by the agreement, though the entity is                   Associated Diamond Cabs, Inc., 702 F.2d 912, 920         Transportation, 269 NLRB 324 (1984); Sun-Maid
                                              not party to the agreement. Cf. Atterbury                (11th Cir. 1983)); Local 777, Democratic Union Org.      Growers of California, 239 NLRB 346 (1978);
                                              v. United States Marshals Serv., 941                     Comm., Seafarers Int’l Union of North Am. v. NLRB,       Clayton B. Metcalf, 223 NLRB 642 (1976); Hamburg
                                                                                                       603 F.2d 862, 874 (D.C. Cir. 1978) (quoting Williams     Industries, Inc., 193 NLRB 67 (1971); Greyhound
                                              F.3d 56, 62–64 (2d Cir. 2019) (U.S.                      v. United States, 126 F.2d 129, 132 (7th Cir. 1942)),    Corp., 153 NLRB 1488 (1965); H.R. Rep. No. 80–
                                              Marshals Service acted unlawfully by                     cert. denied 317 U.S. 655 (1942); Dovell v. Arundel      245, at 18 (1947), reprinted in 1 NLRB, Legislative
                                              requiring discharge of security guards                   Supply Corp., 361 F.2d 543, 545 (D.C. Cir. 1966)         History of the Labor Management Relations Act,
                                              employed by a contractor without                         (quoting Grace v. Magruder, 148 F.2d 679, 681 (D.C.      1947, at 292, 309 (1959); H.R. Rep. No. 80–510, at
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                       Cir. 1945)); Restatement (Second) of Agency, Secs.       32–33 (1947) (Conf. Rep.), reprinted in 1 NLRB,
                                              providing process required by ‘‘just                     2(1), 2(2), 220(1), 220(2)(a), and 220 cmt. d; William   Legislative History of the Labor Management
                                              cause’’ provision of guards’ collective-                 A. Gregory, The Law of Agency and Partnership 114        Relations Act, 1947, at 505, 536–537 (1959);
                                              bargaining agreement with contractor).                   at Sec. 50 (West Group Hornbook Series, 3d ed.           Restatement (Second) of Agency Secs. 5(2), 226, 227
                                              Accordingly, an exercise requirement                     2001).                                                   & cmt. d; Restatement of Employment Law Secs.
                                                                                                          130 See comments of LIUNA; AFL–CIO. AFL–CIO           1.01(a)(3) & cmts. a and c and illus. 5, 1.04(b).
                                              will not prevent parties with an actual                  cites Holyoke Visiting Nurses Ass’n v. NLRB, 11             134 See comments of International Foodservice
                                              interest in controlling terms and                        F.3d 302, 307 (1st Cir. 1993), and Syufy Enterprises,    Distributors Association; National Retail
                                              conditions of employment of another                      220 NLRB 738, 740 (1975).                                Federation; CDW.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM     26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                 Page 23 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                 11201

                                              determining joint-employer status under                  retains the right to control the product,’’            recognizes that divergent standards may
                                              the common law, but the court did not                    (2) ‘‘that a work is prepared by an                    pose difficulties for businesses seeking
                                              find that it was sufficient, in and of                   employee . . . when the hiring party                   to achieve—or courts to enforce—
                                              itself and absent any actual exercise of                 has actually wielded control with                      compliance with different statutory
                                              control, to establish a joint-employment                 respect to the creation of a particular                obligations, this is nothing new.
                                              relationship under the Act. 911 F.3d at                  work,’’ and (3) ‘‘that the term ‘employee’             Businesses and courts are accustomed to
                                              1213.135                                                 within Sec. 101(1) carries its common-                 this state of affairs. Moreover, it is likely
                                                 Finally, one commenter argues that                    law agency meaning.’’ Id. at 739                       that no joint-employer rule the Board
                                              the Board, as an executive agency with                   (emphasis added). The Court did not                    could adopt could achieve uniformity
                                              subject-matter expertise, is not required                reject an actual control test (the second              with all the statutory standards
                                              to apply the common law in its                           interpretation) in favor of a reserved                 identified by the commenters. Thus,
                                              rulemaking, that nothing in the Act or                   control test (the first interpretation).               failure to achieve such uniformity
                                              in Supreme Court precedent                               Rather, the Court rejected both of these               cannot be a valid criticism of the rule.
                                              interpreting the Act requires the Board                  interpretations as inappropriately                        Finally, the Board agrees that it may
                                              to follow the common law, and that                       focused on the relationship between the                reasonably expect some deference from
                                              there are, in any case, no relevant                      hiring party and the product, while the                the courts with regard to our exercise,
                                              uniform common-law principles.136                        statutory language at issue focused on                 through rulemaking, of Congressional
                                                 After carefully considering all of the                the relationship between the hired and                 authority delegated to us in Section 6 of
                                              comments on both sides of the issue, we                  hiring parties. Id. at 741–742. Having                 the Act. See NLRB v. Food &
                                              conclude that the rule’s approach falls                  concluded that the Copyright Act                       Commercial Workers, 484 U.S. 112, 123
                                              within the boundaries of the common                      requires a court to ascertain, under the               (1987); Chevron, U.S.A., Inc. v. N. Res.
                                              law as applied in the particular context                 common law of agency, whether a work                   Def. Council, Inc., 467 U.S. 837 (1984).
                                              of the NLRA.                                             was prepared by an employee or an                      But it is well established that where the
                                                 We disagree with the argument that                    independent contractor, the Court                      Supreme Court has determined the clear
                                              an actual exercise requirement is                        proceeded to analyze the record under                  meaning of statutory terms, agencies,
                                              inconsistent with Board and court cases                  the factors relevant to the independent-               including the Board, are not thereafter
                                              finding employment relationships                         contractor determination, set forth in                 free to depart from the Court’s
                                              where employees require little or only                   Section 220(2) of the Restatement                      interpretation. Lechmere, Inc. v. NLRB,
                                              routine supervision.137 Under the rule,                  (Second) of Agency. Id. at 750–753. The                502 U.S. 527, 536–537 (1992); Maislin
                                              supervision is only one of eight                         Court found that ‘‘the extent of control               Indus., U.S., Inc. v. Primary Steel, Inc.,
                                              essential terms and conditions of                        the hiring party exercises over the                    497 U.S. 116, 131 (1990). Here—as the
                                              employment relevant to the joint-                        details of the product is not                          Board and the courts have previously
                                              employer analysis, and an entity that                    dispositive,’’ but the Court’s                         recognized—the Court has determined
                                              possesses and exercises substantial                      independent-contractor analysis                        that the Taft-Hartley amendments reflect
                                              direct and immediate control over other                  suggests that the hiring party there                   Congressional intent that the terms
                                              essential terms may be found to be a                     neither possessed nor exercised any                    ‘‘employer’’ and ‘‘employee’’ within the
                                              joint employer absent evidence that the                  control over the manner in which and                   Act are to be given their common-law
                                              entity exercises such control over                       means by which the independent-                        agency meaning. Nationwide Mut. Ins.
                                              supervision. In any case, in each of the                 contractor artist produced the work. Id.               Co. v. Darden, 503 U.S. at 324–325
                                              decisions the commenter cites in                         at 752–753 (emphasis added).                           (citing NLRB v. United Ins. Co. of
                                              support of this argument, the Board                      Accordingly, Reid is no more instructive               America, 390 U.S. at 254).139 And as
                                              found that the entity at issue not only                  on the specific issue here than myriad                 stated by the D.C. Circuit in Browning-
                                              possessed but actually exercised                         other judicial decisions finding that a                Ferris v. NLRB, the Board ‘‘must color
                                              substantial direct and immediate control                 worker was an independent contractor                   within the common-law lines identified
                                              over terms and conditions of                             absent either reserved or exercised                    by the judiciary.’’ Browning-Ferris v.
                                              employment of the employees at issue.                    control by a common-law principal.                     NLRB, supra at 1208. The final rule
                                              See Holyoke Visiting Nurses Ass’n, 310                      The Board also disagrees with the                   respects this principle.
                                              NLRB 684, 685–686 (1993); Syufy                          numerous arguments that an actual                         The Board is also not persuaded by
                                              Enterprises, 220 NLRB at 739.                            exercise requirement puts the Board’s                  the argument that there are no relevant
                                                 Nor is an exercise requirement                        standard in conflict with other statutory              uniform common-law principles
                                              inconsistent with Community for                          regimes. First, vastly different areas of              because the joint-employer concept is
                                              Creative Non-Violence v. Reid, 490 U.S.                  law identified by commenters involve                   foreign to the common law. As courts
                                              730 (1989). The issue in Reid was who                    widely different concerns and should                   and the Board have observed, ‘‘[t]he
                                              owned the copyright in a statue created                  not, as a normative matter, necessarily                basis of the [joint-employer] finding is
                                              by an artist on commission. The                          require the application of identical tests             simply that one employer while
                                              Supreme Court reviewed several                           to determine joint-employer status.                    contracting in good faith with an
                                              conflicting interpretations of the                       Second, to the extent that different
                                              statutory phrase ‘‘a work prepared by an                 standards stem from different statutory                acting directly or indirectly in the interest of an
                                              employee within the scope of his or her                                                                         employer in relation to an employee and includes
                                                                                                       definitions of employment                              a public agency . . . .’’).
                                              employment’’ in Sec. 101(1) of the                       relationships, those differences reflect                  139 See also Browning-Ferris v. NLRB, 911 F.3d at
                                              Copyright Act of 1976. 490 U.S. at 738–                  the judgment of Congress that different                1206 (‘‘Under Supreme Court and circuit precedent,
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                                              739. Possible alternative interpretations                standards should apply in those                        the National Labor Relations Act’s test for joint-
                                              included (1) ‘‘that a work is prepared by                settings—differences the Board is not at               employer status is determined by the common law
                                              an employee whenever the hiring party                                                                           of agency.’’); id. at 1228 (Randolph, J., dissenting)
                                                                                                       liberty to ignore.138 While the Board                  (‘‘[T]he common law . . . is supposed to control
                                                                                                                                                              our decision and should have controlled the
                                                135 General Counsel Robb also advances this              138 Compare, for example, NLRA Sec. 2(2)             Board’s.’’); Browning-Ferris, 362 NLRB at 1610 (‘‘In
                                              argument.                                                (exempting ‘‘any State or political subdivision        determining whether an employment relationship
                                                136 See comment of General Counsel Robb.
                                                                                                       thereof’’ from definition of ‘‘employer’’) with FLSA   exists for purposes of the Act, the Board must
                                                137 See comment of AFL–CIO.                            Sec. 203(d) (‘‘ ‘Employer’ includes any person         follow the common-law agency test.’’).



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 24 of 58
                                              11202            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              otherwise independent company, has         stating: ‘‘The Board generally [has]                                 are ‘‘limited and routine and consist
                                              retained for itself sufficient control of  found supervision to be limited and                                  primarily of telling another employer’s
                                              the terms and conditions of employment     routine where a supervisor’s                                         employees what work to perform, or
                                              of the employees who are employed by       instructions consist[ ] mostly of                                    where and when to perform the work,
                                              the other employer’’ to permit a finding   directing another business’s employees                               but not how to perform it.’’ Rule Sec.
                                              that the first entity is also an employer  what work to perform, or where and                                   103.40(C)(7). This is consistent with
                                              of the employees. NLRB v. Browning-        when to perform the work, but not how                                how the term was discussed in the
                                              Ferris Indus. of Pennsylvania, 691 F.2d    to perform it.’’ 144 Further, some                                   NPRM’s supplementary information and
                                              at 1123 (citing Walter B. Cooke, 262       commenters note that there is a body of                              the case law cited therein. See 83 FR at
                                              NLRB 626, 640 (1982)). Common-law          case law to which the Board, the courts,                             46683 (citing Flagstaff Medical Center,
                                              principles governing the employer/         and parties may look for guidance                                    357 NLRB 659, 667 (2011), enfd. in
                                              employee relationship, while sometimes     regarding the term’s meaning.145                                     relevant part 715 F.3d 928 (D.C. Cir.
                                              difficult to ascertain with precision, are    On the other side, some commenters                                2013); AM Property Holding Corp., 350
                                              far from non-existent.140 Finally, the     argue that failing to consider limited                               NLRB at 1001; G. Wes Ltd. Co., 309
                                              Board is unpersuaded by the argument       and routine control as evidence of joint-                            NLRB 225, 226 (1992)). None of the
                                              that the Supreme Court’s discussion in     employer status is inconsistent with the                             authorities cited by commenters
                                              Hearst, 322 U.S. at 125–126, warrants      Act, the common law, court decisions,                                supports an absolutist position—i.e., as
                                              departing from the common-law              and/or pertinent Restatements.146 One                                requiring the Board to treat limited and
                                              analysis in this area. See Nationwide      commenter asserts that, in the common-                               routine control of all essential terms and
                                              Mut. Ins., 503 U.S. at 325 (‘‘[A] principlelaw master-servant relationship, the                                 conditions as either categorically
                                              of statutory construction can endure just  relevant question is whether the entity                              irrelevant or categorically relevant to
                                              so many legislative revisitations, and     can exercise meaningful control, not the                             determining joint-employer status.
                                              Reid’s presumption that Congress means     extent to which that control is                                      Indeed, some of the cited authorities
                                              an agency law definition for ‘employee’    exercised.147 One commenter notes that                               deal with the issue of independent-
                                              unless it clearly indicates otherwise      pre–Browning-Ferris decisions did not                                contractor status, which is analytically
                                              signaled our abandonment of Silk’s         adequately explain their holding that                                distinct from joint-employer status.151
                                              emphasis on construing that term ‘in the   limited and routine control does not                                 See Browning-Ferris v. NLRB, 911 F.3d
                                              light of the mischief to be corrected and  tend to support a joint-employer                                     at 1213–1215.
                                              the end to be attained.’ ’’ (quoting       finding.148
                                              Hearst, 322 U.S. at 124, and citing U.S.      Further, many commenters assert that                                 As noted above, the final rule defines
                                              v. Silk, 331 U.S. 704, 713 (1947)).        the terms are vague, undefined,                                      ‘‘substantial direct and immediate
                                                                                         confusing, or contradictory, and/or that                             control’’ as ‘‘direct and immediate
                                              E. Comments About Limited and                                                                                   control that has a regular or continuous
                                              Routine Control                            their use in the rule would create
                                                                                         unanswered, potentially fact-intensive                               consequential effect on an essential term
                                                 Several commenters state that treating questions that will require litigation to                             or condition of employment’’ and
                                              limited and routine control as irrelevant answer.149 Some commenters also state                                 further provides that the exercise of
                                              to determining joint-employer status is    that excluding ‘‘limited or routine’’                                direct and immediate control over an
                                              consistent with and/or required by the     control as probative evidence of joint-                              essential term or condition of
                                              Act, court decisions, the common law,      employer status creates a loophole that                              employment is not ‘‘substantial’’ if it is
                                              and/or pertinent Restatements.141 In this will enable entities to exercise control                              ‘‘only exercised on a sporadic, isolated,
                                              regard, one commenter notes that the       over employees’ working conditions                                   or de minimis basis.’’ This definition is
                                              D.C. Circuit in Browning-Ferris v. NLRB while avoiding responsibilities under                                   necessary to specify what constitutes
                                              did not hold that limited and routine      the Act.150                                                          ‘‘substantial’’ direct and immediate
                                              control could establish joint-                Upon consideration of these                                       control, and the inclusion of clear
                                              employment status.142 Additionally,        comments, the Board has decided to                                   standards for determining substantiality
                                              several commenters suggest definitions     modify the proposed rule to eliminate                                avoids the concerns identified by
                                              or interpretations of the words            ‘‘limited and routine’’ as a general                                 commenters with the NPRM’s exclusion
                                              ‘‘limited’’ and ‘‘routine,’’ or the phrase qualifying term and to use that term                                 of ‘‘limited and routine’’ control as
                                              ‘‘limited or routine,’’ and make           solely in the context of defining what is,                           evidence of joint-employer status.
                                              arguments for or against the rule based    and what is not, direct and immediate                                   Several commenters provide
                                              on their suggested definitions or          control over supervision. Thus, under                                examples of limited or routine control
                                              interpretations.  143 One commenter notes the final rule, an entity does not
                                                                                                                                                              that should not be deemed probative of
                                              that the NPRM itself suggested a           exercise direct and immediate control                                joint-employer status. These examples
                                              definition of ‘‘limited or routine’’ by    over supervision where its instructions                              include contracted-for standards,152
                                                140 Cf. Cimorelli v. New York Century R. Co., 148
                                                                                                                                                              requiring another party to adopt
                                                                                                         144 Comment of AFL–CIO.
                                              F.2d 575, 577 (6th Cir. 1945) (‘‘We are dealing here                                                            corporate social-responsibility
                                                                                                         145 See, e.g., Comment of International Bancshares
                                              with a legal problem so difficult that law writers                                                              policies,153 timeliness-of-completion
                                              were unclear and perplexed about it long before we       Corporation.
                                                                                                         146 Comments of AFL–CIO; NELP; CWA; IUOE;            requirements,154 statutory and
                                              came on the scene and no doubt they will so
                                              continue after we have gone, but there are extant        IBT; UAW.
                                                                                                         147 Comment of SEIU.                                   151 See, e.g., comment of CWA (citing FedEx
                                              certain intelligible, if imperfect, legal rules by
                                              which there may be an ascertainment of when a              148 Comment of AFL–CIO.                              Home Delivery v. NLRB, 563 F.3d 492 (D.C. Cir.
khammond on DSKJM1Z7X2PROD with RULES2




                                              person is the employee of another, although his            149 Comments of SEIU Local 32BJ; SEIU; Southern      2009)); comment of IBT (citing McGuire v. United
                                              contract of employment is not directly made with         Poverty Law Center; Asian Pacific American Labor       States, 349 F.2d 644 (9th Cir. 1965)); see also
                                              such person.’’).                                         Alliance, AFL–CIO (APALA); CWA; Texas                  Browning-Ferris v. NLRB, 911 F.3d at 1214 (‘‘[A]t
                                                141 Comments of HR Policy Association; Chamber
                                                                                                       RioGrande Legal Aid; IBT; AFL–CIO; Signatory           bottom, the independent-contractor and joint-
                                              of Commerce; National Retail Federation.                 Wall and Ceiling Contractors Alliance; 1199SEIU        employer tests ask different questions.’’).
                                                                                                                                                                152 Comments of CDW; National Retail
                                                142 Comment of RILA.                                   United Healthcare Workers East.
                                                143 Comments of 1199SEIU United Healthcare               150 Comments of SEIU; Equal Justice Center;          Federation; International Bancshares Corporation.
                                                                                                                                                                153 Comment of National Retail Federation.
                                              Workers East; SEIU; AFL–CIO; UAW; NELP; CWA;             Southern Poverty Law Center; Labor & Employment
                                              IUOE; HR Policy Association.                             Committee of the National Lawyers Guild.                 154 Comment of HR Policy Association.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 25 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                             11203

                                              regulatory compliance requirements,155                   constitutes direct and immediate control              supervision is less relevant.167 That may
                                              isolated instances of notifying a supplier               over the several essential terms and                  be true, but substantial direct and
                                              company that certain employees are not                   conditions of employment. Rule Sec.                   immediate control in the area of
                                              welcome on the user entity’s property                    103.40(C)(1)–(8).                                     supervision is only one of the ways in
                                              due to misconduct,156 a retailer                            One commenter asserts that the                     which joint-employer status can be
                                              controlling the hours that a vendor can                  common law requires the Board to                      established. In various workplace
                                              operate in the retailer’s store,157                      weigh ‘‘all of the incidents of the                   situations, one or another of the
                                              requiring a contracting employer to                      relationship’’ or to consider the amount              essential terms and conditions of
                                              provide services during certain                          of control necessary for the particular               employment, such as supervision, may
                                              hours,158 and economic controls such as                  work or workplace.165 The final rule                  have greater or lesser significance in
                                              cost-plus contracts or generalized caps                  clarifies that joint-employer status                  making a joint-employer determination.
                                              on contract costs.159 Conversely, several                ‘‘must be determined on the totality of               See also Supplementary Information
                                              commenters provide examples of                           the relevant facts in each particular                 Section V.D, ‘‘Response to Comments:
                                              control that is not limited or routine,                  employment setting.’’                                 Comments Regarding Actual Exercise
                                              such as setting employee pay and/or                         One commenter states that the Board                Requirement,’’ supra.
                                              paying them directly,160 hiring or being                 should consider that, in some cases, a                   One commenter states that much
                                              involved in hiring decisions,161 firing                  ‘‘routine’’ contractual term will directly            supervision by undisputed employers is
                                              employees,162 disciplining                               implicate the terms and conditions of                 routine, and therefore the fact that
                                              employees,163 and directing ‘‘the                        employment, particularly in industries                supervision is routine should not be a
                                              manner in which the business shall be                    where the cost of a contract is almost                basis for declining to find joint-
                                              done, as well as the result to be                        entirely the cost of labor, or where an               employer status.168 Even assuming that
                                              accomplished.’’ 164                                      entity has only one customer.166 The                  some undisputed employers supervise
                                                 The final rule incorporates many of                   proposed rule used the term ‘‘routine’’               their employees in a manner that would
                                              the commenters’ examples in                              to characterize a kind of control over                not be sufficient, standing alone, to
                                              appropriate places. For example, most                    terms and conditions of employment,                   make a separate entity a joint employer
                                              of the examples in the former category—                  not a kind of contractual term. Thus, the             if the separate entity engaged in such
                                              i.e., examples of control that should not                comment has no bearing on what role                   supervision, there is no support in the
                                              be deemed probative of joint-employer                    ‘‘limited and routine’’ control over                  law and no sound reason to draw the
                                              status—are identical, or nearly so, to                   terms and conditions of employment                    conclusion that a separate entity that
                                              examples excluded by the rule from                       should play in the joint-employer                     engages in only limited and routine
                                              constituting evidence of direct and                      analysis. Nevertheless, the final rule                supervision must be deemed a joint
                                              immediate control of essential terms                     clarifies that the ‘‘limited and routine’’            employer on that basis. Moreover, even
                                              and conditions of employment: Various                    qualifier applies only in the context of              if an undisputed employer supervises
                                              standards set by contract, setting                       supervision. However, to the extent that              its employees in a routine manner, it
                                              schedules for completion of a project,                   the commenter is suggesting that joint-               exercises direct and immediate control
                                              setting standards required by                            employer status is established based                  over other essential terms and
                                              government regulation, refusing to allow                 solely on the circumstances the                       conditions of employment, including
                                              another employer’s employees to access                   commenter posits, the Board disagrees.                wages, benefits, hiring, and discharge.
                                              one’s premises or to perform work                        The final rule makes clear that entering              Thus, the comment posits a false
                                              under a contract, establishing an                        into a cost-plus contract, ‘‘with or                  equivalency between the undisputed
                                              enterprise’s operating hours or when it                  without a maximum reimbursable wage                   employer and the putative joint
                                              needs the services provided by another                   rate,’’ is not direct and immediate                   employer.
                                              employer, and entering into cost-plus                    control over wages. In the Board’s view,
                                                                                                       it is improper to find a joint-                       F. Comments About ‘‘Substantial’’
                                              contracts. Rule Sec. 103.40(C)(1)–(8).                                                                         Direct and Immediate Control
                                              Indeed, those same examples involve                      employment relationship merely
                                              setting the objectives, basic ground                     because one entity, in an arms-length                    Many commenters provide positive
                                              rules, and expectations for another                      transaction, negotiates the maximum                   feedback regarding the requirement of
                                              entity’s performance under a contract,                   wage rate that it is willing to reimburse             ‘‘substantial’’ direct and immediate
                                              which does not count as even indirect                    under a cost-plus contract. While the                 control. Specifically, commenters state
                                              control of essential terms and                           direct employer may face economic                     that this requirement is clear,
                                              conditions and is irrelevant to                          pressures that make it difficult to                   predictable, and/or rational; 169 is
                                              determining joint-employer status. Rule                  negotiate a higher wage rate with its                 consistent with the common law and
                                              Sec. 103.40(E). With regard to examples                  employees, this should not be sufficient              court decisions, including Browning-
                                              in the latter category—i.e., examples of                 to make the other party to the contract               Ferris v. NLRB; 170 was the well-settled
                                              control that is not limited or routine—                  a joint employer with the direct                      legal standard before the Board’s
                                              these are incorporated in the final rule                 employer. See Browning-Ferris v. NLRB,                decision in Browning-Ferris; 171 ensures
                                              in provisions specifying what                            911 F.3d at 1220 (‘‘[R]outine contractual             that entities are not forced into
                                                                                                       terms, such as a very generalized cap on              relationships as ‘‘joint employers’’ with
                                                155 Comments of HR Policy Association; National        contract costs, . . . would seem far too
                                                                                                                                                               167 Comment of NELP.
                                              Retail Federation.                                       close to the routine aspects of company-                168 Comment of CWA.
                                                156 Comment of COLLE.
                                                                                                       to-company contracting to carry weight                   169 Comments of then-Chairwoman Virginia Foxx
                                                157 Comment of National Retail Federation.
khammond on DSKJM1Z7X2PROD with RULES2




                                                158 Comments of International Bancshares
                                                                                                       in the joint-employer analysis.’’).                   of the U.S. House of Representatives Committee on
                                              Corporation; National Retail Federation.
                                                                                                          One commenter states that, in jobs                 Education and the Workforce and then-Chairman
                                                159 Comment of CDW.                                    where employees are rarely directly                   Tim Walberg of the U.S. House Subcommittee on
                                                                                                       supervised in their day-to-day tasks, the             Health, Employment, Labor, and Pensions; General
                                                160 Comment of David Kaufmann.
                                                                                                                                                             Counsel Robb.
                                                161 Comment of HR Policy Association.                  employer’s level of day-to-day                           170 Comment of Ranking Member Foxx; cf.
                                                162 Comment of COLLE.
                                                                                                                                                             comment of National Retail Federation (discussing
                                                163 Id.                                                  165 Comment of IBT.                                 ‘‘significant’’ control).
                                                164 Comment of HR Policy Association.                    166 Comment of SEIU Local 32BJ.                        171 Comment of American Staffing Association.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 26 of 58
                                              11204            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              others they deal with only in arms-                      hiring, promotion, base wage rates,                      In response to the comments, the
                                              length transactions; 172 promotes                        hours, and working conditions of                      Board has decided to expressly define
                                              collective bargaining by ensuring that                   another employer’s employees to find                  ‘‘substantial direct and immediate
                                              only the necessary parties are in                        the entity a joint employer). As                      control’’ in the final rule. Specifically,
                                              attendance at the bargaining table; 173                  discussed in the NPRM, prior to                       the final rule provides that
                                              and preserves franchisees’ ability to run                Browning-Ferris the Board held that                   ‘‘[s]ubstantial direct and immediate
                                              the day-to-day operations of their                       even direct and immediate control may                 control’ means direct and immediate
                                              businesses without compromising the                      not establish joint-employer status                   control that has a regular or continuous
                                              brand standards required of the                          where that control is too limited in                  consequential effect on an essential term
                                              franchise model.174 Further, some                        scope. See NPRM, 83 FR at 46686–                      or condition of employment of another
                                              commenters cite Section 8(b)(4) of the                   46687 (citing Flagstaff Medical Center,               employer’s employees.’’ The rule further
                                              Act and argue that entities with                         357 NLRB at 667; Lee Hospital, 300                    specifies that control is not
                                              attenuated control over another                          NLRB 947, 948–950 (1990)). Nothing in                 ‘‘substantial’’ if it is ‘‘exercised on a
                                              business’s employees should not be                       the critical comments cited above                     sporadic, isolated, or de minimis basis.’’
                                              deemed a primary employer and                            undercuts the reasonableness of this                  The final rule thus clarifies that a party
                                              embroiled in that business’s labor                       precedent or of the substantiality                    asserting joint-employer status must
                                              disputes.175                                             requirement.                                          prove that the putative joint employer
                                                 In contrast, many commenters argue                       Several commenters contend that the                (i) exercises direct and immediate
                                              that the Board should not impose the                     term ‘‘substantial’’ is undefined, vague,             control over one or more essential terms
                                              ‘‘substantial’’ qualifier, effectively                   and/or will require litigation to                     or conditions of employment of another
                                              advocating that any exercise of direct                   clarify.178 Some commenters pose                      entity’s employees, (ii) that the control
                                              and immediate control over an essential                  specific questions about its meaning,                 exercised over that essential term or
                                              term, no matter how limited, should                      such as whether it is quantitative (i.e.,             those essential terms has ‘‘a regular or
                                              render an entity a joint employer. Some                  whether it designates control over a                  continuous consequential effect’’ and is
                                              argue that the ‘‘substantial’’ qualifier is              large number of essential terms and                   not ‘‘sporadic, isolated, or de minimis,’’
                                              contrary to the Act, the common law,                     conditions), qualitative (i.e., whether it            and (iii) that the substantial direct and
                                              court decisions, and/or pertinent                        designates ‘‘massive’’ control over just              immediate control thus exercised over
                                              Restatements.176 Others assert that it                   one essential term), or both.179 Further,             that essential term or those essential
                                              would impair employees’ ability to                       several commenters suggest that the                   terms warrants finding that the putative
                                              engage in meaningful collective                          final rule should define the term and/or              joint employer ‘‘meaningfully affects
                                              bargaining.177                                           explain what is, and what is not,                     matters relating to the employment
                                                 For many of the reasons discussed in                  substantial control, and many                         relationship’’ with another employer’s
                                              the positive comments, the Board                         commenters suggest definitions.180 One                employees. Of course, the final rule is
                                              continues to believe that it is                          commenter claims that the NPRM’s                      necessarily general, and future cases
                                              appropriate to include the ‘‘substantial’’               suggestion that controlling only one                  adjudicated under the rule will give
                                              qualifier in the final rule. Contrary to                 essential term or condition is                        further meaning and guidance.
                                              some of the negative comments,                           insufficient would permit the Board to                   The example proposed by one
                                              inclusion of the qualifier will not impair               find not only that an entity that controls            commenter of employees with no
                                              meaningful collective bargaining. In                     only wages is not an employer, but also               employer at all because control is
                                              fact, meaningful bargaining would be                                                                           divided among numerous entities no
                                                                                                       that employees have no employer at all
                                              impaired if the final rule dispensed with                                                                      one of which exercises substantial
                                                                                                       where control over essential terms and
                                              a substantiality requirement, since the                                                                        control over any essential term or
                                                                                                       conditions is sufficiently splintered
                                              requirement ensures that only those                                                                            condition strikes us as unrealistic. The
                                                                                                       among multiple entities.181 One
                                              entities that meaningfully affect matters                                                                      rule presumes that employees have a
                                                                                                       commenter asserts that if the Board does
                                              relating to the employment relationship                                                                        direct employer, and the comment does
                                                                                                       not find joint-employer status where
                                              are present at the bargaining table. Rule                                                                      not persuade us to abandon that
                                                                                                       control is ‘‘exercised rarely,’’ this would
                                              Sec. 103.40(A). It also would be contrary                                                                      presumption.
                                                                                                       allow an entity that sets initial wages                  Regarding the example of setting
                                              to the purposes and policies of the Act                  not to be an employer, and it would also
                                              to impose liability for another                                                                                wages, the commenter seems to assume
                                                                                                       be inconsistent with the Act’s definition             that a one-time setting of initial wages
                                              company’s unfair labor practices on an                   of ‘‘supervisor’’ in Section 2(11).182 The
                                              entity that does not exercise                                                                                  would compel a finding of joint-
                                                                                                       same commenter also asserts that the                  employer status. The Board would not
                                              ‘‘substantial’’ direct and immediate                     NPRM’s description of the term suggests
                                              control over essential terms and                                                                               make that assumption. Suppose a user
                                                                                                       that a hospital whose employees are the               entity is party to a long-term contract
                                              conditions of employment of that                         sole supervisors of visiting nurses
                                              company’s employees, or to subject that                                                                        with a supplier employer. The user
                                                                                                       would not be their joint employer,                    entity sets the initial wages to be paid
                                              entity to secondary economic pressure.                   contrary to the Act and the common
                                              Further, the substantiality requirement                                                                        the supplied workers. Years go by, the
                                                                                                       law.183                                               user entity never exercises any further
                                              is consistent with longstanding pre–
                                                                                                                                                             control or influence over wages, and the
                                              Browning-Ferris Board precedent. See,                      178 Comments of SEIU; CWA; IBT; Center for
                                                                                                                                                             supplier employer repeatedly adjusts
                                              e.g., Quantum Resources Corp., 305                       American Progress Action Fund; General Counsel
                                                                                                       Robb; LIUNA; AFL–CIO; SEIU Local 32BJ.                the supplied employees’ wages.
                                              NLRB 759, 760 (1991) (relying on
                                                                                                                                                             Whether the user entity is a joint
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         179 See, e.g., comment of Texas RioGrande Legal
                                              entity’s ‘‘substantial’’ control over                    Aid.                                                  employer of the supplied employees
                                                172 Comment of COLLE.
                                                                                                         180 Comments of Jenner & Block, LLP;
                                                                                                                                                             based on that one-time initial setting of
                                                                                                       International Franchise Association; CDW;             wages does not have a self-evident
                                                173 Comment of Restaurant Law Center.
                                                                                                       Restaurant Law Center; National Retail Federation;
                                                174 Comment of Brian Carmody.                          Associated Builders and Contractors, Inc.             affirmative answer. On the other hand,
                                                175 See, e.g., comment of General Counsel Robb.          181 Comment of AFL–CIO.                             where a user entity’s one-time setting of
                                                176 Comments of SEIU;IBT.                                182 Id.                                             supplied employees’ wages has a
                                                177 See, e.g., comment of UA.                            183 Id.                                             continuous consequential effect on


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 27 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                      11205

                                              those employees’ wages, such evidence                    should focus on a putative joint                      warrant finding that the entity
                                              may suffice to establish that entity’s                   employer’s control over employees’                    meaningfully affects matters related to
                                              joint-employer status. Finally, regarding                essential terms and conditions of                     the employment relationship, and joint-
                                              the hospital example and the interplay                   employment, such as hiring, firing,                   employer status is determined on ‘‘the
                                              of Section 2(11) and joint-employer                      discipline, supervision, and                          totality of the relevant facts in each
                                              status, see the discussion in Section                    direction.188 A few comments, however,                particular employment setting.’’ Thus,
                                              V.C, ‘‘Response to Comments:                             contend that a joint-employer analysis                direct and immediate control over at
                                              Comments Regarding Contractually                         should examine whether an entity                      least one essential term or condition is
                                              Reserved But Unexercised Control,’’                      shares or codetermines any term or                    necessary, but the final rule makes clear
                                              supra.                                                   condition of employment that is a                     that it is not necessarily sufficient.
                                                 One commenter states that the Board                   mandatory subject of bargaining,                      Moreover, under the final rule, control
                                              must clarify the relationship between                    whether deemed ‘‘essential’’ or not.189               over mandatory subjects other than
                                              ‘‘substantial’’ direct and immediate                     Additional comments ask the Board to                  essential terms and conditions may be
                                              control and ‘‘limited and routine’’                      clarify whether or not the proposed list              relevant to joint-employer status,
                                              control.184 The final rule provides the                  of essential terms and conditions of                  depending upon the other evidence in
                                              requested clarification. It deletes                      employment is exclusive, i.e., whether it             the case. As provided in the final rule,
                                              ‘‘limited and routine’’ as a general                     consists of the enumerated terms and                  ‘‘the entity’s control over mandatory
                                              qualifying term and, instead, specifies                  conditions and no others.190 Still other              subjects of bargaining other than the
                                              that the phrase applies only to                          comments ask the Board to clarify the                 essential terms and conditions of
                                              supervision. It explains what limited                    number of essential terms and                         employment is probative of joint-
                                              and routine supervision means: Telling                   conditions of employment an employer                  employer status, but only to the extent
                                              another employer’s employees what                        must share or codetermine to be                       it supplements and reinforces evidence
                                              work to perform, or where and when to                    considered a joint employer. Finally, the             of the entity’s possession or exercise of
                                              perform the work, but not how to                         Board received comments proposing                     direct and immediate control over a
                                              perform it. Rule Sec. 103.40(C)(7). And                  expansion of the proposed list of                     particular essential term and condition
                                              it contrastingly defines direct and                      essential terms and conditions to                     of employment.’’
                                              immediate control over supervision to                    include wages,191 benefits,192 hours of                  The Board believes a standard that
                                              mean actually instructing another                        work,193 health and safety,194                        requires an entity to possess and
                                              employer’s employees how to perform                      training,195 drug testing,196 and access              exercise substantial direct and
                                              their work or actually issuing employee                  for union representatives,197 among                   immediate control over essential terms
                                              performance appraisals.                                  others.                                               and conditions of employment is
                                                 Several commenters suggest examples                      After carefully considering these                  consistent with the purposes and
                                              of what should not be deemed                             comments, the Board has decided to                    policies of the Act, as discussed in
                                              substantial direct and immediate                         modify the proposed rule in several                   greater detail below in the justification
                                              control, such as establishing eligibility                respects. Under the final rule, essential             for the final rule. The Act’s purpose of
                                              criteria to provide services,185 requiring               terms and conditions of employment                    promoting collective bargaining is best
                                              corporate social-responsibility                          ‘‘means wages, benefits, hours of work,               served by a joint-employer standard that
                                              initiatives,186 and requiring supplier                   hiring, discharge, discipline,                        places at the bargaining table only those
                                              employers to provide minimum                             supervision, and direction.’’ Thus, the               entities that control terms and
                                              amounts of leave to their employees.187                  list of essential terms and conditions of             conditions that are most material to
                                              Many of the suggested examples have                      employment has been expanded and                      collective bargaining. Moreover, a less
                                              been incorporated in the final rule. For                 made exclusive. To be found a joint                   demanding standard would unjustly
                                              example, in defining what is and is not                  employer under the final rule, an entity              subject innocent parties to liability for
                                              ‘‘direct and immediate control’’ over                    must possess and exercise such                        others’ unfair labor practices and
                                              specific essential terms and conditions                  substantial direct and immediate control              coercion in others’ labor disputes. A
                                              of employment, the final rule excludes                   over one or more essential terms or                   fuzzier standard with no bright lines
                                              setting minimal hiring standards or                      conditions of employment as would                     would make it difficult for the Board to
                                              minimum standards of performance or                                                                            distinguish between arm’s-length
                                              conduct.
                                                                                                          188 Comments of CDW (supporting the general        contracting parties and genuine joint
                                                                                                       framework of the proposed rule’s focus on essential   employers. Accordingly, preserving the
                                              G. Comments Regarding ‘‘Essential’’                      terms and conditions of employment); U.S. House
                                                                                                       of Representatives Committee on Education and the     element of direct and immediate control
                                              Terms and Conditions of Employment                       Workforce (supporting a rule that examines an         over essential terms and conditions
                                                 In the NPRM, the Board proposed that                  employer’s control over essential terms and           draws a discernible and predictable
                                                                                                       conditions of employment); SEIU (agreeing that the    line, providing ‘‘certainty beforehand’’
                                              ‘‘an employer may be considered a joint                  common law requires the Board to examine control
                                              employer of a separate employer’s                        over essential terms and conditions of                for the regulated community. See First
                                              employees only if the two employers                      employment); United Brotherhood of Carpenters         Nat’l Maint. Corp. v. NLRB, 452 U.S. at
                                              share or codetermine the employees’                      and Joiners of America (same).                        679.
                                                                                                          189 Comments of UAW; IUOE; AFL–CIO.
                                              essential terms and conditions of                                                                                 Turning to the merits of specific
                                                                                                          190 Comments of General Counsel Robb; IUOE.
                                              employment, such as hiring, firing,                         191 Comments of National Retail Federation;
                                                                                                                                                             comments, the Board agrees that a
                                              discipline, supervision, and direction.’’                United Brotherhood of Carpenters and Joiners of
                                                                                                                                                             proper standard should not disregard
                                                 The majority of comments concerning                   America.                                              control over mandatory subjects of
                                                                                                                                                             bargaining that do not qualify as
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                          192 Comments of SEIU Local 32BJ; Jenner & Block,
                                              this aspect of the proposed rule do not
                                              contest the overarching principle that                   LLP.                                                  essential terms or conditions, and the
                                                                                                          193 Comments of General Counsel Robb; SEIU
                                              the Board’s joint-employer standard                                                                            final rule does not limit the joint-
                                                                                                       Local 32BJ.
                                                                                                          194 Comments of 1199SEIU United Healthcare
                                                                                                                                                             employer analysis to essential terms.
                                                184 Id.                                                Workers East; IUOE.                                   That said, the Board has long focused
                                                185 Comment of HR Policy Association.                     195 Comment of IUOE.                               the joint-employer analysis primarily on
                                                186 Comment of RILA.                                      196 Comment of SEIU Local 32BJ.                    a putative joint employer’s control over
                                                187 Comment of HR Policy Association.                     197 Id.                                            essential terms and conditions of


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 28 of 58
                                              11206            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              employment. See, e.g., Browning-Ferris,                  employer. See Adams & Assoc., Inc. v.                 on the joint-employer determination in
                                              362 NLRB at 1613 (adhering to the                        NLRB, 871 F.3d 358, 377 (5th Cir. 2017);              Greyhound, much less preclude the
                                              Board’s traditional focus on ‘‘those                     Dunkin’ Donuts Mid-Atlantic Distrib.                  standard adopted in the final rule.
                                              matters governing the essential terms                    Ctr., Inc. v. NLRB, 363 F.3d 437, 440                 Indeed, the final rule is consistent with
                                              and conditions of employment’’); Laerco                  (D.C. Cir. 2004); Rivera-Vega v.                      the Court’s observation that joint-
                                              Transportation, 269 NLRB at 325 (the                     ConAgra, Inc., 70 F.3d 153, 163 (1st Cir.             employer status is ‘‘essentially a factual
                                              ‘‘joint employer concept recognizes that                 1995); Carrier Corp. v. NLRB, 768 F.2d                issue.’’ Under the final rule, ‘‘[j]oint-
                                              two or more business entities are in fact                778, 781 (6th Cir. 1985); NLRB v.                     employer status must be determined on
                                              separate but that they share or                          Browning-Ferris Indus. of Pennsylvania,               the totality of the relevant facts in each
                                              codetermine those matters governing the                  Inc., 691 F.2d at 1124; ; see also                    particular employment setting.’’ Rule
                                              essential terms and conditions of                        Browning-Ferris v. NLRB, 911 F.3d at                  Sec. 103.40(A).
                                              employment’’); Greyhound Corp., 153                      1220 (‘‘ ‘[G]lobal oversight’ is a routine               We also disagree with the assertion
                                              NLRB at 1495 (finding joint-employer                     feature of independent contracts.                     that requiring control of essential terms
                                              relationship where an employer shared                    Wielding direct and indirect control                  and conditions cannot be squared with
                                              or codetermined ‘‘matters governing                      over the ‘essential terms and conditions’             Management Training Corp., 317 NLRB
                                              essential terms and conditions’’); Maas                  of employees’ work lives is not.’’)                   1355 (1995).201 Prior to Management
                                              Bros., 88 NLRB 129, 135 (1950)                           (internal citation omitted).                          Training, the Board asserted jurisdiction
                                              (employees working for entrepreneurs                        Some commenters argue that the                     over a government contractor only if the
                                              that ran individual departments within                   Board should require direct and                       contractor controlled ‘‘the entire
                                              a larger department store not included                   immediate control of all essential terms              package of employee compensation, i.e.,
                                              in a storewide unit where the                            and conditions of employment to                       wages and fringe benefits.’’ Res-Care,
                                              entrepreneurs, not the department store,                 subject an entity to the duty to bargain              Inc., 280 NLRB 670, 674 (1986). In
                                              controlled ‘‘the essential terms and                     collectively as a joint employer.199 The              Management Training, the Board
                                              conditions of employment’’ governing                     Board rejects this position. The Board                rejected this standard. 317 NLRB at
                                              the employees).                                          has never required direct and immediate               1358. In doing so, the Board criticized
                                                 Two commenters argue that the Ninth                   control of all essential employment                   the ‘‘emphasis in Res-Care on control of
                                              Circuit’s decision in Sun-Maid Growers                   terms in order to deem an entity a joint              economic terms and conditions [as] an
                                              of California v. NLRB, 618 F.2d 56 (9th                  employer of another employer’s                        oversimplification of the bargaining
                                              Cir. 1980), supports a standard that                     employees. Rather, it has consistently                process.’’ Id. at 1357. The Board
                                              renders an entity a joint employer if it                 evaluated joint-employer status based                 explained:
                                              controls any term or condition of                        on the totality of the relevant facts in
                                                                                                                                                               While economic terms are certainly
                                              employment, regardless of whether the                    each case.
                                                                                                                                                             important aspects of the employment
                                              term or condition is deemed                                 Contrary to a commenter’s contention,              relationship, they are not the only subjects
                                              ‘‘essential.’’ 198 The Board finds this                  the Board’s longstanding requirement of               sought to be negotiated at the bargaining
                                              argument unpersuasive. To be sure, in                    control over essential terms and                      table. Indeed, monetary terms may not
                                              Sun-Maid, the court stated that a ‘‘joint                conditions of employment, to which                    necessarily be the most critical issues
                                              employer relationship exists when an                     both the proposed and final rules                     between the parties. . . . [I]t may be that the
                                              employer exercises authority over                        adhere, is consistent with the Supreme                parties’ primary interest is in the
                                              employment conditions which are                          Court’s decision in Boire v. Greyhound                noneconomic area. It was shortsighted,
                                              within the area of mandatory collective                  Corp., 376 U.S. 473 (1964).200 In Boire,              therefore, for the Board to declare that
                                              bargaining.’’ Id. at 59. However, the                    the question presented was a narrow                   bargaining is meaningless unless it includes
                                                                                                       one: Whether an employer could                        the entire range of economic issues.
                                              court in Sun-Maid was not called upon
                                              to decide whether joint-employer status                  challenge in federal district court the               Id.
                                              may be established absent control over                   Board’s determination that two entities                  The proposed rule was, and the final
                                              essential terms and conditions, since the                constituted a joint employer of a group               rule is, consistent with Management
                                              court found that the putative joint                      of employees and its direction of an                  Training. The Board in Management
                                              employer in Sun-Maid did control at                      election in a unit composed of those                  Training faulted Res-Care for making
                                              least one essential term (hours of work)                 employees based on a petition that                    wages and benefits the sine qua non of
                                              and possibly two (hours of work and                      named both entities as the employer.                  collective bargaining. The proposed and
                                              direction). Id. at 59 (finding joint-                    See id. at 476–477. The Court held that               final rules do not limit essential terms
                                              employer status where entity controlled                  Congress had limited judicial review to               and conditions to wages and benefits.
                                              ‘‘work schedules, assigned the work and                  the courts of appeals and that                        Essential terms and conditions include
                                              decided when additional electricians                     Greyhound could not challenge the                     non-economic as well as economic
                                              were needed’’); see also Tanforan Park                   Board’s decision and direction of                     terms, and joint-employer status may be
                                              Food Purveyors Council v. NLRB, 656                      election in federal district court. See id.           found under the rule based on an
                                              F.2d 1358, 1361 (9th Cir. 1981) (finding                 The Court did not reach the merits of                 entity’s control over non-economic
                                              joint-employer relationship where                        the Board’s joint-employer finding, but               essential terms only.
                                              putative joint employer controlled                       it observed that ‘‘whether Greyhound                     Nothing in Section 8(a)(5) and (d) of
                                              ‘‘wage rates, vacation, holiday, and                     possessed sufficient indicia of control to            the Act prohibits the Board from
                                              work schedules, and employee                             be an ‘employer’ is essentially a factual             promulgating a joint-employer rule that
                                              supervision[, which] lie within the core                 issue.’’ Id. at 481. The commenter                    requires control over essential terms and
                                              of mandatory collective bargaining’’).                                                                         conditions of employment. Under
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                       asserts that because the Court did not
                                                 Moreover, several federal appellate                   reference ‘‘essential terms and                       Section 8(a)(5) and (d), an employer is
                                              courts have approved the Board’s                         conditions of employment,’’ the Board                 obligated to bargain with its unit
                                              longstanding insistence on control of                    may not require control over essential                employees’ representative ‘‘with respect
                                              essential terms and conditions of                        terms. However, the Court did not pass                to wages, hours, and other terms and
                                              employment to make an entity a joint                                                                           conditions of employment,’’ commonly
                                                                                                         199 See, e.g. comment of General Counsel Robb.
                                                198 See comments of UAW; AFL–CIO.                        200 See comment of UAW.                               201 See comment of AFL–CIO.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 29 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                 11207

                                              referred to as ‘‘mandatory’’ subjects of                 and conditions of employment                          recovery room not a joint employer of
                                              bargaining. NLRB v. Borg-Warner Corp.,                   exclusive. This will provide clarity and              nurses where hospital exclusively
                                              356 U.S. 342, 349 (1958). But there is no                predictability for the regulated                      determined essential terms and
                                              inconsistency between this obligation                    community and remove an issue from                    conditions of employment, including
                                              and basing joint-employer status on                      litigation. Second, under the final rule,             ‘‘wages’’ and ‘‘fringe benefit policies’’);
                                              control over a subset of mandatory                       an entity must ‘‘possess and exercise                 Pacific Mutual Door Co., 278 NLRB 854,
                                              subjects, i.e., essential terms and                      such substantial direct and immediate                 858–859 (1986) (finding joint-employer
                                              conditions. The two issues are widely                    control over one or more essential terms              status based on entity’s sufficient
                                              different. Section 8(d) mandates what                    or conditions of . . . employment as                  control over essential terms and
                                              the unit employees’ undisputed                           would warrant finding that the entity                 conditions of employment, including
                                              employer must bargain about; the                         meaningfully affects matters relating to              hours, wages, and ‘‘benefits received as
                                              instant joint-employer rule provides the                 the employment relationship’’ with                    paid holidays and paid vacations’’).
                                              standard for determining whether an                      another employer’s employees. This                       The courts, too, have understood
                                              entity other than the unit employees’                    reflects the Board’s recognition that                 essential terms and conditions of
                                              undisputed employer is also an                           direct and immediate control over one                 employment to include wages, hours of
                                              employer, i.e., a joint employer, with a                 essential term may warrant a finding of               work, and benefits. See Adams &
                                              duty to bargain. Whether one has a duty                  joint-employer status—but on the other                Assoc., Inc. v. NLRB, 871 F.3d at 378
                                              to bargain is analytically prior to, and                 hand, it may not, and control even over               (finding joint-employer status where
                                              distinct from, what one must bargain                     more than one essential term may fall                 entity ‘‘jointly developed the wage
                                              about if one has a duty to bargain.202                   short of the mark where an entity has                 structure’’ and exclusively determined
                                                 That said, the Board believes, after                  exercised such control so infrequently                ‘‘the holiday schedule’’ for all
                                              considering the relevant comments, that                  that the evidence fails to support a                  employees) (internal quotation marks
                                              control over mandatory subjects other                    finding that the entity meaningfully                  omitted); Dunkin’ Donuts Mid-Atlantic
                                              than essential terms and conditions                      affects matters relating to the                       Distrib. Ctr., Inc. v. NLRB, 363 F.3d at
                                              should play a role in the joint-employer                 employment relationship.                              440–441 (finding joint-employer status
                                              analysis. Accordingly, the final rule                       Finally, the Board agrees that wages,              where entity determined ‘‘employee
                                              provides that evidence of such control                   benefits, and hours of work should be                 wage and benefit rates . . .
                                              is probative of joint-employer status ‘‘to               included in the list of essential terms               discontinued an employee bonus
                                              the extent it supplements and reinforces                 and conditions of employment. The                     program . . . [and set] rating categories
                                              evidence of the entity’s possession or                   language of the Act supports including                used to determine whether drivers
                                              exercise of direct and immediate control                 wages and hours of work. Section 8(d)                 received incentive awards’’); Rivera-
                                              over a particular essential term and                     defines collective bargaining as the                  Vega v. ConAgra, Inc., 70 F.3d at 163
                                              condition of employment.’’ Rule Sec.                     ‘‘performance of the mutual obligation                (factors in a joint-employer
                                              103.40(A).                                               of the employer and the representative                determination include ‘‘ultimate power
                                                 Several commenters addressed                          of the employees to meet at reasonable                over changes in employer compensation
                                              whether the final rule should make the                   times and confer in good faith with                   [and] benefits’’); Carrier Corp. v. NLRB,
                                              list of essential terms and conditions of                respect to wages, hours, and other terms              768 F.2d at 781 (finding joint-employer
                                              employment exhaustive—i.e., the                          and conditions of employment’’                        status where employer ‘‘consulted the
                                              enumerated terms and conditions and                      (emphasis added). Section 9(a) provides               [putative joint employer] over wages
                                              no others—and how many essential                         that ‘‘[r]epresentatives designated or                and fringe benefits’’); Jefferson County
                                              terms and conditions an entity must                      selected for the purposes of collective               Cmty. Ctr. For Developmental
                                              control to be deemed a joint employer.                   bargaining by the majority of the                     Disabilities, Inc. v. NLRB, 732 F.2d 122,
                                              As to the latter, comments suggest a                     employees in a unit appropriate for such              127 (10th Cir. 1984) (employer
                                              range of possibilities—from any                          purposes, shall be the exclusive                      maintained sufficient control over terms
                                              essential term and condition,203 to more                 representatives of all the employees in               and conditions of employment ‘‘to be
                                              than one,204 a significant number,205 or                 such unit for the purposes of collective              capable of effective bargaining’’ where it
                                              all essential terms and conditions of                    bargaining in respect to rates of pay,                had ‘‘final decision-making authority
                                              employment.206                                           wages, hours of employment, or other                  over the essential terms and conditions
                                                 After careful consideration, the Board                conditions of employment’’ (emphasis                  of employment, including wages [and]
                                              has decided to modify the proposed rule                  added). Congress clearly understood                   fringe benefits’’) (internal quotation
                                              in two relevant respects. First, the final               that wages and hours of work would be                 marks omitted); NLRB v. Browning-
                                              rule makes the list of essential terms                   central to collective bargaining, and this            Ferris Indus. of Pennsylvania, Inc., 691
                                                                                                       supports adding them to the list of                   F.2d 1117, 1124 (3d Cir. 1982) (finding
                                                202 This distinction was clearly recognized in
                                                                                                       essential terms and conditions of                     joint-employer status where entity
                                              Browning-Ferris, where the Board majority stated:
                                                                                                       employment.                                           ‘‘established work hours’’ and
                                                For example, it is certainly possible that in a
                                              particular case, a putative joint employer’s control
                                                                                                          Board precedent likewise supports                  ‘‘determined [employees’]
                                              might extend only to terms and conditions of             including wages, hours of work, and                   compensation’’).
                                              employment too limited in scope or significance to       benefits among the essential terms and                   Two commenters contend that the list
                                              permit meaningful collective bargaining. Moreover,       conditions. See, e.g., Quantum
                                              as a rule, a joint employer will be required to
                                                                                                                                                             of essential terms and conditions of
                                              bargain only with respect to such terms and
                                                                                                       Resources Corp., 305 NLRB at 760–761                  employment must or should include
                                              conditions which it possesses the authority to           (finding that entity shared or                        each of the indicia of supervisory status
                                                                                                       codetermined ‘‘those matters governing
khammond on DSKJM1Z7X2PROD with RULES2




                                              control.                                                                                                       set forth in Section 2(11).207 The final
                                                362 NLRB at 1614.                                      the essential terms and conditions of
                                                203 See comment of AFL–CIO.
                                                                                                       employment’’ based in part on evidence                   207 See comments of AFL–CIO; UAW. Sec. 2(11)
                                                204 See comment of American Staffing
                                                                                                       of its substantial control over ‘‘levels of           defines ‘‘supervisor’’ as ‘‘any individual having
                                              Association.                                                                                                   authority, in the interest of the employer, to hire,
                                                205 See comment of Jenner & Block, LLP.
                                                                                                       compensation . . . hours . . . and
                                                                                                                                                             transfer, suspend, lay off, recall, promote,
                                                206 See comments of International Warehouse            benefits’’); Lee Hospital, 300 NLRB at                discharge, assign, reward, or discipline other
                                              Logistics Association; Association of Corporate          950 (corporation hired by hospital to                 employees, or responsibly to direct them, or to
                                              Counsel.                                                 operate anesthesia department and                                                                 Continued




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 30 of 58
                                              11208            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              rule’s list of essential terms and                       bestowing a benefit. Relatedly, if a                  under which, on multi-employer
                                              conditions does not include several of                   putative joint employer directly and                  worksites, more than one employer may
                                              these supervisory indicia,208 but there is               immediately resolved (i.e., adjusted)                 be cited for a hazardous condition that
                                              no contradiction between the final rule                  another employer’s employee’s                         violates an OSHA standard.212 See Solis
                                              and Section 2(11) of the Act. Nothing in                 grievance over rate of pay or suspension              v. Summit Contractors, Inc., 558 F.3d
                                              the text of the Act or its legislative                   for misconduct, that would evidence                   815 (8th Cir. 2009) (holding that OSHA
                                              history links Section 2(11) and joint-                   direct and immediate control over the                 regulations (29 CFR Sec.1910.12)
                                              employer status. Nor does the Act or its                 essential terms and conditions of wages               permitted the issuance of citations to
                                              legislative history otherwise suggest that               and discipline.                                       ‘‘controlling employers,’’ even when
                                              the Board must find that an entity is a                                                                        they did not create the safety hazard and
                                                                                                       H. Comments on Employer Status Under
                                              joint employer of another employer’s                                                                           when its employees were not exposed to
                                                                                                       Other Statutes and the Common Law
                                              employees based solely on supervisory                                                                          the hazard). Likewise, a commenter
                                              indicia such as the authority to lay off,                   Several comments address the                       observes that IRS regulations provide
                                              recall, promote, etc. To the contrary,                   doctrine of joint employment as it has                that an entity may be considered an
                                              under longstanding Board precedent, it                   been interpreted under other statutes. In             employer based on the right to control
                                              is possible for two businesses to remain                 general, as explained below, we believe               the way services are performed, and that
                                              separate employers despite the fact that                 that joint-employer determinations                    the right need not be exercised.213 The
                                              employees of the first business                          under other statutes are instructive but              Board’s task, however, is to formulate a
                                              assertedly exercise Section 2(11)                        of limited utility to the joint-employer              joint-employer standard based on the
                                              authority over employees of the second                   inquiry under the NLRA.                               common law applied in the context of
                                              business. Crenulated Co., 308 NLRB at                       Several commenters observe that the                the NLRA. Since a joint-employer
                                              1216 (‘‘It is well established that an                   FLSA broadly defines ‘‘employ’’ as to                 finding under the NLRA entails a duty
                                              individual must exercise supervisory                     ‘‘suffer or permit to work’’ and                      to bargain, the Board must consider
                                              authority over employees of the                          ‘‘employer’’ as ‘‘any person acting                   when a putative joint employer’s
                                              employer at issue, and not employees of                  directly or indirectly in the interest of             participation in collective bargaining is
                                              another employer, in order to qualify as                 an employer in relation to an                         required for such bargaining to be
                                              a supervisor under Section 2(11) of the                  employee.’’ 209 But Congress defined                  meaningful. And since such a finding
                                              Act’’); Eureka Newspapers, Inc., 154                     ‘‘employer’’ in the FLSA more broadly                 renders otherwise secondary activity
                                              NLRB 1181, 1185 (1965) (finding that                     than under the NLRA. Joint-employer                   primary, the Board also must consider
                                              district dealers employed by newspaper                   determinations under the FLSA,                        Congress’s concern with limiting third
                                              were not statutory supervisors despite                   therefore, are unreliable guides for                  parties’ exposure to economic warfare in
                                              alleged supervisory authority over                       determining joint-employer status under               labor disputes. These considerations
                                              carriers who were not employed by                        the NLRA.                                             have no bearing on joint-employer
                                              newspaper). See also Section V.C,                           Two commenters assert that courts
                                                                                                                                                             determinations by OSHA or the IRS,
                                              ‘‘Response to Comments: Comments                         consider evidence of indirect control
                                                                                                                                                             which therefore shed little light on
                                              Regarding Contractually Reserved But                     and the ‘‘economic realities’’ of the
                                                                                                                                                             joint-employer determinations under
                                              Unexercised Control,’’ supra.                            work relationship when determining
                                                                                                                                                             the Act.
                                                 Two additional points should be                       whether an entity is a joint employer                    Some commenters observe that the
                                              emphasized here. First, as described                     under the FLSA.210 Again, however,                    joint-employer inquiry under the FLSA
                                              above, control over a mandatory subject                  joint-employer status under the FLSA is               is performed on a case-by-case basis,
                                              of bargaining that is not an ‘‘essential’’               based on that statute’s expansive                     and that this inquiry is always fact-
                                              term is relevant in a joint-employer                     definition of ‘‘employer,’’ and has been              specific under the common law.214
                                              analysis under this final rule. Such                     based as well on federal regulations                  Consistent with these comments, joint-
                                              control can supplement and reinforce                     providing that joint-employer                         employer determinations under the final
                                              evidence of possession or exercise of                    determinations under the FLSA may be                  rule will be determined on the totality
                                              direct and immediate control over a                      based solely on evidence of indirect                  of the relevant facts in each particular
                                              particular essential term and condition                  control. See In re Enter. Rent–A–Car                  employment setting.
                                              of employment, as discussed above.                       Wage & Hour Emp’t Practices Litig., 683                  Some commenters contend that the
                                              Second, when applying this final rule,                   F.3d 462, 468 (3d Cir. 2012) (finding                 proposed joint-employer standard will
                                              the Board will not be bound by a                         joint employment ‘‘[w]here the                        impact numerous areas of labor-
                                              putative joint employer’s                                employers are not completely                          management relations and federal and
                                              characterization of its conduct. For                     disassociated with respect to the                     state workplace laws.215 Such impact is
                                              example, under the circumstances of a                    employment of a particular employee                   the inevitable consequence of any joint-
                                              particular case, an employment action                    and may be deemed to share control of                 employer standard, and the Board
                                              codetermined by a putative joint                         the employee, directly or indirectly’’                believes that the final rule sets forth a
                                              employer and characterized as a                          (quoting 29 CFR Sec. 791.2(b)))                       standard that best furthers the purposes
                                              ‘‘layoff’’ could in fact be a discharge.                 (emphasis added).211 The NLRA does                    and policies of the NLRA.
                                              Similarly, ‘‘rewarding’’ another                         not define ‘‘employer’’ thus broadly.                    One commenter observes that indirect
                                              employer’s employee could, depending                        Other commenters point out that the                and reserved control are relevant factors
                                              on the circumstances, be tantamount to                   Occupational Safety and Health                        in joint-employer determinations under
                                                                                                       Administration (OSHA) applies a policy                Title VII, citing, inter alia, Myers v.
khammond on DSKJM1Z7X2PROD with RULES2




                                              adjust their grievances, or effectively to recommend                                                           Garfield & Johnson Enters., 679 F. Supp.
                                                                                                          209 See comments of NELP; UA; Professor
                                              such action, if in connection with the foregoing the                                                           2d 598, 611 (E.D. Pa. 2010) (‘‘[A]n
                                              exercise of such authority is not of a merely routine    Kulwiec.
                                              or clerical nature, but requires the use of                 210 See comments of Greater Boston Legal
                                                                                                                                                               212 See comments of NELP; UA.
                                              independent judgment.’’                                  Services; Justice at Work.
                                                208 The essential terms and conditions of                 211 On January 16, 2020, the Department of Labor     213 See comment of UA.
                                                                                                                                                               214 See comments of NELP; SEIU.
                                              employment set forth in Sec. 103.40(C)(1)–(8) does       issued a final rule that made relevant revisions to
                                              not include transfer, lay off, recall, promote,          the regulatory text quoted above. See 85 FR 2820        215 See comments of NELP; Weinberg, Roger &

                                              reward, or adjustment of grievances.                     (Jan. 16, 2020).                                      Rosenfeld.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 31 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                              11209

                                              employee may be considered                               and widely recognized feature of case                 that are broader and less formalistic
                                              ‘employed’ by a third party as well as                   law applying common-law agency                        than the proposed rule, such as whether
                                              by the nominal employer if the third                     principles and assert that the right of               the one employed is engaged in a
                                              party has a right to control the                         control is sufficient to establish a                  distinct occupation or business and
                                              employee’s conduct, either directly or                   common-law master-servant                             whether the work is a part of the regular
                                              through the third party’s control over                   relationship.219                                      business of the putative employer.222
                                              the employer.’’), and Virgo v. Riviera                      Initially, as explained more fully                 However, these considerations relate to
                                              Beach Assocs., Ltd., 30 F.3d 1350, 1361                  below, a master-servant relationship                  determining whether a worker is an
                                              (11th Cir. 1994) (‘‘We find that actual                  under the common law of independent-                  employee or an independent contractor.
                                              control is a factor to be considered when                contractor status is not synonymous                   As explained more fully below, they are
                                              deciding the ‘joint employer’ issue, but                 with joint-employer status.                           instructive but of limited utility in the
                                              the authority or power to control is also                   In any case, the Board agrees with one             joint-employer context.
                                              highly relevant.’’) 216 Under the final                  commenter that, although the court in                    Another commenter argues that when
                                              rule, evidence of indirect and reserved                  Browning-Ferris v. NLRB stated that the               determining what the D.C. Circuit and
                                              but unexercised control are probative of                 Board is required to ‘‘color within the               the common law mean by indirect
                                              joint-employer status, but only to the                   common-law lines’’ with respect to its                control, it may be useful to consider the
                                              extent that such evidence supplements                    joint-employer rule, 911 F.3d at 1208,                so-called subservant doctrine, under
                                              and reinforces evidence of direct and                    the final rule does not exceed the                    which employer-employee relationships
                                              immediate control. To the extent the                     bounds of common-law principles.220                   are established by indirect control.223
                                              latter proviso makes the joint-employer                  Like that commenter, the Board is aware               See Restatement (Second) of Agency
                                              standard under the Act narrower than                     of no court that has found that reserved,             Sec. 5(2); see also id., cmt. e. In defining
                                              the comparable standard under Title                      unexercised control, standing alone,                  indirect control in the final rule, the
                                              VII, our task is to formulate a joint-                   was sufficient to create a joint-employer             Board has focused on the connection
                                              employer standard based on the                           relationship under the NLRA. Moreover,                between the entity’s actions and the
                                              common law applied in the particular                     the final rule does not ‘‘wholly                      employees’ essential terms and
                                              context of the NLRA, as explained                        discount’’ or otherwise exclude                       conditions of employment, not on how
                                              above. In any event, the decisions in                    consideration of reserved, unexercised                alleged control is communicated.
                                              Myers and Virgo relied on evidence of                    control. Rather, it provides that                     However, the final rule is not intended
                                              direct and immediate control over                        contractually reserved but never                      to immunize an entity from joint-
                                              essential terms and conditions of                        exercised authority over essential terms              employer status based solely on how its
                                              employment. In Myers, which was                          and conditions of employment of                       control is exercised. Direct and
                                              before the court on a motion to dismiss                  another employer’s employees is                       immediate control exercised through an
                                              for failure to state a claim, the court                  probative of joint-employer status, but               intermediary remains direct and
                                              cited a complaint allegation that the                    only to the extent that it supplements                immediate. See Browning-Ferris v.
                                              putative joint employer participated in                  and reinforces evidence of direct and                 NLRB, 911 F.3d at 1217 (‘‘[T]he
                                              the daily supervision of the direct                      immediate control. Again, the                         common law has never countenanced
                                              employer’s employees. 679 F. Supp. 2d                    narrowing proviso reflects a joint-                   the use of intermediaries or controlled
                                              at 610. In Virgo, the court cited evidence               employer standard based on the                        third parties to avoid the creation of a
                                              that the putative joint employer paid all                common law applied in the particular                  master-servant relationship.’’).
                                              costs and expenses related to all the                    context of the NLRA.
                                                                                                                                                             I. Comments on Independent-Contractor
                                              employees of the direct employer. 30                        One comment contends that
                                                                                                                                                             Precedent
                                              F.3d at 1361.                                            consideration of indirect control over
                                                 Several commenters cite the                           employees’ wages and working                             Many commenters address the
                                              Restatement (Second) of Agency, in                       conditions is consistent with common-                 relevance—or lack of relevance—of
                                              particular Sections 2(2) and 220, for the                law agency doctrine.221 The Board                     independent-contractor precedent to the
                                              proposition that an employee is a                        agrees, and observes that the D.C.                    joint-employer inquiry. As noted by one
                                              worker who is subject to the employer’s                  Circuit has likewise held that an entity’s            commenter, in NLRB v. United
                                              ‘‘control or right to control’’ and                      ‘‘indirect control over employees can be              Insurance Co. of America, 390 U.S. at
                                              complain that the proposed rule                          a relevant consideration’’ in the                     256, the Supreme Court held that the
                                              ‘‘wholly discounts’’ reserved control.217                common-law inquiry. Browning-Ferris v.                determination of whether a worker is a
                                              These commenters also point out that                     NLRB, 911 F.3d at 1209. Accordingly,                  statutorily protected employee or a
                                              Restatement (Second) of Agency Sec.                      under the final rule, evidence of an                  statutorily exempt independent
                                              220 cmt. d states that this right of                     entity’s indirect control over essential              contractor is governed by common-law
                                              control may be ‘‘very attenuated.’’ Some                 terms and conditions of employment of                 agency principles.224 In Community for
                                              commenters observe that in Browning-                     a direct employer’s employees is                      Creative Non-Violence v. Reid, the
                                              Ferris v. NLRB, 911 F.3d at 1211, the                    probative of joint-employer status to the             Supreme Court listed common-law
                                              D.C. Circuit stated that ‘‘the ‘right to                 extent it supplements and reinforces                  factors relevant to making the employee-
                                              control’ runs like a leitmotif through the               evidence of direct and immediate                      versus-independent contractor
                                              Restatement (Second) of Agency                           control over a particular essential term              determination:
                                              (emphasis in original).’’ 218 Other                      and condition of employment.                            In determining whether a hired party is an
                                              commenters contend that the ‘‘right to                      One commenter observes that Section                employee under the general common law of
khammond on DSKJM1Z7X2PROD with RULES2




                                              control’’ standard is a core component                   220 of the Restatement (Second) of                    agency, we consider the hiring party’s right
                                                                                                       Agency includes many considerations                   to control the manner and means by which
                                                216 See comment of UA.
                                                                                                                                                             the product is accomplished. Among the
                                                 217 See comments of IBT; Greater Boston Legal           219 See comments of SEIU; UA.                       other factors relevant to this inquiry are the
                                              Services; State Attorneys General; AFL–CIO; SEIU           220 See comment of CDW.
                                                                                                                                                               222 See comment of NELP.
                                              (citing Sec. 220(1) (emphasis added)).                     221 See comment of Labor Law, Antitrust Law,
                                                 218 See comments of State Attorneys General;                                                                  223 See comment of SEIU.
                                                                                                       and Economics Professors (Law and Economics
                                              Spivak Lipton LLP.                                       Professors).                                            224 See comment of State Attorneys General.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 32 of 58
                                              11210            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              skill required; the source of the                        questions, for deciding the joint-                    define a ‘‘master’’ as someone who
                                              instrumentalities and tools; the location of             employer issue, of who controls the                   ‘‘controls or has the right to control’’
                                              the work; the duration of the relationship               workers and when and how that control                 another and a ‘‘servant’’ as someone
                                              between the parties; whether the hiring party
                                                                                                       is exercised. Id. at 1215.228 ‘‘In short,’’           employed by the master who is ‘‘subject
                                              has the right to assign additional projects to
                                              the hired party; the extent of the hired party’s         the court concluded, ‘‘using the                      to the [master’s] control or right to
                                              discretion over when and how long to work;               independent-contractor test exclusively               control’’ (commenter’s emphasis). But
                                              the method of payment; the hired party’s role            to answer the joint-employer question                 ‘‘sufficient to establish an employment
                                              in hiring and paying assistants; whether the             would be rather like using a hammer to                relationship’’ under the Restatement of
                                              work is part of the regular business of the              drive in a screw: it only roughly assists             Agency, which summarizes the common
                                              hiring party; whether the hiring party is in             the task because the hammer is designed               law of independent-contractor status, is
                                              business; the provision of employee benefits;            for a different purpose.’’ Id.                        not the same as sufficient to establish
                                              and the tax treatment of the hired party.                   Consistent with these commenters,                  joint-employer status under the NLRA
                                              490 U.S. at 751–752; see also                            the Board believes that the common-law                for all the reasons explained above.
                                              Nationwide Mut. Ins. Co. v. Darden, 503                  factors relative to determining employee
                                              U.S. at 323–324. These so-called Reid                    or independent-contractor status are                  J. Comments About the Impact of the
                                              factors are largely adopted from Section                 instructive but of limited utility in the             D.C. Circuit’s Decision in Browning-
                                              220(2) of the Restatement (Second) of                    joint-employer context. Application of                Ferris Industries of California, Inc. v
                                              Agency. As another commenter notes,                      those factors is appropriate to determine             NLRB
                                              the Supreme Court has instructed that,                   whether a putative employer has the                      The Board received many comments
                                              in assessing employee status, ‘‘all of the               ‘‘right to control the manner and means               regarding the impact of the D.C.
                                              incidents of the relationship must be                    by which the product is accomplished,’’               Circuit’s decision in Browning-Ferris v.
                                              assessed and weighed with no one                         Reid, 490 U.S. at 751–752, and therefore              NLRB on this rulemaking. Commenters
                                              factor being decisive.’’ United Ins., 390                independent-contractor principles assist              debate whether the court’s decision
                                              U.S. at 256.225                                          in determining whether a putative                     permits the proposed rule, requires
                                                 Several commenters acknowledge that                   employer has such a ‘‘right to control.’’             changes to the proposed rule, or
                                              various elements of the independent-                     But they do not assist in answering the               removes the authority of the Board to
                                              contractor test are inapplicable to                      key questions in the joint-employer                   engage in this rulemaking at all. Those
                                              determining joint-employer status.226                    inquiry: who is exercising that control,              comments and the Board’s responses are
                                              These commenters point out that where                    when, and how. This is consistent with                described below.
                                              there is no dispute that certain workers                 the court’s decision in Browning-Ferris                  Some commenters contend that the
                                              are employees of some entity, many of                    v. NLRB, 911 F.3d at 1214–1215.                       proposed rule is inconsistent with the
                                              the factors of the common-law test are                      A commenter contends that the                      D.C. Circuit’s conclusions in Browning-
                                              already satisfied and provide no                         common law of independent-contractor                  Ferris v. NLRB.232 They point out that
                                              meaningful guidance to help determine                    status is instructive in the joint-                   the court upheld the Browning-Ferris
                                              whether another entity constitutes a                     employer context to the extent it assists             standard’s consideration of reserved and
                                              joint employer. Cf. Clackamas                            in identifying the forms of control that              indirect control as rooted in the
                                              Gastroenterology Assoc., P.C. v. Wells,                  are relevant to employer status.229 In                common law and instructed the Board
                                              538 U.S. 440, 445 fn. 5 (2003)                           this regard, the Board agrees with a                  to color within common-law lines in the
                                              (explaining that the independent-                        different commenter that under the Reid               joint-employer rulemaking. They argue
                                              contractor factors ‘‘[we]re not directly                 factors, both indirect and reserved                   that the final rule must include
                                              applicable’’ in determining whether                      control are relevant to determining                   consideration of reserved and indirect
                                              physician shareholders who owned a                       employer status under the common law.                 control, and they claim that the
                                              professional corporation were                            490 U.S. at 751–752.230 The Board                     proposed rule, which did not expressly
                                              ‘‘employees’’ because the court was ‘‘not                further agrees that independent-                      acknowledge a role for those forms of
                                              faced with drawing a line between                        contractor precedent also makes                       control, contradicts the D.C. Circuit’s
                                              independent contractors and                              reserved control relevant to determining              decision.
                                              employees’’).                                            employer status. Thus, under the final                   Some commenters, on the other hand,
                                                 Moreover, as observed by one                          rule, evidence of indirect control and of             argue the proposed rule is consistent
                                              commenter, in Browning-Ferris v. NLRB,                   unexercised, contractually reserved                   with the D.C. Circuit’s decision.233 One
                                              911 F.3d at 1212–1213, the D.C. Circuit                  authority is relevant in the joint-                   commenter, for example, argues that
                                              rejected the contention that the                         employer inquiry to the extent such                   although the court held that
                                              independent-contractor and joint-                        evidence supplements and reinforces                   consideration of indirect and reserved
                                              employer inquiries are ‘‘essentially the                 evidence of direct and immediate                      control is rooted in the common law, it
                                              same,’’ adding that the argument ‘‘lacks                 control over essential terms and                      did not hold that the joint-employer
                                              any precedential grounding.’’ 227 As                     conditions.                                           standard must be coextensive with the
                                              noted by another commenter, the court                       One of the above commenters further                common law. To the contrary, the court
                                              explained that although independent-                     argues that the common law of                         acknowledged the Browning-Ferris two-
                                              contractor cases can be ‘‘instructive in                 independent-contractor status—
                                              the joint-employer inquiry to the extent                 specifically, the Restatement (Second) of               232 See, e.g., comments of Legal Aid Society;

                                                                                                       Agency—makes clear that contractually                 United Brotherhood of Carpenters and Joiners of
                                              that they elaborate on the nature and                                                                          America; Congressional Progressive Caucus; UAW;
                                              extent of control necessary to establish                 reserved authority, standing alone, is                IBT; National Women’s Law Center; United
khammond on DSKJM1Z7X2PROD with RULES2




                                              a common-law employment                                  sufficient to establish an employment                 Association of Journeymen and Apprentices of the
                                              relationship,’’ the independent-                         relationship.231 The commenter cites,                 Plumbing and Pipe Fitting Industry of the United
                                                                                                       inter alia, Sections 2 and 220, which                 States and Canada, SEIU; 1199SEIU United
                                              contractor inquiry omits the key                                                                               Healthcare Workers East; SEIU National Fast Food
                                                                                                                                                             Workers Union; LIUNA; IUOE; Senator Murray and
                                                225 See comment of AFL–CIO.                              228 See comment of CDW.
                                                                                                                                                             Representative Scott; NELP; AFT; James van
                                                226 See comments of AFL–CIO; Restaurant Law              229 See comment of AFL–CIO.
                                                                                                                                                             Wagtendonk.
                                              Center; COLLE.                                             230 See comment of CDW.                               233 See comments of Restaurant Law Center;
                                                227 See comment of State Attorneys General.              231 See comment of AFL–CIO.                         CDW.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 33 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                        11211

                                              step standard: A necessary-but-not-                      commenters propose (1) to provide legal               A second commenter proposes that the
                                              sufficient common-law analysis at step                   scaffolding distinguishing between                    rule define ‘‘substantial control’’ to
                                              one, followed by an NLRA-based                           control over essential terms and                      exclude control asserted for the
                                              analysis of whether the common-law                       conditions of employment and control                  following reasons: To achieve
                                              joint employer exercises sufficient                      over the basic contours of contracted-for             compliance with legally mandated
                                              control over the terms and conditions of                 service; and (2) to specify the terms and             requirements, to enforce product and
                                              employment of another employer’s                         conditions that are essential to                      service standards in the franchise
                                              employees to permit meaningful                           meaningful collective bargaining, and to              industry, to implement corporate social
                                              collective bargaining. A second                          clarify what meaningful collective                    responsibility initiatives, to establish
                                              commenter also points out that the                       bargaining entails.235 As explained                   deadlines, to preserve quality control, to
                                              proposed rule does not expressly                         below, we believe the final rule                      protect the brand, to implement and
                                              prohibit consideration of indirect or                    appropriately resolves the court’s                    enforce employee uniform guidelines, to
                                              reserved control and therefore does not                  critiques of the Browning-Ferris                      implement third-party delivery and
                                              contradict the court’s decision.                         standard.                                             courier services, to provide optional
                                                 Another commenter argues that it is                      The first set of comments responds to              training programs, and to authorize
                                              irrelevant whether the rule is consistent                the court’s criticism of the Board’s                  multi-employer associations to bargain
                                              with Browning-Ferris v. NLRB because                     application of the indirect control factor            on behalf of employer-members.239
                                              the court’s decision does not control the                in Browning-Ferris. The court criticized                 The final rule provides the legal
                                              Board’s rulemaking.234 Because the                       the Browning-Ferris Board for failing ‘‘to            scaffolding the D.C. Circuit found
                                              propriety of the rulemaking was not                      hew to the relevant common-law                        lacking in the Board’s Browning-Ferris
                                              before the court, the commenter                          boundaries that prevent the Board from                standard. It responds to the Court’s
                                              maintains that the court’s instruction                   trenching on the common and routine                   holding that indirect control over the
                                              that the rulemaking must ‘‘color within                  decisions that employers make when                    basic contours of a contracted-for
                                              the common-law lines identified by the                   hiring third-party contractors and                    service does not support joint-employer
                                              judiciary,’’ 911 F.3d at 1208, is dicta.                 defining the terms of those contracts.’’              status by defining ‘‘indirect control’’ to
                                              The commenter also states that                           Id. at 1219. The court remanded the case              exclude ‘‘setting the objectives, basic
                                              rulemaking is an executive function, not                 with instructions ‘‘to erect some legal               ground rules, or expectations for
                                              a judicial one, and he concludes from                    scaffolding that keeps the inquiry                    another entity’s performance under a
                                              this that the judiciary cannot dictate                   within traditional common-law                         contract.’’ It also addresses the D.C.
                                              what the Board’s rule should say unless                  bounds.’’ Id. at 1220.                                Circuit’s admonishment that ‘‘not every
                                              the rule contradicts the Act or Supreme                     Commenters make various proposals                  aspect of control counts. . . . The
                                              Court precedent, and the proposed rule                   for how the rule could erect the ‘‘legal              critical question is what is being
                                              does not.                                                scaffolding’’ the D.C. Circuit directed               controlled,’’ 911 F.3d at 1220 (emphasis
                                                 The Board believes that the final rule                the Board to provide. One commenter                   in original), by requiring that indirect
                                              is consistent with Browning-Ferris v.                    proposes that the Board list and define               control be asserted over essential terms
                                              NLRB. It incorporates indirect and                       essential terms and conditions of                     and conditions of employment and by
                                              reserved-but-unexercised control over                    employment.236 Two other commenters                   listing those essential terms
                                              essential terms and conditions and                       propose that the rule explain the                     exhaustively. The rule thus provides the
                                              treats them as probative of joint-                       difference between global oversight of a              legal scaffolding necessary to keep the
                                              employer status to the extent they                       company-to-company business                           joint-employer inquiry within common-
                                              supplement and reinforce evidence of                     relationship and actual control over the              law bounds and to ensure that routine
                                              direct and immediate control. The latter                 essential terms and conditions of                     control inherent to any joint
                                              limitation serves a purpose similar to                   employment of another employer’s                      undertaking does not support joint-
                                              the second step of the Browning-Ferris                   employees.237                                         employer status.
                                              standard—i.e., to ensure that only those                    Some commenters propose that the                      The final rule should also provide a
                                              entities that ‘‘meaningfully affect[]                    rule exclude from the joint-employer                  satisfactory response to the specific
                                              matters relating to the employment                       inquiry specific actions they say fall                exclusions sought by several
                                              relationship’’ are found to be joint                     within the routine contours of most                   commenters because it provides
                                              employers. Rule Sec. 103.40(A). But                      joint undertakings. One commenter, for                examples of specific acts that will not
                                              whereas Browning-Ferris left the                         example, proposes the rule state that the             constitute direct and immediate control
                                              regulated community utterly at sea as to                 following factors do not support joint-               over essential terms and conditions.240
                                              what ‘‘sufficient control . . . to permit                employer status: Decisions that set the               The rule provides, for example, that
                                              meaningful collective bargaining’’                       objectives, basic ground rules, and                   allowing another employer’s employees
                                              actually meant, the final rule provides                  expectations for a third-party contractor;            to participate in benefit plans,
                                              ample guidance. Moreover, the final                      use of a cost-plus contract; routine                  establishing an enterprise’s operating
                                              rule’s treatment of these factors as non-                contractual terms; supervision that is                hours, setting deadlines for services,
                                              dispositive does not contradict the                      inherent to any joint undertaking; global             setting minimal hiring, performance, or
                                              court’s decision because the court did                   oversight; cooperation and coordination               conduct standards pursuant to
                                              not decide whether either indirect or                    between a service recipient and a                     regulatory requirements, bringing
                                              reserved-but-unexercised control can be                  contractor’s employees; and the basic                 misconduct or poor performance to
                                              dispositive of joint-employer status. 911                contours of a contracted-for service.238              another employer’s attention, entering
                                              F.3d at 1213, 1218. The final rule thus
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                             into a cost-plus contract, or instructing
                                              comports with the court’s decision.                        235 See comments of CDW; RILA; HR Policy
                                                                                                                                                             employees regarding what work to
                                                 Commenters propose multiple                           Association; Associated Builders and Contractors      perform and where and when to
                                                                                                       Inc.; IFA; American Hotel & Lodging Association;
                                              changes to the proposed rule based on                    General Counsel Robb; Jenner & Block, LLP;            perform it but not how to perform it,
                                              the D.C. Circuit’s criticisms of                         Restaurant Law Center.                                among other similar actions, will not
                                              Browning-Ferris. Specifically,                             236 See comment of Restaurant Law Center.
                                                                                                         237 See comments of Job Creators Network; IFA.        239 See comment of CDW.
                                                234 See comment of General Counsel Robb.                 238 See comment of RILA.                              240 See comments of RILA; CDW.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                            Document #2114177                              Filed: 05/02/2025               Page 34 of 58
                                              11212            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              constitute direct and immediate control.                  bargaining requires by specifying that to            rule does not need to consist of a two-
                                              These examples provide the specificity                    qualify as a joint employer of another               part standard to comply with the court’s
                                              sought by some commenters and further                     employer’s employees, an entity ‘‘must               decision. The court did not require a
                                              clarify the distinction between control                   possess and exercise such substantial                two-part structure for the joint-employer
                                              over essential terms of employment that                   direct and immediate control over one                standard. It held only that the standard
                                              supports joint-employer status and                        or more essential terms or conditions of             must stay within the bounds of the
                                              routine features of company-to-company                    their employment as would warrant                    common law. Browning-Ferris v. NLRB,
                                              contracting that do not.241                               finding that the entity meaningfully                 911 F.3d at 1208. As explained above,
                                                 The second set of comments responds                    affects matters relating to the                      the final rule is consistent with that
                                              to the court’s criticism of the Browning-                 employment relationship with those                   holding.
                                              Ferris standard’s second step, which                      employees.’’ Rule Sec. 103.40(A).                       Another commenter requests that the
                                              requires consideration of ‘‘whether the                      Concerned that the court’s decision in            Board add ‘‘significant’’ to the rule to
                                              putative joint employer possesses                         Browning-Ferris v. NLRB may lead the                 match the phrasing used by the D.C.
                                              sufficient control over employees’                        Board to give indirect and reserved                  Circuit where it stated that ‘‘for roughly
                                              essential terms and conditions of                         control too much weight, several                     the last 25 years, the governing
                                              employment to permit meaningful                           commenters propose that the rule limit               framework for the joint-employer
                                              collective bargaining.’’ Browning-Ferris,                 the roles that these forms of control play           inquiry has been whether both
                                              362 NLRB at 1600. Regarding this step,                    in the joint-employer analysis. One                  employers ‘exert significant control over
                                              the Court criticized the Browning-Ferris                  commenter, for example, requests that                the same employees’ in that they ‘share
                                              Board on two counts. First, it said that                  the rule specify that indirect and                   or co-determine those matters governing
                                              ‘‘the Board never delineated what terms                   reserved control are relevant only                   the essential terms and conditions of
                                              and conditions are ‘essential’ to make                    insofar as they are asserted over                    employment.’ ’’ Id. at 1209 (quoting
                                              collective bargaining ‘meaningful.’ ’’                    essential terms and conditions of                    NLRB v. Browning-Ferris Indus. of
                                              Browning-Ferris v. NLRB, 911 F.3d at                      employment.243 Another commenter                     Pennsylvania, Inc., 691 F.2d at 1124).248
                                              1221–1222 (quoting Browning-Ferris,                       proposes limiting indirect and reserved              The Board declines the invitation
                                              362 NLRB at 1600). Second, it said that                   control to a specific right to displace a            because the final rule already requires
                                              the Board failed to ‘‘clarify what                        contractor and directly control its                  significant control for joint-employer
                                              ‘meaningful collective bargaining’ might                  employees, or alternatively, to decisions            status. It requires an entity to share or
                                              require.’’ Id. at 1222.                                   made by the putative joint employer and              codetermine employees’ essential terms
                                                 In response to the Court’s critique,                   conveyed indirectly using the contractor             and conditions of employment, which is
                                              commenters request that the rule define                   as intermediary.244                                  what the D.C. Circuit referred to as
                                              the terms and conditions ‘‘essential’’ to                    The final rule clarifies the contours             ‘‘significant’’ control. Again, in the
                                              make collective bargaining                                and limits of indirect and reserved                  quote above, the D.C. Circuit explained
                                              ‘‘meaningful’’ and clarify what                           control consistent with both the                     that the traditional standard required
                                              ‘‘meaningful collective bargaining’’                      commenters’ requests and the D.C.                    joint employers to ‘‘exert significant
                                              requires. To that end, one commenter                      Circuit’s opinion. The final rule                    control . . . in that they share or
                                              proposes the rule identify the subjects                   specifies that indirect and reserved                 codetermine those matters governing the
                                              over which a joint employer must                          control are probative of joint-employer              essential terms and conditions of
                                              negotiate and specify that they do not                    status only to the extent they                       employment.’’ Id. (emphasis added).
                                              include decisions to change aspects of                    supplement and reinforce evidence of                 The Third Circuit posited the same
                                              the contracting arrangement affecting                     direct and immediate control. However,               equivalence, stating that ‘‘where two or
                                              employment terms, to reallocate                           for reasons explained above, the Board               more employers exert significant control
                                              bargaining responsibilities between                       has not limited indirect and reserved                over the same employees—where from
                                              employers, or to end a service                            control to a specific right to displace a            the evidence it can be shown that they
                                              arrangement.242                                           contractor and directly control its                  share or co-determine those matters
                                                 The final rule addresses the                           employees,245 and has not alternatively              governing essential terms and
                                              shortcomings the court identified in                      defined indirect control as control                  conditions of employment—they
                                              Browning-Ferris’s treatment of the                        conveyed through an intermediary.246                 constitute ‘joint employers’ within the
                                              second step of its framework by                              Other comments advance additional                 meaning of the NLRA.’’ Browning-Ferris
                                              eliminating that step and returning to                    proposals based on Browning-Ferris v.                Indus. of Pennsylvania v. NLRB, 691
                                              the traditional standard requiring                        NLRB. One commenter, for example,                    F.2d at 1124. Thus, ‘‘significant’’ control
                                              substantial direct and immediate control                  proposes that the Board create a two-                means sharing or codetermining those
                                              over essential terms and conditions of                    part standard to comply with the court’s             matters governing essential terms and
                                              employment. Moreover, the final rule                      decision.247 The first part would require            conditions of employment. The
                                              lists the essential terms and conditions,                 the putative joint employer to be a joint            proposed and final rules require as
                                              thus providing the definition the court                   employer under the common law, and                   much and thus require ‘‘significant’’
                                              requested. The final rule also sheds light                the second part would be the standard                control as defined by the D.C. Circuit.
                                              on what meaningful collective                             in the proposed rule. The Board                         Commenters also discuss whether the
                                                                                                        declines this proposal because the final             D.C. Circuit’s decision affects the
                                                 241 As explained above, however, not every                                                                  Board’s authorization to promulgate a
                                              instance of control that fails by definition to qualify     243 See comment of Associated Builders and         joint-employer standard via rulemaking
                                              as direct and immediate control necessarily also
                                                                                                                                                             rather than case adjudication, or at least
khammond on DSKJM1Z7X2PROD with RULES2




                                              fails to qualify as indirect control as a routine         Contractors, Inc.
                                              feature of company-to-company contracting.
                                                                                                          244 See comment of RILA.                           the propriety of doing so. Two
                                              Although this will typically be the case, it remains        245 See Sec. V.C, ‘‘Response to Comments:
                                                                                                                                                             commenters argue that by advising that
                                              a question of fact to be resolved on a case-by-case       Comments Regarding Contractually Reserved But        the rulemaking must color within
                                              basis. See Sec. II.B, ‘‘Summary of Changes to the         Unexercised Control,’’ supra.
                                              Proposed Rule: Indirect Control,’’ supra; Sec. V.B,         246 See Sec. V.B, ‘‘Response to Comments:
                                                                                                                                                             common-law lines rather than directing
                                              ‘‘Response to Comments: Comments Regarding                Comments Regarding Indirect Control,’’ supra.        the Board to adopt a specific rule or no
                                              Indirect Control,’’ supra.                                  247 See comment of World Floor Covering
                                                 242 See comment of RILA.                               Association.                                           248 See comment of Jenner & Block, LLP.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 35 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                             11213

                                              rule at all, the court acknowledged the                  bounds and is therefore consistent with                  Relatedly, other commenters argue
                                              propriety of the rulemaking.249 Another                  Browning-Ferris v. NLRB.                              that the increased outsourcing of
                                              commenter notes the court appeared                          One commenter argues that any                      business functions to contractors and
                                              deferential to the rulemaking process                    rulemaking is premature while                         subcontractors has resulted in the
                                              because it emphasized that it issued its                 Browning-Ferris v. NLRB is pending and                ‘‘fissuring’’ of the workplace, where two
                                              decision only after the Board                            could still be reviewed en banc by the                or more firms control the terms and
                                              specifically requested it to proceed                     full D.C. Circuit or appealed to the                  conditions of employment.257 Often, the
                                              notwithstanding the rulemaking                           Supreme Court.253 The Board does not                  commenter argues, large corporations
                                              process.250                                              agree that the status of Browning-Ferris              enter into contracts that restrict
                                                 Other commenters argue that                           v. NLRB undermines the rulemaking                     subcontractors’ ability to grant wage
                                              Browning-Ferris v. NLRB undermines                       process because, as the Board informed                increases or institute other changes in
                                              the authority of the Board to engage in                  the D.C. Circuit, the final rule will be              the workplace. The commenter further
                                              rulemaking on the joint-employer                         prospective only and thus not affect that             contends that for workers in such
                                              standard. One commenter, for example,                    case. Id. at 1206. Also, as explained in              circumstances to be able to engage in
                                              argues that under the logic of the court’s               the NPRM, the Board initiated this                    meaningful collective bargaining, the
                                              decision, the Board’s authority extends                  rulemaking to invite broad public                     law must bring large corporations that
                                              only to applying common-law                              participation in formulating a joint-                 reserve control over or indirectly control
                                              principles to specific facts, thus                       employer standard and to provide                      those workers’ terms and conditions of
                                              rendering the rulemaking beyond its                      certainty and stability that will allow               employment to the bargaining table
                                              statutory authority.251 Another                          employers, unions, and employees to                   along with the subcontractors. Without
                                              commenter argues that the Board cannot                   plan their affairs free of the fear that the          such a requirement, it contends,
                                              engage in rulemaking regarding the                       standard may change at any time                       companies can use alternative
                                              meaning of Section 2(2) of the Act                       through case adjudication, and possibly               workforce arrangements to evade
                                              because it does not have discretion to                   retroactively. See Standard for                       liability for violations of labor standards
                                              define the employment relationship                       Determining Joint-Employer Status, 83                 and avoid collective bargaining.258
                                              other than how it is defined by the                      FR 46681, 46686. Browning-Ferris v.                      Other commenters argue that the
                                              common law, which the Board must                         NLRB does not affect the validity of                  Board’s refusal to address these issues
                                              apply in adjudication.252                                these reasons and therefore does not                  would constitute a failure on the part of
                                                 The Board does not agree that                         affect the propriety of the rulemaking.               the Board to adapt the Act to the
                                              Browning-Ferris v. NLRB limits its                                                                             changing patterns of industrial life.259
                                              authority to engage in rulemaking on the                 K. Comments Regarding Empirical Data                  Numerous commenters cite these trends
                                              joint-employer standard. That issue was                  on the Joint-Employer Standard’s                      as reasons why the Board should retain
                                              not before the court. Moreover, the D.C.                 Impact on Workplaces With Multiple                    the Browning-Ferris standard, arguing
                                              Circuit did not indicate at any point in                 Possible Employer Entities                            that it better enables workers to bargain
                                              its decision that rulemaking regarding                     Many commenters cite the rise of                    with entities like franchisors and
                                              joint-employer status is inappropriate. If               contingent employment and alternative                 contractors and hold them accountable
                                              anything, the court’s majority decision                  workforce arrangements as a significant               for labor law violations.260 Moreover,
                                              implicitly accepted the rulemaking as                    reason for opposing the proposed rule,                several commenters argue or suggest
                                              appropriate by acknowledging it and                      and many commenters have described                    that the Board should consider
                                              instructing the Board, in its rulemaking,                this economic trend in detail. For                    economic factors when determining
                                              to ‘‘color within the common-law lines                   example, one commenter represents that                whether an entity is a joint employer.261
                                              identified by the judiciary.’’ Browning-                 the percentage of U.S. workers who                       After considering these comments, the
                                              Ferris v. NLRB, 911 F.3d at 1208. The                    participate in flexible contract work as              Board is not persuaded that the trend
                                              dissent also acknowledged that ‘‘the                     their primary job increased 56 percent                toward increased contingent or
                                              Board may establish standards through                    between 2007 and 2017, and that                       temporary employment relationships
                                              rulemaking or adjudication.’’ Id. at 1226                roughly 10 percent of workers in 2017                 warrants abandoning the initial
                                              (citing 29 U.S.C. 156). There is thus                    were employed in ‘‘alternative work                   proposal to restore to the joint-employer
                                              nothing in the court’s decision                          arrangements,’’ including 10.6 million                standard the requirement that a putative
                                              indicating that the Board does not have                  independent contractors, 2.6 million on-              joint employer exercise substantial
                                              the authority to engage in this                          call workers, 1.4 million temporary help              direct and immediate control over
                                              rulemaking, and much to indicate the                     agency workers, and 933,000 workers                   essential terms and conditions of
                                              opposite.                                                provided by contract firms.254 Another                employment. Instead, meaningful
                                                 Moreover, the arguments against the                                                                         collective bargaining is best promoted
                                                                                                       commenter similarly asserts that 94
                                              rulemaking mistake substance for                                                                               by a standard that places at the
                                                                                                       percent of the net growth in
                                              process. The common law of agency                                                                              bargaining table only those entities that
                                                                                                       employment between 2005 and 2014
                                              must inform the substance of the joint-                                                                        actually control, directly and
                                                                                                       involved alternative work
                                              employer rule, not the process by which                                                                        immediately, the essential terms and
                                                                                                       arrangements.255 Many commenters
                                              it is promulgated. The Board is free to                                                                        conditions of employment of another
                                                                                                       contend that contingent employment
                                              establish the joint-employer standard
                                                                                                       results in lower wages and poor
                                              through rulemaking or case                                                                                       257 See, e.g., comment of EPI.
                                                                                                       workplace conditions.256
                                              adjudication, so long as the substance of                                                                        258 See also comments of Attorneys General of
khammond on DSKJM1Z7X2PROD with RULES2




                                              the standard colors within common-law                                                                          New York, Pennsylvania, et al.; AFT; Teamsters
                                                                                                         253 See comment of SEIU National Fast Food          Local 848.
                                              lines. The final rule stays within those                 Workers Union.                                          259 Comments of Congressman Scott and Senator
                                                                                                         254 See comment of SEIU.                            Murray; see also IUOE; Wimmer.
                                                249 See comments of HR Policy Association;               255 See comment of Congressman Scott, Senator         260 See comments of Members of Congress; EPI;
                                              General Counsel Robb.                                    Murray, et al.                                        Congressman Scott and Senator Murray; Justice in
                                                250 See comment of Chamber of Commerce.                  256 See comments of Law and Economics               Motion; Karyn Panitch.
                                                251 See comment of Paul Thomas.
                                                                                                       Professors; Congressman Scott and Senator Murray;       261 See comments of Law and Economics
                                                252 See comment of Professor Michael Harper.           Legal Aid at Work; APALA.                             Professors; Southern Poverty Law Center; CWA.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 36 of 58
                                              11214            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              employer’s employees. That said, the                     outsourcing provides.269 The                          rather than leaving them unresolved to
                                              final rule makes indirect and reserved-                  commenter also contends that the                      some indefinite future time; 273 and
                                              but-unexercised control over essential                   growth of contingent employment was                   provide the type of additional
                                              terms and conditions probative of joint-                 not a valid reason for adopting the                   ‘‘scaffolding’’ that the D.C. Circuit in
                                              employer status to the extent they                       Browning-Ferris standard and is not a                 Browning-Ferris v. NLRB said was
                                              supplement and reinforce direct and                      valid reason for keeping it. Further, the             missing from the Browning-Ferris joint-
                                              immediate control. Accordingly, the                      commenter argues that a joint-employer                employer standard.274
                                              final rule does make indirect and                        standard based on economic influence                     By contrast, many commenters
                                              reserved control relevant to the joint-                  would be unworkable and would not                     criticize the scenarios, stating, among
                                              employer analysis.                                       necessarily result in better outcomes for             other things, that they are unhelpful; 275
                                                 Opponents of the proposed rule cite                   employees. The commenter adds that it                 some of them are inconsistent with the
                                              research purportedly indicating that the                 is not the purpose of the Act to support              text of the proposed rule or the
                                              proposed rule would have negative                        collective bargaining outcomes favoring               commentary in the NPRM; 276 many of
                                              economic consequences for workers.                       labor. Relatedly, another commenter                   them raise unanswered questions; 277
                                              Specifically, one commenter contends                     points out that 500,000 SEIU members                  the NPRM failed to explain their
                                              that the proposed rule would make                        provide security services and are                     regulatory force; 278 they assume that
                                              collective bargaining among                              employed by contractors, and it argues                employers make explicit exercises of
                                              subcontracted and temporary workers                      this shows that outsourcing has not                   power that are not always made explicit
                                              nearly impossible, and that this would                   prevented unionization or stifled                     in the real world; 279 they fail to
                                              result in an annual transfer of $1.3                     collective bargaining.270                             consider the interplay of multiple
                                              billion from workers to employers.262                       The final rule is not based on a                   factors, which is what actual cases
                                                 In contrast, supporters of the                        prediction by the Board regarding                     almost always involve; 280 and they
                                              proposed rule contend that Browning-                     purported economic impacts, if any, on                suggest that exercising control over a
                                              Ferris has had negative economic                         workers’ wages or the economy                         single term of employment, without
                                              consequences, including causing                          generally. Rather, as explained                       regard to its significance, could create
                                              franchisors to ‘‘distance’’ themselves                   throughout, returning to the joint-                   joint-employer status.281
                                              from franchisees so that franchisors will                employer framework that predated                         Having considered these comments
                                              not be found joint employers.263 One                     Browning-Ferris—a framework that no                   and on further review, the Board has
                                              commenter cites as an example a                          court has ever found impermissible on                 decided not to include in the final rule
                                              franchisee who stopped receiving                         common-law grounds—is warranted on                    the examples from the proposed rule. As
                                              employee handbooks, job application                      policy grounds. Its requirement of direct             several commenters note, real-life fact
                                              materials, and recruitment assistance                    and immediate control over essential                  patterns are likely to be far more
                                              from the franchisor.264 According to a                   terms and conditions of employment                    complex than those portrayed in the
                                              study by economist Ronald Bird,                          will best promote meaningful collective               examples’ hypothetical scenarios, and
                                              franchisor ‘‘distancing’’ has resulted in                bargaining. That same requirement, plus               therefore the scenarios are not that
                                              lost output of between $17.2 billion and                 the rule’s exhaustive enumeration of                  useful. Nevertheless, as discussed
                                              $33.3 billion per year.265 Additionally,                 those essential terms and conditions                  elsewhere, the Board has sought to
                                              commenters cite a study claiming that                    and its descriptions of what does and                 clarify the joint-employer standard by
                                              Browning-Ferris has caused job growth                    does not count as direct and immediate                adding definitions of its key terms to the
                                              in the hotel industry to slow.266 Many                   control with respect to each essential                regulatory text. The Board believes that
                                              commenters argue that the Browning-                      term or condition all draw clear and                  this captures the benefits of the
                                              Ferris standard has subjected potential                  readily discernible lines. Thus, the final            examples while avoiding the more
                                                                                                       rule should produce predictable                       negative aspects noted by some
                                              joint employers to higher litigation
                                                                                                       outcomes, and accordingly provide                     commenters. The Board also believes
                                              costs.267 Against these negative
                                                                                                       members of the regulated community                    that this approach helps provide the
                                              consequences, one commenter suggests
                                                                                                       with the ability to structure their affairs           ‘‘scaffolding’’ that the court in
                                              that the Browning-Ferris standard would
                                                                                                       with at least one contingency removed                 Browning-Ferris v. NLRB found lacking
                                              not necessarily improve economic
                                                                                                       from consideration.                                   in the Browning-Ferris standard.
                                              outcomes for workers.268 It also argues                                                                           Additionally, one commenter states
                                              that it is proper for the Board to rely on               L. Comments on the Hypothetical                       that the Board should consider the
                                              the experience of commenters in this                     Scenarios Contained in the Text of the                totality of the circumstances in each
                                              rulemaking, especially in the absence of                 Proposed Rule                                         case, including both evidence of a
                                              comprehensive data.                                         Many commenters write favorably                    putative joint employer’s control as well
                                                 One commenter contends that the                       regarding the hypothetical scenarios—                 as evidence of its lack of control.282
                                              negative economic and social effects of                  called ‘‘examples’’ in the NPRM—
                                              outsourcing cited by critics of the                      contained in the regulatory text of the                 273 Id.
                                              proposed rule have to be weighed                         proposed rule, stating, among other                     274 Id.
                                              against the economic opportunities that                  things, that they are helpful; 271 address              275 Comment of 1199SEIU United Healthcare

                                                                                                       common situations that the Board has                  Workers East.
                                                262 See comment of EPI; see also comments of                                                                   276 Comments of 1199SEIU United Healthcare

                                              IBT; Equal Justice Center.
                                                                                                       not necessarily had the opportunity to                Workers East; SEIU; Employment Law Alliance.
                                                263 See comments of IFA; Johnson and Graham.           address before; 272 allow the Board to                  277 Comment of SEIU.
                                                                                                       advise, now, whether those situations
khammond on DSKJM1Z7X2PROD with RULES2




                                                264 Comment of Ranking Member Foxx.                                                                            278 Id.
                                                265 Comment of Chamber of Commerce.                    satisfy the proposed rule’s standard                    279 Comment of IBT.
                                                266 Comments of American Action Forum; U.S.                                                                    280 Comments of General Counsel Robb; AFL–

                                              Senate Committee on Health, Education, Labor, and          269 Comment of Chamber of Commerce.                 CIO; SEIU Local 32BJ; 1199SEIU United Healthcare
                                              Pensions (Senate HELP Committee).                          270 Comment of FordHarrison LLP.                    Workers East; IUOE; SEIU; Employment Law
                                                267 Comments of International Warehouse                  271 Comments of the Restaurant Law Center;          Alliance.
                                              Logistics Association; Competitive Enterprise            International Bancshares Corporation; and               281 Comments of General Counsel Robb; SEIU;

                                              Institute; Restaurant Law Center.                        Associated Builders and Contractors, Inc.             Employment Law Alliance.
                                                268 Comment of IFA.                                      272 Comment of COLLE.                                 282 Comment of the Employment Law Alliance.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM      26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 37 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                             11215

                                              Consistent with this comment, the final                  particular employment setting.’’ Thus,                rule.294 As noted by that commenter,
                                              rule makes clear that joint-employer                     the Board will consider the facts of each             Section 6 authorizes the Board to make
                                              status ‘‘must be determined on the                       case, including the degree of control                 rules and regulations ‘‘as may be
                                              totality of the relevant facts in each                   that the putative joint employer                      necessary to carry out the provisions of
                                              particular employment setting.’’ Rule                    exercises.                                            this Act.’’ 295 The commenter cites
                                              Sec. 103.40(A).                                             One commenter states that the                      Chamber of Commerce of the United
                                                 The final rule also incorporates, in                  examples do not indicate how many                     States v. NLRB, 721 F.3d 152, 160 (4th
                                              various ways, other feedback received                    instances of direct and immediate                     Cir. 2013), where the court explained
                                              on the hypothetical scenarios from the                   control are required and that, while                  that Section 6 requires some other
                                              proposed rule. Specifically, one                         several examples describe control that is             section of the Act to provide either
                                              commenter notes that Examples 1 and 2                    ‘‘direct and immediate,’’ none explains               explicit or implicit authority to issue a
                                              did not provide any guidance as to the                   whether an entity would be deemed a                   particular rule. The court there found
                                              impact of a finding of control over the                  joint employer based on the facts in                  that the Board had exceeded its
                                              wage rate.283 The final rule clarifies                   those examples, or how many other                     statutory authority when it promulgated
                                              what ‘‘direct and immediate control’’                    ‘‘essential terms and conditions’’ an                 a rule requiring employers to post in the
                                              over wages is and is not.                                employer must control.288 As discussed                workplace a notice informing employees
                                                 Regarding Examples 2 and 11, one                      above, the definition of ‘‘substantial                of their rights under the Act. As noted
                                              commenter states that, in the contract-                  direct and immediate control’’ in the                 above, the Board has determined that
                                              security industry, a company must be                     final rule states that the entity must                Section 6 authorizes the final rule as
                                              able to impose certain requirements and                  ‘‘possess and exercise such substantial               necessary to carry out Sections 2, 7, 8,
                                              should be able to have a contract                        direct and immediate control over one                 9, and 10 of the Act, 29 U.S.C. 152, 157,
                                              employee removed from its property for                   or more essential terms or conditions of              158, 159, and 160, respectively.
                                              poor or unprofessional performance or                    . . . employment as would warrant                        In contrast, other commenters oppose
                                              for engaging in illegal activities.284 The               finding that the entity meaningfully                  the Board’s use of rulemaking to
                                              final rule clarifies that an entity does                 affects matters relating to the                       establish the joint-employer standard.
                                              not exercise ‘‘direct and immediate                      employment relationship’’ with another                For the following reasons, the Board
                                              control’’ where it refuses to allow                      employer’s employees.                                 finds these arguments unpersuasive.
                                              another employer’s employee to access                                                                             One commenter states that a desire by
                                              its premises or to continue performing                   M. Comments Regarding the Propriety of                the Board to avoid policy oscillation
                                              work under a contract.                                   Using Rulemaking To Revisit the Joint-                cannot serve as a proper basis for
                                                 Regarding Example 6, one commenter                    Employer Standard and of the                          rulemaking because the proposed rule
                                              suggests making it clear that Franchisor                 Adequacy of the Rulemaking Process                    would represent further oscillation with
                                              has not exercised direct and immediate                      The Board’s general rulemaking                     respect to the joint-employer
                                              control over essential terms and                         authority has been recognized both by                 standard.296 However, the Board’s
                                              conditions of employment of                              commenters supporting the rule and by                 desire is not to avoid change in this area
                                              Franchisee’s employees to the extent                                                                           of the law altogether but to best
                                                                                                       those opposing the rule.289 Several
                                              Franchisor merely recommends or                                                                                effectuate the policies of the Act,
                                                                                                       commenters favor using rulemaking to
                                              coordinates the availability of certain                                                                        consistent with the common law and
                                                                                                       revise the joint-employer standard. They
                                              benefits that Franchisee is not obligated                                                                      informed by the comments we have
                                                                                                       contend that rulemaking will promote
                                              to offer to its employees.285 The final                                                                        received. Further, the Board believes
                                                                                                       predictability and stability in a way that
                                              rule makes clear that an entity does not                                                                       that rulemaking will provide greater
                                                                                                       ‘‘sequential adjudications’’ will not,290
                                              exercise direct and immediate control                                                                          predictability for members of the
                                                                                                       that rulemaking allows for the
                                              over benefits by permitting another                                                                            regulated community than a standard
                                                                                                       submission of comments that are not
                                              employer, under an arms-length                                                                                 established through adjudication, where
                                                                                                       tied to the particular facts in a specific
                                              contract, to participate in its benefit                                                                        retroactive application of new policies
                                              plans.                                                   case,291 and that rulemaking permits
                                                                                                                                                             and standards is the Board’s usual
                                                 Regarding Example 2, one commenter                    more thorough deliberation via the
                                                                                                                                                             practice. See, e.g., SNE Enterprises, 344
                                              notes that some employers may use                        notice-and-comment process.292 In
                                                                                                                                                             NLRB 673, 673 (2005).
                                              unfounded complaints from other                          addition, some commenters argue that                     Some commenters argue that the
                                              entities to terminate employees’                         the proposed rule would further policy                Board’s reference in the NPRM to
                                              employment.286 Regarding Example 3,                      goals that have been stalled in                       ‘‘continuing uncertainty’’ in the labor-
                                              one commenter asks whether a user                        Congress.293                                          management community in the wake of
                                              entity that makes use of coded language                     One commenter acknowledges that                    the Board’s decision in Browning-Ferris
                                              and thinly veiled complaints to direct a                 the Board has statutory authority to                  was unfounded.297 The Board disagrees.
                                              supplier of temporary employees not to                   promulgate a rule on joint-employer                   The continuing uncertainty referred to
                                              furnish African-American employees                       status, but urges the Board to rely on                arose from the adjudicatory shifts in the
                                              would qualify as having exercised                        several other provisions of the Act, as               joint-employer standard that had taken
                                              ‘‘direct and immediate’’ control over                    well as Section 6, in promulgating this               place within a relatively short period of
                                              those workers’ terms of employment.287
                                                                                                         288 Comment of SEIU.
                                              The final rule makes clear that joint-                                                                           294 Comment of National Federation of
                                                                                                         289 See Comment of Senate HELP Committee;
                                              employer status will be determined ‘‘on                                                                        Independent Businesses (NFIB).
                                                                                                       Society of Human Resource Management; see also          295 Comment of NFIB at 2. See also comment of
                                              the totality of the relevant facts in each
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                       comment of IUOE (acknowledging as a general           Professor Harper (arguing that the proposed rule
                                                                                                       matter that Sec. 6 authorizes the Board to engage     was not within the Board’s authority because it
                                                283 Comment of General Counsel Robb.                   in rulemaking, but arguing that rulemaking is not     purports to articulate an abstractly stated law
                                                284 Comment of John B. Hirsch.                         necessary in these circumstances).                    defining the employment relationship, rather than
                                                                                                         290 Comment of Jenner & Block, LLP.
                                                285 Comment of Polsinelli PC.                                                                                the relevance of that relationship to particular
                                                286 Comment of Wholesale Delivery Drivers,               291 Comment of Restaurant Law Center.               provisions of Sec. 8 or 9 of the Act).
                                              General Truck Drivers, Chauffeurs, Sales, Industrial       292 Comment of Chamber of Commerce.                   296 See comment of IUOE.

                                              and Allied Workers, Local 848, IBT.                        293 See comments of Members of Congress;              297 Comment of Law and Economics Professors at
                                                287 Comment of Legal Aid Justice Center.               Society of Human Resource Management.                 10; EPI at 2–3.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 38 of 58
                                              11216            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              time beginning with Browning-Ferris, as                  carefully considered all comments with                 codified in a regulation is more difficult
                                              noted above.298 Moreover, the vacatur of                 an open mind, and the final rule we                    to change than one developed through
                                              Hy-Brand I in Hy-Brand II did not                        have formulated represents our                         adjudication, especially because a
                                              reflect a Board majority to return to the                reasoned determination regarding the                   regulation would, in its view, deprive
                                              Browning-Ferris standard on doctrinal                    appropriate standard for determining                   the Board of the flexibility needed to
                                              grounds, and this certainly prompted                     joint-employer status. The fact that the               take into account ‘‘ever-changing factors
                                              reasonable doubt among the Board’s                       Board has not routinely engaged in                     in our dynamic economy.’’ 304 As
                                              stakeholders regarding the post–Hy-                      rulemaking in the past does not                        discussed above, however, we believe
                                              Brand II status of the Browning-Ferris                   preclude us from doing so now (see Bell                that the comparative stability of
                                              standard, which sprang back into place                   Aerospace Co., 416 U.S. at 294), and                   rulemaking over case adjudication as
                                              by default rather than conviction. It is                 while the Board typically makes                        the means of establishing the joint-
                                              surely the case that this state of affairs               substantive policy determinations                      employer standard is a virtue, as it will
                                              was unstable and demanded resolution.                    through adjudication rather than                       enhance labor-management stability, the
                                                 One commenter argues that                             rulemaking, this has been criticized by                promotion of which is one of the
                                              rulemaking is inappropriate because the                  numerous commentators.302                              principal purposes of the Act. To the
                                              reasons justifying past rulemakings by                     Several commenters contend that                      extent the commenter is arguing that the
                                              the Board—judicial rejection of                          adjudication is preferable to rulemaking               Board should consider economic
                                              adjudicatory attempts to formulate a                     because adjudication assertedly permits                factors, the Board declines to base the
                                              standard regarding bargaining units in                   the Board to develop joint-employer                    final rule on consideration of ‘‘the wider
                                              the healthcare industry; the purported                   doctrine more carefully, one case at a                 universe of all underlying economic
                                              need to provide a comprehensive                          time.303 But rulemaking enables the                    facts that surround an employment
                                              update of the Board’s representation-                    Board to provide the regulated                         relationship,’’ as the Board did in
                                              election rules—are absent here.299 But                   community greater certainty                            Browning-Ferris itself. Browning-Ferris,
                                              Section 6 of the Act broadly authorizes                  beforehand, as the Supreme Court has                   362 NLRB at 1611 fn. 68, 1615. And the
                                              the Board to make rules and regulations                  instructed that we should do. First Nat’l              Board agrees with former Members
                                              ‘‘as may be necessary to carry out the                   Maint. Corp. v. NLRB, 452 U.S. at 679.                 Miscimarra and Johnson that ‘‘the
                                              provisions of [the Act],’’ and the Board                 The Board also observes that in                        inescapable conclusion to be drawn
                                              has identified the provisions of the Act                 substance, the final rule codifies the                 from the Taft-Hartley legislation
                                              that this rulemaking effectuates.300                     Board’s joint-employer law as it existed               repudiating [NLRB v. Hearst
                                              Supreme Court precedent also supports                    before Browning-Ferris, and therefore it               Publications, 322 U.S. 111 (1944)] is
                                              the Board’s discretion to act through                    reflects the Board’s application of the                that Congress must have intended that
                                              rulemaking rather than adjudication.                     joint-employer doctrine in numerous                    common-law agency principles, rather
                                              See NLRB v. Bell Aerospace Co., 416                      pre–Browning-Ferris cases. Moreover,                   than . . . policy-based economic
                                              U.S. at 294 (‘‘[T]he choice between                      disputes over joint-employer status will               realities . . . govern the definition of
                                              rulemaking and adjudication lies in the                  continue to arise and be resolved                      employer . . . under the Act.’’
                                              first instance within the Board’s                        through adjudication under the standard                Browning-Ferris, 362 NLRB at 1625.
                                              discretion.’’). Nothing in the Act or                    set forth in the final rule, and the joint-            Moreover, while the Board believes that
                                              judicial precedent warrants a                            employer doctrine will therefore                       the stability and predictability provided
                                              conclusion that the Board may only                       continue to develop.                                   through rulemaking is both beneficial
                                              engage in rulemaking for reasons the                        One commenter argues that it is a                   and consistent with the Supreme
                                              Board has cited in the past.                             vice, rather than a virtue, that a standard            Court’s guidance in First National
                                                 Another commenter suggests that                                                                              Maintenance, the final rule will not
                                              rulemaking is suspect because it is a                       302 See R. Alexander Acosta, Rebuilding the
                                                                                                                                                              prevent the Board from implementing
                                                                                                       Board: An Argument for Structural Change, over         change when appropriate, either
                                              ‘‘purely political process’’ and because                 Policy Prescriptions, at the NLRB, 5 FIU L. Rev.
                                              adjudication is the Board’s ‘‘normal’’                   347, 351–52 (2010); Merton C. Bernstein, The           through adjudication that further refines
                                              process.301 Preliminarily, it is not clear               NLRB’s Adjudication-Rule Making Dilemma Under          the rule, consistent with its text, or
                                              what the commenter means by a ‘‘purely                   the Administrative Procedure Act, 79 Yale L.J. 571,    through additional rulemaking.
                                                                                                       589–90, 593–98 (1970); Samuel Estreicher, Policy          One commenter argues that
                                              political process.’’ To the extent the                   Oscillation at the Labor Board: A Plea for
                                              commenter refers to policy-based views                   Rulemaking, 37 Admin. L. Rev. 163, 170 (1985);
                                                                                                                                                              rulemaking is an inefficient use of Board
                                              that influence how a Board member                        Jeffrey S. Lubbers, The Potential of Rulemaking by     resources.305 While the Board has
                                              applies the Act and that tend to                         the NLRB, 5 FIU L. Rev. 411, 414–17, 435 (2010);       devoted significant resources to this
                                                                                                       Kenneth Kahn, The NLRB and Higher Education:           effort, we have done so efficiently and
                                              correlate with a member’s party                          The Failure of Policymaking Through Adjudication,
                                              affiliation, case adjudication is no less                21 UCLA L. Rev. 63, 84 (1973); Charles J. Morris,
                                                                                                                                                              reasonably and have concluded that the
                                              ‘‘political’’ than rulemaking. No less                   The NLRB in the Dog House—Can an Old Board             effort is worth the long-term stability
                                              than case adjudication, rulemaking                       Learn New Tricks?, 24 San Diego L. Rev. 9, 27–42       and predictability the final rule will
                                                                                                       (1987); Cornelius Peck, The Atrophied Rule-making      provide.
                                              involves reasoned decision-making,                       Powers of the National Labor Relations Board, 70
                                              conducted within the constraints of the                  Yale L.J. 729, 730–34 (1961); Cornelius J. Peck, A
                                                                                                                                                                 Another commenter suggests that it
                                              APA and subject to judicial review. As                   Critique of the National Labor Relations Board’s       would have been more efficient for the
                                              demonstrated below, the Board has                        Performance in Policy Formulation: Adjudication        Board to have engaged in interpretive
                                                                                                       and Rule-Making, 117 U. Pa. L. Rev. 254, 260, 269–     rulemaking, as an interpretative rule
                                                                                                       72 (1968); David L. Shapiro, The Choice of
                                                298 See Sec. III.B, ‘‘Justification for Using
                                                                                                       Rulemaking or Adjudication in the Development of
                                                                                                                                                              could accomplish similar goals and
khammond on DSKJM1Z7X2PROD with RULES2




                                              Rulemaking, Rather than Adjudication, to Revise          Administrative Policy, 78 Harv. L. Rev. 921, 922       would not require the Board to respond
                                              the Joint-Employer Standard: The Preference for          (1965); Carl S. Silverman, The Case for the National   to comments.306 As an initial matter, the
                                              Rulemaking over Adjudication,’’ supra.                   Labor Relations Board’s Use of Rulemaking in
                                                299 Comment of IUOE.
                                                                                                                                                              commenter does not explain how an
                                                                                                       Asserting Jurisdiction, 25 Lab. L.J. 607 (1974);
                                                300 See Sec. III.A, ‘‘Justification for Using          Berton B. Subrin, Conserving Energy at the Labor
                                                                                                                                                              interpretive rule would be appropriate
                                              Rulemaking, Rather than Adjudication, to Revise          Board: The Case for Making Rules on Collective
                                                                                                                                                               304 Comment of IUOE at 8.
                                              the Joint-Employer Standard: Authority to Engage         Bargaining Units, 32 Lab. L.J. 105 (1981).
                                              in Rulemaking,’’ supra.                                     303 See comments of NC National Employment           305 Comment of Cohen.
                                                301 Comment of Professor George Gonos at 2–3.          Lawyers Association; UA.                                306 Comment of Thomas.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 39 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                              11217

                                              in these circumstances. ‘‘[T]he critical                 ‘‘its new policy rests upon factual                   ways, the final rule provides vital
                                              feature of interpretive rules is that they               findings that contradict those which                  guidance regarding the circumstances in
                                              are ‘issued by an agency to advise the                   underlay its prior policy,’’ further                  which joint-employer status will and
                                              public of the agency’s construction of                   explanation was needed ‘‘for                          will not attach. The final rule also erects
                                              the statutes and rules which it                          disregarding facts’’ rather than for ‘‘the            the ‘‘legal scaffolding’’ demanded by the
                                              administers.’ ’’ Perez v. Mortg. Bankers                 mere fact of policy change.’’ Id. at 515–             D.C. Circuit in Browning-Ferris v. NLRB
                                              Ass’n, 575 U.S. 92, 97 (2015) (quoting                   516. Because there is no heightened                   to ensure that the joint-employer
                                              Shalala v. Guernsey Mem’l Hosp., 514                     standard that must be met in order to                 inquiry will be confined ‘‘within
                                              U.S. 87, 99 (1995)). ‘‘If the rule cannot                justify a change in the Board’s joint-                traditional common-law bounds.’’ Id.
                                              fairly be seen as interpreting a statute or              employer standard, and because the                    And by defining the relative weight of
                                              a regulation, and if . . . it is enforced,               Board has fully explained its reasoning               direct and immediate control and other
                                              ‘the rule is not an interpretative rule                  and has not disregarded any relevant                  types of control, the final rule
                                              exempt from notice-and-comment                           facts, the claim of the commenter is                  eliminates the cumbersome two-step
                                              rulemaking.’ ’’ Catholic Health                          misplaced.                                            Browning-Ferris analysis, with its
                                              Initiatives v. Sebelius, 617 F.3d 490, 494                  In any event, the Board is firmly                  standardless inquiry into whether
                                              (D.C. Cir. 2010) (quoting Cent. Texas                    convinced that the final rule is an                   meaningful collective bargaining is
                                              Tel. Coop., Inc. v. FCC, 402 F.3d 205,                   improvement over the standard set forth               possible.
                                              212 (D.C. Cir. 2005)). ‘‘Joint employer’’                in Browning-Ferris, for several reasons.                 One commenter argues that the Board
                                              is not a statutory term, and no Board                    As discussed above, at the first step of              has failed to adequately consider the
                                              rule or regulation currently defines it, so              the Browning-Ferris analysis, where the               costs of the proposed rule relative to its
                                              interpretive rulemaking is not an option                 Board considered the putative joint                   benefits, beyond mere costs to small
                                              here. Even if it were, the opportunity to                employer’s control over the terms and                 businesses and labor unions.308 The
                                              receive input through the notice-and-                    conditions of employment of another                   commenter argues that courts have
                                              comment process was one of the reasons                   employer’s workers, the Board failed to
                                                                                                                                                             required consideration of cost, citing
                                              the Board decided to embark on this                      draw meaningful distinctions between
                                                                                                                                                             Michigan v. EPA, 135 S. Ct. 2699, 2711
                                              rulemaking, and being able to receive,                   direct control and indirect and/or
                                                                                                                                                             (2015); Bus. Roundtable v. SEC, 647
                                              consider, and respond to comments                        reserved-but-unexercised control, giving
                                                                                                                                                             F.3d 1144 (D.C. Cir. 2011); and
                                              outweighs any efficiency that might be                   them equal weight. At the second step
                                                                                                                                                             Corrosion Proof Fittings v. EPA, 947
                                              gained from foregoing that process.                      of the Browning-Ferris analysis, the
                                                                                                                                                             F.2d 1201 (5th Cir. 1991). The
                                              Furthermore, an interpretive rule would                  Board seemingly recognized that these
                                                                                                                                                             commenter also argues that the Board is
                                              not provide the stability and                            different kinds of control cannot be
                                                                                                                                                             ignoring economic theory and research
                                              predictability that will be provided by                  accorded equal weight by requiring
                                                                                                                                                             on the consolidation and abuse of
                                              the final rule as the culmination of                     consideration of whether the putative
                                                                                                       joint employer’s control is ‘‘too limited             indirect power wielded by third parties
                                              notice-and-comment rulemaking. See                                                                             over market wages and, hence, direct
                                              Perez, 575 U.S. at 101 (‘‘Because an                     in scope or significance to permit
                                                                                                       meaningful collective bargaining.’’ 362               employers’ wage-setting decisions. In
                                              agency is not required to use notice-and-                                                                      addition, the commenter contends that
                                              comment procedures to issue an initial                   NLRB at 1614. However, Browning-
                                                                                                       Ferris provided no guidance for                       the NPRM fails to comply with
                                              interpretive rule, it is also not required                                                                     Executive Order 13725, ‘‘Steps to
                                              to use those procedures when it amends                   determining when ‘‘meaningful
                                                                                                       collective bargaining’’ is possible, and              Increase Competition and Better Inform
                                              or repeals that interpretive rule.’’).                                                                         Consumers and Workers to Support
                                                 One commenter asserts that the                        the Browning-Ferris Board neglected
                                                                                                       even to attempt that analysis. Moreover,              Continued Growth of the American
                                              proposed rule runs counter to the APA’s                                                                        Economy,’’ which, the commenter
                                              ‘‘presumption against changes in                         Browning-Ferris failed to provide
                                                                                                       meaningful guidance on the definition                 asserts, encourages agencies to ‘‘build
                                              current policy.’’ 307 The commenter                                                                            upon efforts to detect abuses such as
                                              further argues that an agency ‘‘must                     of ‘‘essential’’ terms and conditions of
                                                                                                       employment, and it also provided ‘‘no                 . . . anticompetitive behavior in labor
                                              provide a more substantial explanation                                                                         and other input markets, exclusionary
                                                                                                       blueprint for what counts as ‘indirect’
                                              for a policy that departs from its former                                                                      conduct, and blocking access to critical
                                                                                                       control.’’ Browning-Ferris v. NLRB, 911
                                              views where ‘its new policy rests upon                                                                         resources that are needed for
                                                                                                       F.3d at 1220. As a result of these flaws,
                                              factual findings that contradict those                                                                         competitive entry.’’ Law and Economics
                                                                                                       the Browning-Ferris Board
                                              which underlay its prior policy.’ ’’                                                                           Professors at 16 (ellipsis in original)
                                                                                                       impermissibly based its joint-employer
                                              Comment of Attorneys General of New                                                                            (quoting Executive Order 13725, Sec.
                                                                                                       finding on ‘‘routine feature[s] of
                                              York, Pennsylvania, et al. (quoting FCC                                                                        2(b), 81 FR 23417 (Apr. 15, 2016)). In
                                                                                                       independent contracts,’’ precluding
                                              v. Fox Television Stations, Inc., 556 U.S.                                                                     this regard, the commenter argues that
                                                                                                       enforcement of its decision. Id.
                                              502, 515 (2009)).                                           The final rule comprehensively                     the Board must at least explain why it
                                                 In Fox, the Court clarified that its                                                                        failed to deem franchisors that include
                                                                                                       addresses all these shortcomings more
                                              ‘‘opinion in State Farm neither held nor                 fully than would be possible in the                   no-poaching clauses in franchise
                                              implied that every agency action                         adjudication of a case. It re-establishes             agreements as joint employers.
                                              representing a policy change must be                     a commonsense hierarchy that                             Contrary to the suggestion of the
                                              justified by reasons more substantial                    recognizes the superior force of                      commenter, and for reasons already
                                              than those required to adopt a policy in                 evidence of actually exercised direct                 explained, it is inappropriate to base the
                                              the first instance.’’ 556 U.S. at 514.                   and immediate control as compared                     joint-employer standard on studies
khammond on DSKJM1Z7X2PROD with RULES2




                                              Moreover, the Court explained that                       with indirect and reserved-but-                       regarding economic impact because the
                                              while an agency must provide a more                      unexercised control. It provides an                   Board is constrained to base the
                                              detailed justification when, for example,                exhaustive list of ‘‘essential’’ terms and            standard on the common law, applied in
                                                307 See comment of Attorneys General of New
                                                                                                       conditions of employment, and for each                the particular context of the Act.
                                              York, Pennsylvania, et al., at 8 (citing Motor Vehicle
                                                                                                       essential term it specifies what will and
                                              Manufacturers Assn. v. State Farm Mut. Automobile        will not count as direct and immediate                  308 See comment of Law and Economics

                                              Ins. Co., 463 U.S. 29, 43 (1983)).                       control over that essential term. In these            Professors.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 40 of 58
                                              11218            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                                 Moreover, the cases cited by the                      Controlling Regulatory Costs,’’ which                 definition of employer and employee
                                              commenter involve statutes that, unlike                  requires that ‘‘for every one new                     under the Act).
                                              the Act, contain wording indicating that                 regulation issued, at least two prior                    One commenter asserts that the Board
                                              costs must be considered. See Michigan                   regulations be identified for elimination,            has failed to provide sufficient time for
                                              v. EPA, 135 S. Ct. at 2704, 2707–2708,                   and that the cost of planned regulations              comments.311 Specifically, it contends
                                              2711–2712 (finding provision of the                      be prudently managed and controlled                   that the NPRM provided only seven
                                              Clean Air Act directing agency to                        through a budgeting process.’’ 309                    days after initial comments were due for
                                              regulate emissions from power plants if                  However, Executive Order 13371 does                   the filing of reply comments, and that
                                              the agency finds regulation ‘‘appropriate                not govern independent regulatory                     this amount of time was insufficient to
                                              and necessary’’ indicated, when read                     agencies, such as the NLRB, under 44                  review the 26,197 comments that had
                                              naturally and in context with related                    U.S.C. 3502(5). OMB Memorandum M–                     been submitted as of January 28, 2019.
                                              provision concerning costs, that agency                  17–21–OMB, Guidance Implementing                         Contrary to this commenter, the time
                                              had to consider cost when making the                     Executive Order 13771, Titled                         provided for comments was more than
                                              finding); Business Roundtable, 647 F.3d                  ‘‘Reducing Regulation and Controlling                 sufficient. Preliminarily, the APA
                                              at 1146, 1156 (finding agency failed to                  Regulatory Costs’’ (Apr. 5, 2017) at 3, 9.            provides no minimum comment period,
                                              adequately consider effect on efficiency,                Accordingly, the Board is not obligated               and many agencies, including the Board
                                              competition, and capital formation, as                   to eliminate any regulations in                       in past rulemaking proceedings, have
                                              required by Section 3(f) of the Exchange                 connection with promulgating this final               afforded comment periods of only 30
                                              Act and Section 2(c) of the Investment                   rule.                                                 days. Agencies have discretion to
                                              Company Act of 1940, in promulgating                        Several commenters argue that the                  provide still shorter periods and are
                                              rule at issue); Corrosion Proof Fittings,                Board failed to properly consider the                 simply ‘‘encouraged to provide an
                                              947 F.2d at 1207–1208, 1215 (finding                     value of taking no action, or the value               appropriate explanation for doing so.’’
                                              agency failed to give adequate weight to                 of promulgating a standard that makes                 Administrative Conference of the
                                              the requirement under the Toxic                          entities with sufficient market power                 United States Recommendation 2011–2
                                              Substances Control Act that it                           joint employers, because the Board did                (June 16, 2011), at 3.
                                              promulgate the least burdensome                                                                                   The NPRM, which issued September
                                                                                                       not base its decision on empirical data
                                              reasonable regulation required to protect                                                                      14, 2018, announced a deadline for
                                                                                                       or economic and public policy
                                              the environment). Accordingly, this                                                                            initial comments of November 13, 2018,
                                                                                                       research.310
                                              argument is misplaced.                                                                                         and that reply comments needed to be
                                                                                                          To the extent the commenters are
                                                 With respect to Executive Order                                                                             received on or before November 20,
                                                                                                       contending that the Board failed to
                                              13725, that order encourages, but does                                                                         2018. The Board then extended the
                                                                                                       consider alternatives, the contention is
                                              not require, independent agencies to                                                                           comment period three times, for a total
                                                                                                       incorrect. The Board sought comment
                                              comply with the order. Id. Sec. 3(b). As                                                                       of 76 additional days. This included an
                                                                                                       on ‘‘all aspects’’ of the proposed rule,
                                              the NLRB is an independent agency, see                                                                         extension the Board granted following
                                                                                                       including whether the common law
                                              44 U.S.C. 3502(5), it is not required to                                                                       the D.C. Circuit’s decision in Browning-
                                                                                                       dictated the approach of the proposed                 Ferris v. NLRB in order to permit the
                                              comply with Executive Order 13725.                       rule or of Browning-Ferris or left room
                                                 Finally, the Board does not agree with                                                                      public an opportunity to address that
                                                                                                       for either approach, and the Board has                decision. Ultimately, comments needed
                                              the notion that joint-employer status
                                                                                                       received and considered thousands of                  to be received on or before January 28,
                                              should arise from the purported effect
                                                                                                       comments concerning the proper joint-                 2019, and comments replying to the
                                              on competition for labor from
                                                                                                       employer standard. Standard for                       comments submitted during the initial
                                              franchisor-franchisee no-poaching
                                                                                                       Determining Joint-Employer Status, 83                 comment period needed to be received
                                              agreements. For one thing, competition
                                              for labor is only one factor in the wage                 FR at 46687; see also id. at 46696                    no later than 14 days later, February 11,
                                              an employer offers. Moreover, the                        (noting that Board considered and                     2019.312 Although the APA does not
                                              disputed no-poaching agreements, as                      rejected possibility of taking no action).            require this reply period, the Board
                                              described by the commenter, limit the                       To the extent the commenters are                   provided it to give itself the best
                                              ability of franchisees to hire employees                 arguing that the Board should have                    opportunity to gain all information
                                              of the franchisor or other franchisees of                engaged in an economic analysis                       necessary to make an informed decision.
                                              that franchisor. Such provisions place                   assessing the value of taking no action,              The nearly 29,000 comments submitted
                                              no limit on cross-franchise competition                  the argument has no merit. As stated                  and the depth of analysis many of them
                                              for labor. Regardless of whether one fast                repeatedly herein, the joint-employer                 provide are ample testament to the
                                              food franchise can hire an employee                      standard is governed by the common                    adequacy of the comment period.
                                              away from another franchisee of the                      law as applied within the context of the                 Several commenters argue that the
                                              same franchisor, a no-poaching                           Act, not by broader economic factors.                 Board should have held public hearings
                                              agreement between a franchisee and                       See, e.g., Browning-Ferris, 362 NLRB at               in connection with this rulemaking, as
                                              franchisor would not prevent the                         1611 fn. 68, 1615 (rejecting                          it has done in prior rulemakings.
                                              franchisee from hiring an employee                       consideration of ‘‘the wider universe of              Commenters assert that hearings would
                                              away from franchisees of a different                     all underlying economic facts that                    provide more input and would help
                                              franchisor. Whatever highly attenuated                   surround an employment relationship’’);               dispel the impression that the outcome
                                              influence no-poaching agreements may                     id. at 1625 (dissenting opinion)                      was preordained.313 However, the APA
                                              have on market wages, it is a far cry                    (indicating that common-law agency
                                              from direct and immediate control over                   principles, rather than an expansive                    311 See comment of AFL–CIO.
khammond on DSKJM1Z7X2PROD with RULES2




                                              wages as defined in the final rule—the                   policy-based economic realities and                     312 NLRB Further Extends Time for Submitting

                                                                                                                                                             Comments on Proposed Joint-Employer Rulemaking
                                              kind of control that warrants placing the                statutory purpose approach, govern the                in Light of D.C. Circuit’s Recent Browning-Ferris
                                              entity that exercises it at the bargaining                  309 See comment of Texas RioGrande Legal Aid at
                                                                                                                                                             Decision, NLRB (Jan. 11, 2019), https://
                                              table.                                                                                                         www.nlrb.gov/news-outreach/news-story/nlrb-
                                                                                                       4 (quoting Executive Order 13371, 82 FR 9339 (Jan.    further-extends-time-submitting-comments-
                                                 One commenter argues that the                         30, 2017)).                                           proposed-joint-employer-1.
                                              proposed rule violates Executive Order                      310 See comments of Law and Economics                313 See comments of AFL–CIO; IUOE; Members of

                                              13771, ‘‘Reducing Regulation and                         Professors; CWA; SEIU.                                Congress; Cohen; IBT.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 41 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                         11219

                                              does not require public hearings.                            The HR Policy Association counters                  parties could not anticipate and
                                              Further, while the Board understands                      that the Board did not act improperly,                 meaningfully comment on changes
                                              the value of public hearings and is                       and it asserts that (1) the Board did not              made in response to the D.C. Circuit’s
                                              willing to hold hearings in appropriate                   rely on the petitions; (2) the Board was               decision. In addition, the commenter
                                              circumstances, it has seen public                         not required to include the petitions in               argues that ‘‘ ‘[a]gency notice must
                                              hearings devolve into nothing more than                   the record; (3) by submitting the                      describe the range of alternatives being
                                              individuals reading their already-                        petitions with its comments, the AFL–                  considered with reasonable specificity.
                                              submitted written comments aloud. In                      CIO has provided the public an                         Otherwise, interested parties will not
                                              those circumstances, the Board gains                      opportunity to comment on the                          know what to comment on, and notice
                                              little additional information from a                      petitions; and (4) many of the                         will not lead to better-informed agency
                                              public hearing while expending                            organizations involved issued press                    decisionmaking.’ ’’ Id. at 63 (quoting
                                              significant time and resources to hold                    releases regarding their petitions, and                Small Refiner Lead Phase-Down Task
                                              it.314 In light of these considerations, the              there was media coverage about                         Force v. EPA, 705 F.2d 506, 549 (D.C.
                                              Board decided not to hold public                          potential rulemaking. HR Policy                        Cir. 1983)).
                                              hearings in connection with this                          Association at 3–5 and fn. 8 (citing June                 Apparently assuming that the
                                              rulemaking. However, as noted above,                      2018 press releases and news reports                   commenter’s ‘‘logical outgrowth’’
                                              the nearly 29,000 comments submitted                      regarding rulemaking petitions).316                    argument concerns the role that indirect
                                              and the depth of analysis many of them                       The Board has not relied on materials               and reserved-but-unexercised control
                                              provide are ample testament to the                        outside of the administrative record in                may play in the final rule, other
                                                                                                        this rulemaking. The administrative                    commenters counter that the proposed
                                              adequacy of the opportunities for public
                                                                                                        record contains each of the petitions for              rule did not require the Board to ignore
                                              participation in this rulemaking process.
                                                                                                        rulemaking, including those cited by the               indirect or reserved control.318 One
                                              In addition, the Board stated in the
                                                                                                        AFL–CIO. In addition, the Board did not                such commenter contends that
                                              NPRM that it would review the public’s
                                                                                                        undertake this rulemaking based on any                 Examples 4 and 11 in the proposed rule
                                              comments and consider joint-employer
                                                                                                        of these petitions. Each of the petitions              concerned indirect control.319
                                              issues ‘‘afresh, with the good-faith                                                                             Moreover, the commenter argues that
                                              participation of all members of the                       was filed after the Board had publicly
                                                                                                        announced that it planned to                           the NPRM asked for feedback regarding
                                              Board,’’ 83 FR at 46687, and has done                                                                            the common law and thus indicated that
                                              so. The Board thus rejects the suggestion                 promulgate a rule on the joint-employer
                                                                                                        standard.                                              such feedback could result in changes to
                                              that the outcome of this rulemaking was                                                                          the proposed rule.
                                                                                                           One commenter also argues that
                                              preordained. Indeed, the several                                                                                    ‘‘To satisfy the [APA]’s notice
                                                                                                        changes made to the proposed rule in
                                              changes to the proposed rule reflected                                                                           requirement, 5 U.S.C. Sec. 553(b)(3), an
                                                                                                        response to the D.C. Circuit’s decision
                                              in the final rule, based on comments                                                                             agency’s final action must be a logical
                                                                                                        in Browning-Ferris v. NLRB would
                                              received, clearly demonstrate the                                                                                outgrowth of its proposed rule.’’ Idaho
                                                                                                        likely result in a final rule that is not a
                                              contrary.                                                                                                        Conservation League v. Wheeler, 930
                                                                                                        logical outgrowth of the proposed
                                                 The AFL–CIO argues that the Board                      rule.317 In this regard, the commenter                 F.3d 494, 508 (D.C. Cir. 2019). ‘‘A final
                                              violated the APA by relying on                            asserts that the D.C. Circuit has held                 rule qualifies as a logical outgrowth ’if
                                              arguments and evidence outside the                        that ‘‘a final rule was not a logical                  interested parties should have
                                              rulemaking record 315—specifically,                       outgrowth of the proposed rule because                 anticipated that the change was
                                              petitions for rulemaking filed by the                     the court could not conclude ‘that                     possible, and thus reasonably should
                                              CDW and other organizations (including                    petitioners, ex ante, should have                      have filed their comments on the subject
                                              the HR Policy Association, the                            anticipated the changes to be made in                  during the notice-and-comment
                                              Restaurant Law Center, and the IFA).                      the course of the [2012] rulemaking.’ ’’               period.’ ’’ Id. (quoting CSX Transp., Inc.
                                              The AFL–CIO notes that the Board did                      Comment of AFL–CIO at 62 (alteration                   v. Surface Transp. Board, 584 F.3d
                                              not mention the petitions in the NPRM,                    in original) (quoting Daimler Trucks                   1076, 1079 (D.C. Cir. 2009)). ‘‘On the
                                              that the petitions had not otherwise                      North America, LLC v. EPA, 737 F.3d                    other hand, a final rule is not a logical
                                              been disclosed, that the AFL–CIO did                      95, 103 (D.C. Cir. 2013)). The                         outgrowth if ‘interested parties would
                                              not learn about the petitions until                       commenter asserts that interested                      have had to divine [the agency’s]
                                              December 6, 2018, and that the petitions                                                                         unspoken thoughts, because the final
                                              were not made part of the rulemaking                         316 Specifically, HR Policy Association cites the   rule was surprisingly distant from the
                                              record. Further, the AFL–CIO asserts                      following: Callie Harman, NAM Joins Business           proposed rule.’ ’’ Id. (quoting CSX
                                              that the Board departed from past                         Groups to Petition NLRB on Joint-Employer              Transp., 584 F.3d at 1080 (alteration in
                                                                                                        Rulemaking, National Association of Manufacturers      original)).
                                              practice by failing to disclose the                       (June 14, 2018), https://www.shopfloor.org/2018/06/
                                              petitions in the NPRM. Additionally,                      nam-joins-business-groups-petition-nlrb-joint-            Here, the rule proposed in the NPRM
                                              the AFL–CIO asserts that the NPRM did                     employer-rulemaking/; Sean P. Redmond, Coalition       relevantly stated: ‘‘A putative joint
                                              not explain the change in practice.                       Files Petition for Joint Employer Rulemaking, U.S.     employer must possess and actually
                                                                                                        Chamber of Commerce (June 19, 2018), https://          exercise substantial direct and
                                                                                                        www.uschamber.com/article/coalition-files-
                                                 314 See Letter from Chairman Ring to Senator           petition-joint-employer-rulemaking; Joyce Hanson,      immediate control over the employees’
                                              Murray (Nov. 8, 2019), https://www.nlrb.gov/sites/        Restaurant Group Pushes NLRB on Joint Employer         essential terms and conditions of
                                              default/files/attachments/news-story/node-7827/           Issue, Law360 (June 20, 2018), https://                employment in a manner that is not
                                              ring-murray-rulemakings-final.pdf.                        www.law360.com/articles/1055108/restaurant-            limited and routine.’’ The NPRM stated
                                                 315 The AFL–CIO contends that an agency                group-pushes-nlrb-on-jointemployer-issue; CDW
khammond on DSKJM1Z7X2PROD with RULES2




                                              ‘‘cannot rely on arguments or evidence that are not       Seeks Rulemaking to Remedy BFI, CDW (June 13,          that the proposed rule ‘‘reflects the
                                              made part of the rulemaking record.’’ Comment of          2018), https://myprivateballot.com/2018/06/13/         Board’s preliminary view, subject to
                                              AFL–CIO at 59. For support, the AFL–CIO states            cdw-seeks-rulemaking-remedy-bfi/; Industry             potential revision in response to
                                              that 5 U.S.C. Sec. 706 ‘‘direct[s] courts to ‘review      Petitions NLRB for Joint-Employer Rulemaking,          comments, that the Act’s purposes of
                                              the whole record or those parts of it cited by a party’   Independent Lubricant Manufacturers Association
                                              in determining whether agency action was                  (June 18, 2018), https://www.ilma.org/ILMA/ILMA/       promoting collective bargaining and
                                              ‘arbitrary, capricious, an abuse of discretion, or        ILMA-News/June/Industry_Petitions_NLRB_for_
                                                                                                        Joint-Employer_Rulemaking.aspx.                         318 See, e.g., comment of CDW.
                                              otherwise not in accordance with law.’ ’’ Id.
                                              (quoting 5 U.S.C. Sec. 706).                                 317 See comment of AFL–CIO.                          319 Id.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM       26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 42 of 58
                                              11220            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              minimizing industrial strife are best                    considered evidence of both direct and                step of the standard announced in that
                                              served by a joint-employer doctrine that                 indirect control in finding joint-                    decision. In addition to the
                                              imposes bargaining obligations on                        employer status. Given all this,                      uncertainties created by this recent
                                              putative joint employers that have                       interested parties should have                        history, there is the vagueness of the
                                              actually played an active role in                        anticipated that the change was                       Browning-Ferris standard itself, which
                                              establishing essential terms and                         possible, and thus reasonably should                  failed to draw meaningful distinctions
                                              conditions of employment.’’ The NPRM                     have filed their comments on the subject              between direct control and indirect and/
                                              also stated that the Board ‘‘seeks                       during the notice-and-comment period.                 or reserved-but-unexercised control.
                                              comment on all aspects of its proposed                   See Idaho Conservation League, 930                    The final rule addresses these
                                              rule,’’ including whether ‘‘the common                   F.3d at 508. In short, the final rule is a            shortcomings, better effectuates
                                              law dictate[s] the approach of the                       logical outgrowth of the proposed rule.               applicable common-law principles,
                                              proposed rule or of Browning-Ferris.’’                                                                         provides more guidance to the regulated
                                                In Browning-Ferris v. NLRB, the D.C.                   N. Comments Regarding the Practical
                                                                                                                                                             community, and prevents the unsettling
                                              Circuit partially affirmed the Board’s                   Consequences of Adopting the Final
                                                                                                                                                             of expectations that occurs when
                                              articulation of the joint-employer test in               Rule Versus Retaining Browning-Ferris
                                                                                                                                                             precedent is overruled by adjudication
                                              Browning-Ferris, ‘‘including [its]                          Many commenters argue that                         and the new standard is applied
                                              consideration of both an employer’s                      clarifying the joint-employer standard as             retroactively.
                                              reserved right to control and its indirect               proposed in the NPRM will make joint-                    Commenters also variously claim that
                                              control over employees’ terms and                        employer determinations more                          retaining or discarding Browning-Ferris
                                              conditions of employment.’’ 911 F.3d at                  predictable, and that greater                         will have an adverse effect on the
                                              1199–1200. The court expressly did not                   predictability in this regard is                      economy. Some contend that Browning-
                                              decide, however, whether either                          desirable.320 More specifically,                      Ferris encourages entities to bring job
                                              reserved or indirect control, without                    commenters contend that businesses                    functions in-house, which can increase
                                              more, could establish a joint-employer                   desire guidance on this issue and have                costs.325 Others argue that Browning-
                                              relationship. Id. at 1213, 1218.                         delayed plans to grow as they wait for                Ferris discourages entities from
                                                Consistent with the D.C. Circuit’s                     a ‘‘permanent fix.’’ 321 On the other side,           contracting with small businesses,
                                              decision in Browning-Ferris v. NLRB,                     commenters argue that retaining the                   which may be owned by minorities.326
                                              the final rule refines the rule proposed                 Browning-Ferris standard will promote                 In contrast, some commenters argue that
                                              in the NPRM by providing that an                         predictability because it is a recent                 exempting from joint-employer status
                                              entity’s indirect control and                            precedent that the Board has                          entities that exercise only indirect
                                              unexercised, contractually reserved                      infrequently applied,322 and it will                  control will encourage ‘‘fissuring’’ of the
                                              authority over essential terms and                       continue to govern in pending cases                   workplace through widespread
                                              conditions of employment of another                      given the final rule’s prospective                    outsourcing of contract work.327
                                              employer’s employees are probative of                    application.323 Some commenters claim                 Commenters argue that such contracting
                                              joint-employer status. For the reasons                   that while the NPRM cited a need to                   shifts costs onto employees and
                                              explained herein, the final rule provides                counteract uncertainty, it cited no                   unions,328 allows companies to evade
                                              that these factors are probative only to                 evidence that Browning-Ferris actually                their legal obligations,329 impedes
                                              the extent that they supplement and                      created uncertainty.324                               employees from organizing and
                                              reinforce evidence of direct and                            Having considered these comments,                  engaging in other protected activities to
                                              immediate control over essential terms                   the Board believes that the final rule                improve their working conditions,330
                                              and conditions of employment.                            will promote predictability and                       and harms minority workers employed
                                                Although the final rule modifies the                   certainty and will do so more effectively             by subcontractors,331 among other
                                              proposed rule in this and other respects,                than retaining the Browning-Ferris                    deleterious consequences.332 In
                                              the final rule remains a logical                         standard. As recounted in the NPRM,                   addition, the one commenter contends
                                              outgrowth of the proposed rule. First,                   the last several years have seen                      that no commenter has provided
                                              the final rule, like the proposed rule,                  oscillation in this area of labor law,                specific evidence of Browning-Ferris’s
                                              requires proof of ‘‘substantial direct and               starting with Browning-Ferris’s                       adverse economic impact.333
                                              immediate control’’ to establish joint-                  overruling of preexisting precedent, the
                                              employer status. The final rule provides                 overruling of Browning-Ferris in Hy-                     325 Comments of Competitive Enterprise Institute;

                                              that indirect and reserved control are                   Brand I, and the vacatur of Hy-Brand I                American Staffing Association.
                                                                                                                                                                326 Comments of Chamber of Commerce; IFA.
                                              also probative, but the proposed rule                    in Hy-Brand II, which reinstated                         327 Comments of Law and Economics Professors;
                                              was merely silent regarding those forms                  Browning-Ferris by default, not based on              Attorneys General of New York, Pennsylvania et al.;
                                              of control. The proposed rule did not                    the doctrinal convictions of a Board                  Southern Poverty Law Center.
                                              expressly exclude them. The proposed                     majority. See 83 FR at 46682. Thereafter,                328 Comments of Law and Economics Professors;

                                              rule also made clear the Board’s                         the D.C. Circuit remanded the Board’s                 SEIU.
                                              understanding that the joint-employer                    decision in Browning-Ferris, citing its
                                                                                                                                                                329 Comments of LIUNA; 1199SEIU United

                                              standard had to be consistent with the                                                                         Healthcare Workers East.
                                                                                                       overbroad and erroneous application of                   330 Comments of NELP; Jobs with Justice; Karyn
                                              common law, and it referred to the                       the ‘‘indirect control’’ factor and its               Panitch.
                                              Browning-Ferris standard and requested                   failure to explain or apply the second                   331 Comments of APALA.
                                              comments regarding whether the                                                                                    332 See, e.g., comment of Law and Economics

                                              common law dictated that standard.                         320 Comments of Senate HELP Committee;
                                                                                                                                                             Professors (arguing that to protect competition in
                                              Thus, the proposed rule reasonably                                                                             fissured labor markets, the Board should retain
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                       Polsinelli PC; Carpets Plus Color Tile.
                                                                                                                                                             Browning-Ferris or, alternatively, adopt a test
                                              signaled that inclusion in the final rule                  321 Comment of Tamra Kennedy, small business
                                                                                                                                                             similar to those used by antitrust authorities that
                                              of indirect and reserved-but-unexercised                 owner; see also comments of Food Marketing            asks whether an entity has sufficient market power
                                              control was entirely possible. Moreover,                 Institute; IFA Franchisee Forum.                      to justify joint-employer status).
                                                                                                         322 Comments of AFL–CIO; IUOE; CWA.                    333 See comment of AFL–CIO; see also comment
                                              the NPRM described the development of                      323 Comments of Attorneys General of New York,
                                                                                                                                                             of Pacific Management Consulting Group (asserting
                                              the joint-employer doctrine, including                   Pennsylvania, et al.                                  the absence of reliable evidence that Browning-
                                              cases such as Floyd Epperson, 202                          324 Comments of AFL–CIO; Attorneys General of       Ferris negatively impacted the revenues of publicly-
                                              NLRB at 23, in which the Board                           New York, Pennsylvania, et al.                        traded franchise restaurants).



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 43 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                             11221

                                                 In determining the appropriate joint-                 protection of a brand.336 The commenter               Restaurant No. 62, 245 NLRB 78, 120
                                              employer standard, the Board does not                    also argues that any negative impact of               (1979), and cases cited therein, enfd. in
                                              rely on the various purported economic                   Browning-Ferris on franchising is                     part sub nom. Kallmann v. NLRB, 640
                                              effects that commenters predict the final                minimal given that a franchisor can                   F.2d 1094 (9th Cir. 1981).
                                              rule will have on the economy at large                   allocate liability by imposing an                        Of course, the Board will examine the
                                              or on workers’ wages. The final rule is                  indemnification clause on its                         circumstances of the franchisor-
                                              governed by the common law of joint-                     franchisees. Other commenters argue                   franchisee relationship in each
                                              employer relationships in the particular                 that, under a narrower joint-employer                 particular case to determine whether the
                                              context of the Act and further based on                  standard, franchisors will exert more                 franchisor has exercised direct and
                                              a policy judgment that it would                          control because there is less risk of                 immediate control over the essential
                                              frustrate, rather than promote, national                 liability, and this will undermine                    terms and conditions of employment of
                                              labor policy to draw into a collective-                  franchisees’ independence.337 And                     the franchisee’s employees. Whether a
                                              bargaining relationship an entity that                   according to another commenter,                       franchisor exercises control over
                                              has never exercised any substantial                      Browning-Ferris or a similar standard is              essential working conditions is
                                              direct and immediate control over                        necessary to countermand ‘‘blatant                    measured objectively and is not based
                                              essential terms and conditions of                        restrictions’’ on labor-market                        on the franchisor’s subjective intent.
                                              employment of another employer’s                         competition in the franchising industry,              The possibility that the franchisor can
                                              employees. Thus, as it did in Browning-                  such as franchisors’ use of ‘‘no-                     ‘‘work around’’ joint-employer liability
                                              Ferris, the Board rejects consideration of               poaching’’ agreements.338                             by negotiating an indemnification
                                              ‘‘the wider universe of all underlying                      As explained elsewhere, the Board                  clause is not a sufficient reason to find
                                              economic facts that surround an                          has decided not to include in the final               that its brand-protection measures
                                              employment relationship.’’ 362 NLRB at                   rule any provisions that are tailored to              should be considered evidence of joint-
                                              1611 fn. 68, 1615 (citing, inter alia,                   particular industries or business                     employer status. Put somewhat
                                              Hearst, 322 U.S. 111) (internal quotes                   models. Instead, the final rule                       differently, as between franchisors and
                                              omitted). The Board also finds                           establishes a single, generally applicable            franchisees, we decline to put our
                                              unpersuasive comments stating that this                  standard that assesses the ‘‘totality of              thumb on the scale. That is exactly what
                                              approach will limit employees’ rights                    the relevant facts in each particular                 we would do if we imposed a joint-
                                              under the Act when an entity is found                    employment setting.’’ As appropriate,                 employer standard that compels
                                              not to be a joint employer because it has                the Board will take the nature of the                 franchisors to contract around an
                                              not actually exercised substantial direct                particular business or industry into                  otherwise forced choice between
                                              and immediate control over the                           consideration in applying the standard                protecting their brand and incurring
                                              essential terms and conditions of                        articulated in the final rule to the facts            joint-employer status, or avoiding joint-
                                              another employer’s employees. In that                    of the specific case.                                 employer status by abandoning their
                                              situation, the employees will still have                    Importantly, however, we note that                 legal duty to protect their brand.
                                              a statutory employer, and they will have                 routine contracting practices of                         Similarly, a variety of corporate social
                                              all the rights safeguarded by Section 7                  independent businesses will not                       responsibility standards are routine
                                              of the Act: The right to self-organization,              evidence joint-employer status under                  contracting practices and will not be
                                              to form, join, or assist labor                           the final rule. Such practices include                considered evidence of joint-employer
                                              organizations, to bargain collectively                   provisions in business contracts that set             status. Examples include an entity’s
                                              through representatives of their own                     the objectives, basic ground rules, or                requirement that another employer
                                              choosing, to engage in other concerted                   expectations for another entity’s                     adopt safety and quality standards 339 or
                                              activities for mutual aid or protection,                 performance under a contract. As                      harassment guidance.340 As to the
                                              and to refrain from any or all of these                  discussed above, and in agreement with                claimed economic effects of no-
                                              activities. None of those rights will be                 the D.C. Circuit, the final rule                      poaching agreements on market wages,
                                              forfeited. Again, the standard is based                  differentiates ‘‘those aspects of indirect            the Board has addressed that comment
                                              on applicable common-law principles in                   control relevant to status as an                      already.341
                                              the context of the Act, not on favoring                  employer’’ from ‘‘those quotidian                        Commenters present conflicting views
                                              more (or fewer) statutory employers of                   aspects of common-law third-party                     regarding the effect the proposed rule
                                              a given group of employees as a matter                   contract relationships,’’ which ‘‘cast no             would have on collective bargaining.
                                              of socio-economic policy.                                meaningful light on joint-employer                    Some contend that Browning-Ferris
                                                 Some commenters argue that legally                    status.’’ Browning-Ferris v. NLRB, 911                improperly places at the negotiating
                                              required actions franchisors take to                     F.3d at 1220. For example, a franchisor’s             table entities with widely different
                                              protect their trademark and service                      maintenance of brand-recognition                      interests or attenuated control over
                                              mark should not be considered evidence                   standards (e.g., a requirement that the               employment terms.342 Others say that a
                                              of joint-employer status.334 Relatedly,                  employees of its franchisees wear a                   more restrictive standard will impede
                                              some commenters argue that corporate                     particular uniform) will not evidence                 meaningful bargaining. These
                                              social responsibility standards, or                      direct control over                                   commenters argue that workers will be
                                              ethics-based policies that entities                      employees’ ‘‘essential’’ working                      unable to bargain with the entity that
                                              require their subcontractors to follow,                  conditions. See Love’s Barbeque                       effectively controls their working
                                              should not be considered evidence of
                                              joint-employer status.335                                  336 See Comment of AFL–CIO.                           339 See comments of COLLE; Restaurant Law
khammond on DSKJM1Z7X2PROD with RULES2




                                                 By contrast, the one commenter                          337 Comments of Chairman Scott and Ranking          Center.
                                              argues that the Board should not                         Member Murray; Franchisee Advocacy Consulting.          340 See comments of HR Policy Association;

                                              disregard evidence of influence where it                   338 See comment of Law and Economics                Center for Workplace Compliance.
                                                                                                                                                               341 See Sec. V.M, ‘‘Response to Comments:
                                              is subjectively motivated by concerns                    Professors; see also comment of American
                                                                                                       Association of Franchisees & Dealers (arguing that    Comments Regarding the Propriety of Using
                                              such as compliance with the law or                       the Board should determine whether a franchisor’s     Rulemaking to Revisit the Joint-Employer Standard
                                                                                                       direct economic control, such as over the cost of     and of the Adequacy of the Rulemaking Process,’’
                                                335 Comments of HR Policy Association;                 labor, undermines the franchisee’s equity             supra.
                                              Competitive Enterprise Institute.                        ownership in the business).                             342 Comments of General Counsel Robb; CDW.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 44 of 58
                                              11222            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              conditions 343—an entity that can                        commenters who cite Management                        Browning-Ferris v. NLRB, 911 F.3d at
                                              terminate its contract with the                          Training against the proposed rule, that              1219–1220.
                                              subcontractor without any legal                          decision supports the standard adopted                   Commenters argue that by eliminating
                                              consequences 344—or that they will be                    in the final rule. See 317 NLRB at 1355,              the bargaining obligation of an entity
                                              unable to bargain over a particular issue                1357–1359. In Management Training, a                  that exercises indirect control over the
                                              if the entity that controls that issue and               government entity that was exempt from                terms and conditions of employment of
                                              that issue only is not their joint                       the NLRA had to approve certain                       another employer’s employees, the
                                              employer,345 among other things.346                      economic terms and conditions before                  proposed rule will cause labor unrest,
                                              And some commenters, citing                              the private-sector government contractor              such as strikes.351 This concern is
                                              Management Training Corp., 317 NLRB                      could implement them. However, the                    overstated. The commenters present no
                                              1355 (1995), argue that limiting                         contractor was able to effect                         evidence that there was more labor
                                              consideration of control to ‘‘essential’’                noneconomic terms without approval.                   unrest prior to Browning-Ferris, when
                                              working conditions will frustrate                        Despite the government entity’s control               indirect control alone was not
                                              bargaining.347                                           over some working conditions, the                     dispositive of joint-employer status. In
                                                 The Board shares the concerns of                      Board found it appropriate to assert                  any event, the Board has modified the
                                              those commenters who observe that the                    jurisdiction over the contractor. The                 proposed rule to make indirect control
                                              Browning-Ferris standard may place at                    Board’s decision in Management                        of essential terms and conditions
                                              the table entities that lack sufficient                  Training demonstrates its conviction                  probative of such status, provided it
                                              control over terms and conditions of                     that employees can engage in                          supplements and reinforces evidence of
                                              employment to warrant their                              meaningful collective bargaining with                 direct and immediate control.
                                              participation in collective bargaining.                  their employer even though another                       Some commenters advance arguments
                                              The Board recognizes that the second                     entity controls some essential terms and              related to Section 8(b)(4)’s prohibition
                                              step of that standard addressed that                     conditions and cannot be compelled to                 on secondary picketing. For example,
                                              concern, but the Browning-Ferris                                                                               the one commenter contends that joint-
                                                                                                       participate in collective bargaining,
                                              Board’s failure to flesh out the                                                                               employer status should not render an
                                                                                                       whether on jurisdictional grounds as in
                                              requirements of that step or provide                                                                           otherwise neutral entity a ‘‘primary’’
                                                                                                       Management Training or because it is
                                              illustrative guidance through                                                                                  employer lawfully subject to picketing
                                                                                                       not a joint employer of the employees at
                                              application rendered that step                                                                                 unless the entity is directly and
                                                                                                       issue.349
                                              effectively meaningless. In contrast, the                                                                      substantially involved in controlling the
                                              Board believes that the final rule fosters                  One commenter contends that an                     term or condition of employment in
                                              meaningful bargaining by requiring that                  entity’s requirement that another                     dispute.352 In contrast, some
                                              an entity exercise such substantial                      employer comply with government                       commenters argue that by narrowing the
                                              direct and immediate control over one                    regulations should be considered                      joint-employer standard, the proposed
                                              or more essential working conditions                     evidence of direct control, citing                    rule undermines First Amendment and
                                              ‘‘as would warrant a finding that the                    Watsonville Register-Pajaronian, 327                  other precedent that grants employees
                                              entity meaningfully affects matters                      NLRB 957 (1999), and related cases.350                wide leeway to engage in picketing.353
                                              relating to the employment                               In those cases, the Board held that an                   This rulemaking solely concerns the
                                              relationship.’’ 348 Contrary to                          employer has a duty to bargain over                   joint-employer standard, not other legal
                                                                                                       ‘‘discretionary action taken to comply                doctrines. The Board therefore declines
                                                343 Comments of NELP; EPI; and SEIU Local 32BJ.        with [a government regulation].’’ 327                 the request to modify standards
                                                 344 Comment of Professor Kulwiec (citing Local        NLRB at 959; accord Dickerson-                        regarding secondary picketing.
                                              No. 447, Plumbers (Malbaff Landscape                     Chapman, Inc., 313 NLRB 907, 942
                                              Construction), 172 NLRB 128 (1968)); see also James
                                                                                                                                                             Certainly, as was stated in the NPRM, a
                                              Hannley (noting that a franchisor can terminate its
                                                                                                       (1994); Long Island Day Care Services,                finding of joint-employer status may
                                              relationship with the franchisee if employees of the     303 NLRB 112, 116–117 (1991); Hanes                   determine whether picketing directed at
                                              franchisee engage in organizing).                        Corp., 260 NLRB 557, 557, 562 (1982).                 a particular business is primary and
                                                 Professor Kulwiec also posits that the concern                                                              lawful, or secondary and unlawful. In
                                              over having too many employers at the bargaining
                                                                                                          This argument is misplaced. The rule
                                              table is overstated because the existence of a joint-    does not provide that employers have                  that sense, the final rule’s clarification
                                              employer relationship does not require bargaining        no duty to bargain over discretionary                 of the joint-employer standard should
                                              unless the Board finds that the unit is appropriate      action taken to comply with a                         make it easier to determine whether an
                                              for collective bargaining.                                                                                     entity is a joint employer and thus a
                                                 345 Comments of AFL–CIO; SEIU Local 32BJ.
                                                                                                       government regulation. Rather, it
                                                 346 See, e.g., Law and Economics Professors           addresses which entity—the employees’                 lawful target of picketing along with
                                              (citing Sec. 1 of the NLRA in arguing that the NLRA      direct employer, or a third party—must                employees’ direct employer. The Board
                                              was designed to restore ‘‘equal[ ] . . . bargaining      engage in such bargaining. Requiring the              is not inclined, however, to rule that an
                                              power between employers and employees’’ and              direct employer to comply with                        entity may be a joint employer and
                                              ‘‘stabiliz[e] . . . competitive wage rates and                                                                 remain shielded from picketing under
                                              working conditions within and between
                                                                                                       government regulations does not
                                              industries,’’ through bargaining between workers         evidence joint-employer status because                certain circumstances, as the above
                                              with ‘‘full freedom of association [and] actual          requiring such compliance is part of the              comments effectively request. By the
                                              liberty of contract’’ and employers ‘‘organized in       basic ground rules or expectations for                same token, the Board is equally
                                              the corporate or other forms of ownership                                                                      unwilling to use this rulemaking to
                                              association’’).
                                                                                                       that employer’s performance under a
                                                 347 Comments of AFL–CIO; SEIU Local 32BJ.             contract. Thus, considering such                      narrow the range of activity prohibited
                                                 348 In this regard, we adhere to the view             requirements as evidence of joint-                    by Section 8(b)(4). Both goals are
khammond on DSKJM1Z7X2PROD with RULES2




                                              articulated in the NPRM that the NLRA’s ‘‘policy         employer status would be contrary to                  extraneous to the task at hand.
                                              of promoting collective bargaining to avoid labor        the common-law principles stated in                      In addition, commenters argue that
                                              strife and its impact on commerce is not best                                                                  narrowing the joint-employer standard
                                              effectuated by inserting into a collective-bargaining
                                                                                                          349 See also Supplementary Information Sec. V.G,
                                              relationship a third party that does not actively
                                                                                                                                                               351 Comment of UA.
                                              participate in decisions establishing unit               ‘‘Response to Comments: Comments Regarding
                                              employees’ wages, benefits, and other essential          ‘Essential’ Terms and Conditions of Employment,’’      352 See comments of General Counsel Robb;

                                              terms and conditions of employment.’’ 83 FR at           supra.                                                World Floor Covering Association.
                                              46687.                                                      350 See comment of AFL–CIO.                         353 Comments of SEIU Local 32BJ; AFT.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 45 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                            11223

                                              will cause small employers to become        for example, suggests imposing liability                           Board law regarding joint-employer
                                              solely liable for the NLRA violations of    only where the joint employer is                                   status that have occurred in the past
                                              larger contracting entities.354 However,    involved in the unlawful act or controls                           several years. The NPRM explained that
                                              this rulemaking is not outcome-driven.      the essential term or condition of                                 the rule was necessary ‘‘[i]n light of the
                                              The Board’s task is not to craft a rule     employment at issue in the unlawful                                continuing uncertainty in the labor-
                                              that either maximizes or minimizes          act, or where the unfair labor practice                            management community created by
                                              third-party exposure to unfair labor        cannot be adequately remedied without                              these adjudicatory variations in defining
                                              practice liability. It is to ensure that a  its participation.357 Similarly, another                           the appropriate joint-employer standard
                                              third party genuinely is the joint          commenter urges the Board to adopt an                              under the Act.’’ 83 FR at 46682. There
                                              employer of a separate employer’s           ‘‘instrumentality test,’’ under which                              has been no recent oscillation in the
                                              employees before exposing it to such        liability would be imposed on a joint                              law, however, regarding the issue of
                                              liability and to otherwise-secondary        employer only if it controls or has the                            joint liability, which the Board did not
                                              economic pressures, and before              right to control the particular                                    change or even address in Browning-
                                              imposing on it a duty to bargain with       instrumentality alleged to have caused                             Ferris. Indeed, the Board majority in
                                              the representative of those employees.      the harm.358 Other commenters urge the                             Browning-Ferris emphasized that the
                                              For all the reasons stated herein, the      Board to apply the standard set forth in                           decision ‘‘[did] not modify any other
                                              final rule fulfills that task and does so   Capitol EMI Music, 311 NLRB 997                                    legal doctrine, create ‘different tests’ for
                                              with greater clarity, predictability, and   (1993), enfd. 23 F.3d 399 (4th Cir. 1994),                         ‘other circumstances,’ or change the way
                                              fidelity to the purposes and policies of    and impose liability on a joint employer                           that the Board’s joint-employer doctrine
                                              the Act than did Browning-Ferris.           for non-bargaining-related unfair labor                            interacts with other rules or restrictions
                                                 Finally, one commenter argues that       practices only where the joint employer                            under the Act.’’ Browning-Ferris, 362
                                              eliminating the relevance of                knew or should have known of the                                   NLRB at 1618 fn. 120.
                                              contractually reserved authority, which     unlawful act and acquiesced in it by                                  The issue of joint liability is also best
                                              is objective and documentable, will         failing to protest or otherwise resist                             resolved on a case-by-case basis.
                                              engender litigation and impose              it.359 Finally, some commenters request                            Determining whether one joint
                                              recordkeeping and related costs.355         that the rule eliminate joint-employer                             employer is jointly and severally liable
                                              However, the proposed rule did not          liability altogether and state that a joint                        for the other joint employer’s unfair
                                              eliminate contractually reserved            employer is not liable for actions taken                           labor practices depends on the nature of
                                              authority, and the final rule deems         by another employer.360                                            the joint-employment relationship and
                                              evidence of contractually reserved             The Board declines to expand the                                the type of violation alleged. As the
                                              authority probative of joint-employer       scope of the proposed rule to change                               Board explained in Capitol EMI Music,
                                              status to the extent it supports and        Board precedent regarding the joint-and-                           ‘‘traditional’’ joint-employment
                                              reinforces evidence of direct and           several liability of one joint employer                            relationships, where each joint
                                              immediate control.                          for the unfair labor practices committed                           employer has a representative at a
                                              O. Comments Regarding the                   by another joint employer. Although                                worksite and shares supervision of the
                                              Circumstances Under Which a Joint           joint-employer status is a predicate of                            employees, might call for a different
                                              Employer Will Be Found Liable for           joint liability, the analyses of the two                           analysis of liability than an arrangement
                                              Another Employer’s Unfair Labor             concepts have often been distinct, each                            where one joint employer simply
                                              Practices                                   with its own considerations and                                    supplies employees to another but takes
                                                                                          caselaw. Capitol EMI Music, for                                    no part in their daily direction. 311
                                                 Many commenters favor the proposed
                                                                                          example, is longstanding precedent                                 NLRB at 1000. The Board was also
                                              rule to the extent it exposes an entity to
                                                                                          regarding an exception to joint-and-                               careful to limit the exception to joint
                                              unfair labor practice liability as a joint
                                                                                          several liability of the kind some                                 liability announced in Capitol EMI
                                              employer only if it exercises substantial
                                                                                          commenters request, but it and other                               Music not just to a specific kind of joint-
                                              direct and immediate control over
                                                                                          precedent regarding exceptions to joint                            employment relationship but also to a
                                              another employer’s employees’ terms
                                                                                          liability are not cited or discussed in the                        specific unfair labor practice, one that
                                              and conditions of employment.     356 These
                                                                                          NPRM. It is thus doubtful that the                                 depends on an unlawful motive. Id. at
                                              commenters observe that the ‘‘direct and
                                                                                          public has been properly apprised that                             1001. The Board also observed that the
                                              immediate control’’ requirement will
                                                                                          this issue could be addressed in the                               result might be different where a
                                              allow their members, such as
                                                                                          instant rulemaking. See Idaho                                      purportedly ‘‘innocent’’ joint employer
                                              franchisors and large retailers, to
                                                                                          Conservation League v. Wheeler, 930                                nevertheless benefits from a co-
                                              oversee the general performance of
                                                                                          F.3d at 508 (‘‘[A] final rule is not a                             employer’s unlawful conduct, or where
                                              franchisees or retail business partners
                                                                                          logical outgrowth if interested parties                            an employer arrangement allows a joint
                                              without being held liable for events in
                                                                                          would have had to divine [the agency’s]                            employer to inquire into its co-
                                              workplaces over which they have little
                                                                                          unspoken thoughts, because the final                               employer’s actions. Id. at 999. The
                                              or no control.
                                                                                          rule was surprisingly distant from the                             Board believes this case-by-case
                                                 Other commenters urge us to adopt a
                                                                                          proposed rule.’’) (second alteration in                            approach is sound, and therefore
                                              final rule that would further limit unfair
                                                                                          original) (internal quotation marks                                decline the invitation to address joint
                                              labor practice liability even when an
                                                                                          omitted).                                                          liability in the final rule.
                                              entity is found to be a joint employer of
                                                                                             Moreover, as explained in the NPRM,
                                              another’s employees. One commenter,                                                                            P. Comments Regarding Industry-
                                                                                          a significant motive for this rulemaking
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                          is to resolve the recent oscillations in                           Specific Standards
                                                354 Comments of AFL–CIO; IUOE.
                                                 355 See comment of AFL–CIO. Conversely, the
                                                                                                         357 See comment of Job Creators Network.
                                                                                                                                                               Several commenters discuss
                                              IFA argues that Browning-Ferris has increased legal                                                            particular industries or business
                                                                                                         358 See comment of IFA.
                                              spending by encouraging individuals to pursue the
                                              ‘‘deeper pockets’’ of larger entities.                     359 See comments of General Counsel Robb; HR        relationships,361 such as home
                                                 356 See comments of the Restaurant Law Center;        Policy Association.
                                              National Retail Federation; American Road &                360 See comments of World Floor Covering              361 Comments of General Counsel Robb; World

                                              Transportation Builders Association.                     Association; Glover.                                  Floor Covering Association.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 46 of 58
                                              11224            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              builders,362 the contract-security                       Certain considerations must be taken                  Board will not find indirect or
                                              industry,363 retailers,364 and the                       into account under the Act that may not               unexercised reserved control, alone,
                                              franchisor-franchisee relationship.365 As                apply in other contexts. The Board must               dispositive, but such control will be
                                              to franchising, for example, some                        consider when an entity’s participation               relevant to the extent it supplements
                                              commenters contend that legally                          in collective bargaining is required for              and reinforces evidence of direct and
                                              required actions franchisors take to                     there to be meaningful bargaining over                immediate control. The Board’s analysis
                                              protect their trademark and service                      the terms and conditions of employees                 here, in the words of the D.C. Circuit,
                                              mark should not be considered evidence                   directly employed by another employer.                ‘‘color[s] within the common-law lines
                                              of joint-employer status.366 Commenters                  The Board also must consider under                    identified by the judiciary.’’ Id. at 1208.
                                              say that franchisors protect their brand                 what circumstances it is appropriate to               The standard we adopt in this final rule
                                              by providing franchisees, among other                    impose liability on an entity that did not            dates back at least to the Board’s
                                              things, training,367 information                         directly commit an unfair labor practice.             adoption in Laerco Transportation, 269
                                              systems,368 and guidance on                              And the Board must consider Congress’s                NLRB 324 (1984), and TLI, Inc., 271
                                              marketing 369 and customer service.370                   concern with limiting third parties’                  NLRB at 798–799, of the United States
                                              The Board has decided not to address                     exposure to economic warfare in labor                 Court of Appeals for the Third Circuit’s
                                              particular industries or types of                        disputes.                                             explication of the joint-employer
                                              business relationships in the final rule,                  The Board intends in this final rule to             doctrine in NLRB v. Browning-Ferris
                                              because doing so would unnecessarily                     return, with clarifying guidance, to the              Industries of Pennsylvania, Inc., 691
                                              lengthen and complicate the rule.                        carefully balanced law as it existed                  F.2d 1117, 1124 (3d Cir. 1982). In the
                                              Instead, the final rule provides                         before the Board’s departure in                       ensuing decades, no reviewing court
                                              definitions and other clarifications that                Browning-Ferris. Before, the Board                    ever suggested the Board’s standard was
                                              are intended to apply to a wide range of                 found joint-employer status only when                 at variance with the common law, or
                                              industries and business relationships,                   the additional entity had direct and                  that it must be extended to the outer
                                              and the final rule also emphasizes that                  immediate control, as opposed to                      bounds of the common law.
                                              joint-employer status ‘‘must be                          indirect influence or unexercised,                    Nevertheless, the Board’s 2015
                                              determined on the totality of the                        contractually reserved authority, over                Browning-Ferris decision departed from
                                              relevant facts in each particular                        one or more of the most contextually                  this established body of precedent.
                                              employment setting.’’ The rule                           meaningful, essential terms and                          With this final rule, the Board has
                                              addresses contracting practices common                   conditions of employment such that,                   endeavored to provide greater clarity,
                                              to many industries, such as the use of                   considering all of the circumstances, the
                                                                                                                                                             guided by the many comments received,
                                              cost-plus contracts and control asserted                 entity meaningfully affected matters
                                                                                                                                                             as to how it will determine joint-
                                              pursuant to regulatory requirements.                     relating to the employment relationship.
                                                                                                                                                             employer status. Joint-employer
                                              The Board anticipates that any industry-                 Indirect influence or unexercised,
                                                                                                                                                             determinations have always been fact-
                                              specific refinements will be developed                   contractually reserved authority were
                                                                                                                                                             intensive, and they will continue to be
                                              case by case through adjudication.                       considered, in weighing the
                                                                                                                                                             so. The Board is confident, however,
                                                                                                       circumstances, as supplementing and
                                              VI. Justification for the Final Rule                                                                           that a more precise definition of the key
                                                                                                       reinforcing evidence of direct and
                                                                                                                                                             terms and analytical points will
                                                 The joint-employer doctrine plays an                  immediate control, but neither was
                                                                                                                                                             facilitate consistent application of the
                                              important role in the administration of                  dispositive. The Browning-Ferris Board
                                                                                                       disrupted this precedent—without due                  standard across a broad spectrum of
                                              the National Labor Relations Act (NLRA                                                                         industries and business-to-business
                                              or the Act). Most notably, the doctrine                  regard to issues of liability and limiting
                                                                                                       the scope of labor disputes, and with                 relationships. This specificity stands in
                                              determines when an entity other than                                                                           contrast to the uncertainty the Board’s
                                              the direct employer of certain                           inadequate consideration of meaningful
                                                                                                       bargaining—to establish that indirect or              Browning-Ferris decision created and
                                              employees has a duty to bargain with                                                                           that the D.C. Circuit justifiably
                                              the representative of those employees,                   unexercised, contractually reserved
                                                                                                       control could alone be dispositive.                   criticized, including by its failure to stay
                                              may be liable for unfair labor practices                                                                       within common-law bounds in its
                                                                                                         As noted above, in reviewing the
                                              it did not directly commit, and may be                                                                         treatment of indirect control and to give
                                                                                                       Board’s Browning-Ferris decision, the
                                              targeted as a primary employer in a                                                                            any content whatsoever to the second,
                                                                                                       United States Court of Appeals for the
                                              labor dispute. The joint-employer                                                                              NLRA-based step of the standard
                                                                                                       District of Columbia Circuit held that,
                                              analysis set forth in this final rule is                                                                       announced therein.
                                                                                                       under the common law, indirect and
                                              based on the common law as applied in                    unexercised reserved control can factor                  Broadly, an entity shares or
                                              the particular context of the NLRA.                      in the Board’s joint-employer analysis,               codetermines the essential terms and
                                                 362 Comment of National Association of Home
                                                                                                       but the Board exceeded the bounds of                  conditions of another employer’s
                                              Builders.                                                the common law by ‘‘failing to                        employees—that is, may be considered
                                                 363 Comment of John B. Hirsch.                        distinguish evidence of indirect control              a joint employer of those employees—
                                                 364 Comment of National Retail Federation.            that bears on workers’ essential terms                when it possesses and exercises
                                                 365 Comment of IFA.                                   and conditions from evidence that                     substantial direct and immediate control
                                                 366 Comments of General Counsel Robb; David
                                                                                                       simply documents the routine                          over the employees’ essential terms and
                                              Kaufmann, lead author of ABA Franchise Law               parameters of company-to-company                      conditions. The final rule’s definitions
                                              Journal article (discussing the Lanham Act, 15
                                              U.S.C. Secs. 1051–1141, the FTC Franchise Rule, 16       contracting.’’ Browning-Ferris v. NLRB,               of ‘‘essential terms and conditions of
                                                                                                       911 F.3d at 1213, 1216. The court did                 employment,’’ ‘‘direct and immediate
khammond on DSKJM1Z7X2PROD with RULES2




                                              CFR part 436, Secs. 436.1 et seq., and the FTC 2007
                                              Franchise Rule Compliance Guide); see also               not pass on whether indirect or                       control,’’ and when direct and
                                              comment of Kaufmann (discussing various state            unexercised reserved control could ever               immediate control is ‘‘substantial’’ are
                                              laws).
                                                 367 Comments of IFA; CDW; Polsinelli PC.
                                                                                                       alone be dispositive.                                 explained below, as is the final rule’s
                                                 368 Comment of IFA.                                     By returning to the Board’s prior                   treatment of indirect control and
                                                 369 Comments of Kaufmann; Keith Randall,              precedent, this final rule answers that               unexercised, contractually reserved
                                              franchise business owner.                                open question. In applying the common                 authority and of certain common
                                                 370 Comments of CDW.                                  law in the context of the NLRA, the                   business practices.


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 47 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                        11225

                                              A. Essential Terms and Conditions of                     immediate control with respect to each                Heileman Brewing, 290 NLRB at 1000
                                              Employment                                               of the eight essential terms and                      (finding joint-employer status in part
                                                 In Laerco Transportation, the Board                   conditions of employment based on                     because the user employer set work
                                              first described the essential terms and                  lines drawn in the Board’s pre-                       schedules). An entity does not exercise
                                              conditions of employment in the joint-                   Browning-Ferris precedent. The Board                  such control by establishing an
                                              employer analysis as including, non-                     determined that this approach provided                enterprise’s operating hours or the times
                                              exhaustively, ‘‘hiring, firing, discipline,              better and more precise guidance than                 when it needs the services provided by
                                              supervision, and direction.’’ 269 NLRB                   the hypothetical factual examples in the              another employer. See Service
                                                                                                       proposed rule, which were widely                      Employees Local 254 (Women & Infants
                                              at 325. Browning-Ferris aside, the Board
                                                                                                       criticized in the comments.                           Hospital), 324 NLRB 743, 749 (1997)
                                              has repeated this non-exclusive list ever
                                                                                                          Over wages, an entity exercises direct             (‘‘The contractual provisions affecting
                                              since, including in the NPRM. The final                  and immediate control if it actually                  when work must be performed are not
                                              rule adds wages, benefits, and hours of                  determines the wage rates, salary, or                 indicia of joint employer status. It is not
                                              work to this list, and it makes the list                 other rate of pay that is paid to another             surprising that [the user employer]
                                              of essential terms and conditions of                     employer’s individual employees or job                would require that cleaning be done at
                                              employment an exclusive, closed list.                    classifications. See, e.g., Quantum                   times most convenient for the college, or
                                                 First, the inclusion of these three                   Resources Corp., 305 NLRB at 760–761                  that a cleaner be available at all times
                                              terms and conditions, urged by many                      (finding the user employer jointly                    to handle emergencies.’’).
                                              commenters, is a commonsense                             employed the supplier employer’s                         Over hiring, an entity exercises direct
                                              addition. ‘‘Wages’’ and ‘‘hours’’ feature                employees in part because the user                    and immediate control if it actually
                                              prominently in the NLRA. See Sections                    employer designated wage rates,                       determines which employees will be
                                              8(d) and 9 of the Act. And Board                         authorized changes in wage rates, and                 hired and which employees will not.
                                              precedent has assumed wages, benefits,                   pushed through raises for employees).                 Compare Le Rendezvous Restaurant,
                                              and hours of work are essential terms                    But it does not exercise such control by              332 NLRB 336, 336 (2000) (finding joint-
                                              and conditions of employment for                         entering into a cost-plus contract (with              employer status in part because of the
                                              purposes of the joint-employer analysis.                 or without a maximum reimbursable                     user employer’s active involvement in
                                              See, e.g., Quantum Resources Corp., 305                  wage rate). See, e.g., Goodyear Tire &                hiring a nonunion workforce to replace
                                              NLRB at 760–761 (wages); G. Heileman                     Rubber Co., 312 NLRB 674, 678 (1993)                  its existing workforce), with Flagstaff
                                              Brewing Co., 290 NLRB 991, 1000 (1988)                   (a cost-plus contract setting forth the               Medical Center, 357 NLRB at 667
                                              (benefits), enfd. 879 F.2d 1526 (7th Cir.                wage reimbursement is not evidence of                 (interviewing candidates and making
                                              1989); Gourmet Award Foods,                              a joint-employer relationship); see also              recommendations on whom the primary
                                              Northeast, 336 NLRB 872, 874–875                         Browning-Ferris, 911 F.3d at 1220. Over               employer should hire did not prove
                                              (2001) (hours of work).                                  benefits, an entity exercises direct and              joint-employer status; the direct
                                                 Second, setting essential terms and                   immediate control if it actually                      employer retained final authority over
                                              conditions of employment as including                    determines the fringe benefits to be                  hiring decisions and, in fact, did not
                                              only wages, benefits, hours of work,                     provided or offered to another                        follow all the recommendations), and
                                              hiring, discharge, discipline,                           employer’s employees. This would                      AM Property Holding Corp., 350 NLRB
                                              supervision, and direction brings much                   include selecting the benefit plans (such             at 1002 (not indicative of joint-employer
                                              needed certainty to the joint-employer                   as health insurance plans and pension                 status for the user employer to suggest
                                              analysis. An entity’s control relating to                plans) and/or level of benefits provided.             individuals for the supplier employer to
                                              these matters, moreover, has proven                      Compare G. Heileman Brewing, 290                      hire whom the supplier employer
                                              most relevant, in the Board’s                            NLRB at 1000 (finding joint-employer                  independently interviewed before
                                              experience, in determining when it is                    status in part because the user employer              making hiring decisions). An entity does
                                              warranted to find a bargaining                           exercised authority over granting                     not exercise such control by requesting
                                              obligation, liability for unfair labor                   benefits), with TLI, Inc., 271 NLRB at                changes in staffing levels to accomplish
                                              practices, and status as a primary in a                  798–799 (attendance of the user                       tasks or by setting minimal hiring
                                              labor dispute. Indeed, no Board case has                 employer’s representative at bargaining               standards such as those required by
                                              been identified where control over any                   sessions and outlining the user                       government regulation. See Aldworth
                                              other term or condition of employment                    employer’s need to cut labor costs did                Co., 338 NLRB at 139 (‘‘[A]ctions taken
                                              carried the day in a joint-employer                      not show direct control over terms and                pursuant to government statutes and
                                              analysis. As provided in the final rule,                 conditions because the representative                 regulations are not indicative of joint
                                              however, control over other mandatory                    made no specific proposals; it was up to              employer status.’’).
                                              subjects of bargaining is also probative,                the supplier employer and union to                       Over discharge, an entity exercises
                                              but only to the extent it supplements                    work out needed savings from wages                    direct and immediate control if it
                                              and reinforces evidence of direct and                    and benefits). An entity does not                     actually decides to terminate the
                                              immediate control over essential terms                   exercise direct and immediate control                 employment of another employer’s
                                              and conditions of employment.                            by permitting another employer, under                 employee. See, e.g., Whitewood
                                                                                                       an arm’s-length contract, to participate              Maintenance Co., 292 NLRB 1159,
                                              B. Direct and Immediate Control
                                                                                                       in its benefit plans.                                 1162–1163 (1989) (finding joint-
                                                 Direct and immediate control                             Over hours of work, an entity                      employer status in part because the user
                                              distinguishes the obvious, meaningful                    exercises direct and immediate control                employer made the decision to
                                              control exercised over employees from                    if it actually determines work schedules              discharge the supplier employers’
khammond on DSKJM1Z7X2PROD with RULES2




                                              attenuated indirect and unexercised                      or the work hours, including overtime,                employees, which the supplier
                                              reserved control, which is much less                     of another employer’s employees. See                  employer carried out), enfd. sub nom.
                                              significant in identifying a joint                       Gourmet Award Foods, 336 NLRB at                      Texas World Serv. Co. v. NLRB, 928
                                              employer, and from routine features of                   874–875 (finding joint-employer status                F.2d 1426 (5th Cir. 1991). An entity
                                              company-to-company contracting that                      in part because the user employer                     does not exercise such control by
                                              are not relevant to joint-employer status                determined hours of work and work                     bringing misconduct or poor
                                              at all. The final rule defines direct and                schedules, including overtime); G.                    performance to the attention of another


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 48 of 58
                                              11226            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              employer that makes the actual                           although accidents on the road are                    joint-employer status in part because the
                                              discharge decision, by expressing a                      reported to [the user employer], it is [the           user employer assigned work and
                                              negative opinion of another employer’s                   supplier employer] which investigates                 schedules). An entity does not exercise
                                              employee, by refusing to allow another                   and determines whether or not the                     such control by setting schedules for
                                              employer’s employee to continue                          accident was preventable and whether                  completion of a project or by describing
                                              performing work under a contract, or by                  further action is necessary’’).                       the work to be accomplished on a
                                              setting minimal standards of                                Over supervision, an entity exercises              project. See Chesapeake Foods, 287
                                              performance or conduct, such as those                    direct and immediate control by                       NLRB at 407 (finding it was not
                                              required by government regulation. See                   actually instructing another employer’s               significant control for the user employer
                                              Aldworth Co., 338 NLRB at 139                            employees how to perform their work or                to ‘‘schedul[e] . . . the farms to be
                                              (‘‘[A]ctions taken pursuant to                           by actually issuing employee                          worked’’); TLI, Inc., 271 NLRB at 799
                                              government statutes and regulations are                  performance appraisals. See, e.g.,                    (finding it was not evidence of joint-
                                              not indicative of joint employer                         International Transfer of Florida, Inc.,              employer status where ‘‘[t]he Crown
                                              status.’’); Southern California Gas Co.,                 305 NLRB 150, 150 (1991) (finding the                 foreman instruct[ed] the drivers as to
                                              302 NLRB 456, 462 (1991) (not evidence                   user employer jointly employed the                    which deliveries [were] to be made on
                                              of joint-employer status for the user                    supplier employer’s employees because                 a given day,’’ but ‘‘the drivers
                                              employer to indicate it no longer                        the user employer exercised exclusive                 themselves select[ed] their own
                                              wanted a particular employee to work at                  daily supervision and direction over                  assignments, on a seniority basis’’);
                                              the facility; the user employer was only                 those employees, including as to the                  Laerco Transportation, 269 NLRB at
                                              ‘‘exercis[ing] . . . the right of an owner               manner and means of performing the                    325–326 (finding it was not evidence of
                                              or occupant to protect his premises’’);                  work). An entity does not exercise such               joint-employer status where the user
                                              Chesapeake Foods, 287 NLRB 405, 407                      control when its instructions are limited             employer set routes to be followed and
                                              (1987) (user employer did not exercise                   and routine and consist primarily of                  the supplier employer provided drivers
                                              control by referring complaints about                    telling another employer’s employees                  for those predetermined routes).
                                              supplied employees to the supplier                       what work to perform, or where and
                                                                                                       when to perform the work, but not how                 C. When Direct and Immediate Control
                                              employer, and the supplier employer                                                                            Is Substantial
                                              made the decision whether to discharge                   to perform it. See AM Property Holding
                                              an employee); H&W Motor Express, Inc.,                   Corp., 350 NLRB at 1001 (supervision is                  It is a well-settled principle in Board
                                                                                                       ‘‘limited and routine where a                         law that ‘‘[t]o establish joint employer
                                              271 NLRB 466, 468 (1984) (not evidence
                                                                                                       supervisor’s instructions consist                     status there must be a showing that the
                                              of joint-employer status for user
                                                                                                       primarily of telling employees what                   employer meaningfully affects matters
                                              employer to ask that certain employees
                                                                                                       work to perform, or where and when to                 relating to the employment
                                              to be removed from work under its
                                                                                                       perform the work, but not how to                      relationship.’’ Laerco Transportation,
                                              contract).
                                                                                                       perform the work’’); see also G. Wes Ltd.             269 NLRB at 325. This has required
                                                 Over discipline, an entity exercises                  Co., 309 NLRB 225, 226 (1992)                         careful consideration of the totality of
                                              direct and immediate control if it                       (concluding user employer’s day-to-day                the relevant facts in each particular
                                              actually decides to suspend or                           supervision was limited and routine                   employment setting. Boire v. Greyhound
                                              otherwise discipline another employer’s                  where employees were not told                         Corp., 376 U.S. 473, 481 (1964)
                                              employee. See Hobbs & Oberg Mining                       ‘‘specifically how to do the work or the              (‘‘[W]hether Greyhound possessed
                                              Co., 297 NLRB 575, 587 (1990) (finding                   manner in which they were to perform                  sufficient indicia of control to be an
                                              joint-employer status partly in reliance                 the assigned tasks . . . . [they] were                ‘employer’ is essentially a factual
                                              on the user and supplier employer                        told what areas were to be worked and                 issue.’’); AM Property Holding Corp.,
                                              jointly giving a supplied employee a                     with whom the employees were to                       350 NLRB at 1000 (‘‘The question of
                                              written reprimand), affd. 940 F.2d 1538                  work, and the work was then left to the               joint employer status turns on the facts
                                              (10th Cir. 1991), cert. denied 503 U.S.                  employees to perform’’); Southern                     of each particular case.’’); Southern
                                              959 (1992); G. Heileman Brewing, 290                     California Gas, 302 NLRB at 462                       California Gas, 302 NLRB at 461
                                              NLRB at 1000 (finding joint-employer                     (finding that the ‘‘[r]espondent’s orders             (‘‘Primarily, the question of joint
                                              status in part because the user employer                 and directions to the day-shift                       employer status must be decided on the
                                              exercised authority over discipline). An                 employees were in the nature of routine               totality of the facts of the particular
                                              entity does not exercise such control by                 directions of what tasks were required                case.’’). Under precedent predating the
                                              bringing misconduct or poor                              and where they were to be performed                   sharp departure in Browning-Ferris, the
                                              performance to the attention of another                  . . . such direction [was] consistent                 Board reasonably found entities
                                              employer that makes the actual                           with [r]espondent’s object of obtaining               meaningfully affected matters relating to
                                              disciplinary decision, by expressing a                   results, i.e., the work it contracted for’’);         the employment relationship only
                                              negative opinion of another employer’s                   Laerco Transportation, 269 NLRB at 326                where they had direct and immediate
                                              employee, or by refusing to allow                        (finding only limited and routine                     control over at least one essential term
                                              another employer’s employee to access                    supervision where the user employer                   or condition of employment.
                                              its premises or perform work under a                     resolved ‘‘minor problems such as                        Depending on the circumstances,
                                              contract. See TLI, Inc., 271 NLRB at 799                 employee personality conflicts’’ and its              however, direct and immediate control
                                              (finding the user employer did not                       involvement was ‘‘limited both as to the              over only one essential term or
                                              control discipline because ‘‘[w]hen a                    nature and number of employee                         condition of employment, or even more
                                              driver engages in conduct adverse to                     problems’’; major problems were                       than one, has sometimes been found
khammond on DSKJM1Z7X2PROD with RULES2




                                              [the user employer’s] operation, [it]                    referred to the supplier employer).                   insufficient to meaningfully affect
                                              supplies [the supplier employer], not                       Over direction, an entity exercises                matters relating to the employment
                                              the employee, with an ‘incident report’                  direct and immediate control by                       relationship. The direct-and-immediate
                                              whereupon a [supplier employer]                          assigning particular employees their                  control may be too isolated or sporadic
                                              representative investigates. Disciplinary                individual work schedules, positions,                 to be meaningful for purposes of
                                              notices, or necessary actions, are issued                and tasks. See, e.g., G. Heileman                     imposing bargaining obligations and
                                              by [the supplier employer]. In addition,                 Brewing, 290 NLRB at 1000 (finding                    potential unfair labor practice liability.


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025            Page 49 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                       11227

                                              See G. Wes Ltd., 309 NLRB at 225 fn. 5                   The final rule also specifies, as has                 Inc., 38 F.3d 93 (2d Cir. 1994); Goodyear
                                              (one isolated incident of user employer                  always been the case, that the party                  Tire & Rubber, 312 NLRB at 677
                                              interviewing employee whom the                           asserting joint-employer status bears the             (contractual provision reserving
                                              supplier employer later hired                            burden of proof. See, e.g., Hobbs &                   operational control, including over
                                              insufficient to prove that the user                      Oberg Mining Co., 297 NLRB at 586.                    direction and supervision, ‘‘in and of
                                              employer controlled hiring);                                                                                   itself, was not evidence of joint
                                                                                                       D. The Role of Indirect Control and
                                              International Shipping Assn., 297 NLRB                                                                         employer status . . . . [I]t was more
                                                                                                       Unexercised, Contractually Reserved
                                              1059, 1067 (1990) (finding evidence                                                                            appropriate to look to the actual
                                                                                                       Authority
                                              insufficient to prove a joint-employer                                                                         handling of day-to-day business’’). But
                                              relationship where the ‘‘few occasions                      As referenced above, indirect control              the Board did consider such evidence
                                              when [the user employer] asked certain                   and unexercised, contractually reserved               insofar as it supplemented and
                                              [supplied] workers to do certain tasks                   authority generally reference control                 reinforced evidence of direct and
                                              were isolated,’’ and there was ‘‘one                     that is not direct and immediate.                     immediate control over essential terms
                                              isolated, vague incident’’ of the user                   However, the final rule specifies that,               and conditions of employment. See, e.g.,
                                              employer telling an applicant he should                  within the meaning of the rule, indirect              Le Rendezvous Restaurant, 332 NLRB at
                                              tell the supplier employer he should be                  control does not encompass indirect                   336 (considering evidence of
                                              hired, and he was). Likewise, the direct                 control or influence over setting the                 contractually reserved authority in
                                              and immediate control an entity                          objectives, basic ground rules, or                    conjunction with user employer’s
                                              exercises may fall short of meaningfully                 expectations for another entity’s                     exercise of direct and immediate control
                                              affecting the employment relationship                    performance under a contract. This                    over hiring and discipline); M.B. Sturgis,
                                              in the context of other control not                      distinction is discussed further in the               Inc., 331 NLRB 1298, 1301–1302 (2000)
                                              exercised. See Flagstaff Medical Center,                 following section on business practices               (finding that the contract’s broad grant
                                              357 NLRB at 666–667 (the putative                        that are not probative of joint-employer              of authority to the user employer over
                                              joint-employer’s limited direct and                      status. By contractually reserved                     supervision and direction supported
                                              immediate control was insufficient to                    authority, the final rule means the                   evidence of exercised direct control over
                                              establish joint-employer status under                    authority that an entity reserves to itself,          supervision, direction, and discipline).
                                              the circumstances); AM Property                          under the terms of a contract with                    The final rule is in lockstep with this
                                              Holding Corp., 350 NLRB at 1001–1002                     another employer, over the essential                  approach. Indirect control or
                                                                                                       terms and conditions of employment of                 unexercised, contractually reserved
                                              (user employer’s direct and immediate
                                                                                                       that other employer’s employees, but                  authority cannot alone be dispositive,
                                              control regarding hiring and setting the
                                                                                                       that has never been exercised.                        but either or both are probative of joint-
                                              wages and benefits of one particular                        Under Board law as it existed prior to
                                              employee and ‘‘occasional assignment                                                                           employer status to the extent they
                                                                                                       Browning-Ferris, indirect control and                 supplement or reinforce evidence of
                                              of work’’ to other employees was not                     unexercised, contractually reserved
                                              enough to establish joint-employer                                                                             direct and immediate control over
                                                                                                       authority were not alone dispositive of               essential terms and conditions of
                                              relationship under the circumstances);                   joint-employer status. See AM Property
                                              Women & Infants Hospital, 324 NLRB at                                                                          employment.
                                                                                                       Holding Corp., 350 NLRB at 1000, 1002
                                              749 (recurring direction by the user                     (‘‘We find that the contractual provision             E. Business Practices That Are Not
                                              employer necessitated by the lack of a                   giving AM the right to approve PBS                    Probative of Joint-Employer Status
                                              supplier-employer onsite supervisor                      hires, standing alone, is insufficient to                The Board is mindful, as was implicit
                                              was not itself enough to warrant a joint-                show the existence of a joint employer                in its pre–Browning-Ferris precedent,
                                              employer finding absent other                            relationship. In assessing whether a                  that there are business practices that are
                                              meaningful evidence); Pitney Bowes,                      joint employer relationship exists, the               merely ‘‘quotidian aspects of common-
                                              Inc., 312 NLRB 386, 387 (1993) (user                     Board does not rely merely on the                     law third-party contract relationships’’
                                              employer’s issuing undocumented                          existence of such contractual                         that do not make joint-employer status
                                              verbal warnings and routine                              provisions, but rather looks to the actual            any more or less likely. Browning-Ferris
                                              instructions did not meaningfully affect                 practice of the parties . . . . The                   v. NLRB, 911 F.3d at 1220. A
                                              the employment relationship in light of                  Board’s inquiry with regard to the                    contracting entity commonly seeks to
                                              the supplier employer’s ‘‘nearly                         direction and supervision of Servco                   ‘‘set the objectives, basic ground rules,
                                              complete control over all other                          employees is properly focused on the                  and expectations for a third-party
                                              significant aspects of the employment                    practice of the parties, not the language             contractor,’’ and doing so is not
                                              relationship, such as hiring, wages,                     of the contract.’’); National Metal                   indicative of joint-employer status. Id.
                                              benefits, work rules, assignment of                      Processing, Inc., 331 NLRB 866, 869                   This includes contractual provisions
                                              tasks, transfers to other [supplier-                     (2000) (finding user employer was not a               obligating the third party to maintain
                                              employer] customers, and                                 joint employer where it only affected                 certain practices to comply with legal
                                              termination’’).                                          unit employees indirectly and had                     requirements or for corporate social
                                                 The final rule reflects this precedent                unexercised contractual authority to                  responsibility reasons. See Doe I v. Wal-
                                              by providing that the Board will                         suspend employees up to 3 days); J. P.                Mart Stores, Inc., 572 F.3d at 680–683
                                              consider the totality of the relevant facts              Mascaro & Sons, 313 NLRB 385, 389                     (contracts that contained a code of
                                              in each particular employment setting                    (1993) (‘‘Respondent of necessity may                 conduct requiring Wal-Mart’s foreign
                                              and that ‘‘[s]ubstantial direct and                      exercise some implicit or indirect                    suppliers to comply with foreign labor
                                              immediate control’’ means ‘‘direct and                   control over the operations of [the                   laws and permitting Wal-Mart to
khammond on DSKJM1Z7X2PROD with RULES2




                                              immediate control that has a regular or                  subcontractor] at the facility to ensure              monitor compliance, and that set forth
                                              continuous consequential effect on an                    against disruption of its own operations              ‘‘deadlines, quality of products,
                                              essential term or condition of                           or to assure it secures the services                  materials used, prices, and other
                                              employment of another employer’s                         promised, but this is no basis to find the            common buyer-seller contract terms’’
                                              employees. Such control is not                           customer-employer is a joint employer                 were not evidence that Wal-Mart was a
                                              ‘substantial’ if only exercised on a                     of its contractor’s employees.’’), enfd.              common-law joint employer of its
                                              sporadic, isolated, or de minimis basis.’’               sub nom. NLRB v. Solid Waste Services,                suppliers’ employees); Aldworth Co.,


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00045   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025               Page 50 of 58
                                              11228            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              338 NLRB at 139 (‘‘[A]ctions taken                       compliance with the rule for small                    that position between 2013 and 2017.
                                              pursuant to government statutes and                      entities, related to reviewing and                    Id. Because a significant number of
                                              regulations are not indicative of joint                  understanding the substantive changes                 these Board proceedings involved large
                                              employer status.’’).                                     to the joint-employer standard.                       employers, the IRFA concluded that ‘‘an
                                                 Accordingly, under the final rule, the                                                                      even lower percentage of small
                                                                                                       1. Statement of the Need for, and
                                              Board does not intend the following to                                                                         businesses [would] be most directly
                                                                                                       Objectives of, the Rule
                                              be evidence of joint-employer status:                                                                          impacted by the Board’s application of
                                              Entering a cost-plus contract (with or                      The final rule establishes the standard            the rule.’’ Id. The Board also examined
                                              without a maximum reimbursable rate);                    for determining, under the NLRA,                      less direct impacts to small entities—
                                              setting minimal standards for hiring,                    whether a business is a joint employer                that is, impacts that might arise
                                              performance, or conduct, such as those                   of a group of employees directly                      ‘‘[i]rrespective of an Agency
                                              required by government regulation;                       employed by another employer. This                    proceeding,’’ id.—but found those
                                              requiring the contractor to institute                    rule is necessary to foster predictability            impacts to be very limited in scope or
                                              safety or sexual-harassment policies; a                  and consistency in joint-employer                     modest in size. For example, the Board
                                              franchisor’s protection of its trademark                 determinations under the NLRA,                        acknowledged that a variety of small
                                              or service mark; or anything else that                   particularly in light of considerable                 entities would bear compliance costs
                                              promotes legal compliance or sets the                    uncertainty regarding the status of the               related to reviewing and understanding
                                              objectives, basic ground rules, or                       current standard, which was established               the rule but found that those costs
                                              expectations for a contractor’s                          through adjudication. The guidance                    would not be considered ‘‘significant’’
                                              performance.                                             furnished by the final rule will enable               under the RFA. Id. at 46693–95
                                                                                                       regulated parties to determine in                     (estimating compliance costs of $80.26
                                              VII. Other Statutory Requirements                        advance whether their actions are likely              for unions and $124.37 for small
                                              A. The Regulatory Flexibility Act                        to result in a joint-employer finding,                employers).
                                                                                                       which entails or may entail significant                  Some comments criticized the Board’s
                                                 The Regulatory Flexibility Act of
                                                                                                       consequences under the NLRA: A duty                   IRFA for finding that the businesses
                                              1980, as amended by the Small Business
                                                                                                       to bargain collectively, exposure to what             ‘‘most directly impacted by the
                                              Regulatory Enforcement Fairness Act of
                                                                                                       would otherwise be unlawful secondary                 proposed rule’’ are those alleged to be
                                              1996 (RFA), 5 U.S.C. 601–612, requires
                                                                                                       union activity, and derivative unfair                 joint employers in a Board proceeding.
                                              an agency promulgating a final rule to
                                                                                                       labor practice liability. Accordingly, a              83 FR at 46693. By measuring ‘‘most
                                              prepare a Final Regulatory Flexibility
                                                                                                       final rule setting forth a comprehensive              direct[] impact’’ in this manner, one
                                              Analysis (FRFA) when the regulation
                                                                                                       and detailed standard is vitally                      commenter argues that the Board has
                                              will have a significant impact on a
                                                                                                       important to businesses covered by the                ignored that businesses structure their
                                              substantial number of small entities. An
                                                                                                       NLRA, employees employed by those                     transactions based in part on the
                                              agency is not required to prepare a
                                                                                                       businesses, and labor organizations that              applicable legal costs of compliance and
                                              FRFA if the Agency head certifies that
                                                                                                       represent or seek to represent those                  that workers and small businesses bear
                                              the rule will not have a significant
                                                                                                       employees. Defining the joint-employer                these costs when the indirect employers
                                              economic impact on a substantial
                                                                                                       standard through rulemaking also                      have substantial market power, whether
                                              number of small entities. 5 U.S.C.
                                                                                                       permits the Board to provide more                     or not they are subject to a Board
                                              605(b). In the NPRM, although the
                                                                                                       guidance than would be readily                        proceeding.373 Another commenter
                                              Board believed that this rule would not
                                                                                                       achievable through adjudication. The                  believes that the Board’s approach fails
                                              have a significant economic impact on
                                                                                                       final rule accomplishes these objectives              to account for the current, stable joint-
                                              a substantial number of small entities,
                                                                                                       by defining critical elements of the                  employer bargaining relationships that
                                              the Board issued its Initial Regulatory
                                                                                                       joint-employer standard that have                     might be disrupted by the rule.374 Thus,
                                              Flexibility Analysis (IRFA) to provide
                                                                                                       heretofore been undefined and by                      that commenter’s view, the proposed
                                              the public the fullest opportunity to
                                                                                                       focusing the inquiry on the factors most              rule would cause prolonged labor
                                              comment on the proposed rule. See 83
                                                                                                       relevant to joint-employer status in light            disputes because larger entities with
                                              FR at 46693. The Board solicited
                                                                                                       of the policies and purposes of the                   control over certain terms and
                                              comments from the public that would
                                                                                                       NLRA.                                                 conditions of employment would no
                                              shed light on potential compliance costs
                                                                                                                                                             longer be at the bargaining table.
                                              that may result from the rule that it had                2. Statement of the Significant Issues
                                                                                                                                                                Other comments similarly criticized
                                              not identified or anticipated.                           Raised by the Public Comments in
                                                                                                                                                             the Board for failing to analyze whether
                                                 The RFA does not define either                        Response to the Initial Regulatory
                                                                                                                                                             the proposed rule would cause
                                              ‘‘significant economic impact’’ or                       Flexibility Analysis, a Statement of the
                                                                                                                                                             competitive harm to small businesses on
                                              ‘‘substantial number of small                            Assessment of the Agency of Such
                                                                                                                                                             a broad basis. According to these
                                              entities.’’ 371 Additionally, ‘‘[i]n the                 Issues, and a Statement of Any Changes
                                                                                                                                                             comments, because the proposed rule
                                              absence of statutory specificity, what is                Made in the Proposed Rule as a Result
                                                                                                                                                             allows indirect employers to avoid the
                                              ‘significant’ will vary depending on the                 of Such Comments
                                                                                                                                                             cost and responsibility of complying
                                              economics of the industry or sector to be                a. Response to Comments Concerning                    with the NLRA, the rule places small
                                              regulated. The agency is in the best                     Economic Impact on Small Employers                    employers at a competitive disadvantage
                                              position to gauge the small entity                                                                             to larger employers.375 For example, a
                                              impacts of its regulations.’’ 372 The                       As stated in the Board’s IRFA, the rule
                                                                                                       ‘‘will only be applied as a matter of law             commenter argues that the revised
khammond on DSKJM1Z7X2PROD with RULES2




                                              Board anticipates low costs of                                                                                 definition will provide indirect
                                                                                                       when . . . businesses are alleged to be
                                                371 5 U.S.C. 601.                                      joint employers in a Board proceeding.’’              employers that possess substantial
                                                372 U.S. Small Business Administration (SBA)           83 FR at 46693. After analyzing recent                  373 See comment of Law and Economics
                                              Office of Advocacy, A Guide for Government               case statistics, the Board found that only
                                              Agencies: How to Comply with the Regulatory                                                                    Professors.
                                              Flexibility Act (SBA Guide) 18 (Aug. 2017), https://
                                                                                                       .028% of all 5.9 million American                       374 See comment of AFT.

                                              www.sba.gov/sites/default/files/advocacy/How-to-         business firms with employees (both                     375 See Center for American Progress Action

                                              Comply-with-the-RFA-WEB.pdf.                             large and small) found themselves in                  Fund; CWA; NELP.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 51 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11229

                                              market power greater leverage in their                   published by the Office of Advocacy of                F.3d 855, 869 (D.C. Cir. 2001) (citing
                                              contracting arrangements with                            the SBA. In the SBA Guide, the SBA                    Mid-Tex Elec. Coop., 773 F.2d at 343).
                                              businesses that supply labor.376                         explains that ‘‘other compliance                         But a massive exercise in economic
                                              Accordingly, larger indirect employers                   requirements’’ under Section 603                      modeling is exactly what the commenter
                                              will use this added leverage to siphon                   include the following examples:                       asks the Board to undertake. The rule
                                              off profits from smaller direct                            (a) Capital costs for equipment needed to
                                                                                                                                                             does not require contracting parties to
                                              employers, limiting the ability of those                 meet the regulatory requirements; (b) costs of        alter their arrangements now or in the
                                              small businesses to grow. As a result,                   modifying existing processes and procedures           future. If indirect employers with
                                              the commenter argues, the rule will                      to comply with the proposed rule; (c) lost            market power drive harder bargains
                                              cause a further shift in market power                    sales and profits resulting from the proposed         with direct employers than they do
                                              away from small employers. It states                     rule; (d) changes in market competition as a          now, as the commenter predicts, such
                                              that harm to the competitive ability of                  result of the proposed rule and its impact on         outcomes will result from the individual
                                              small businesses, vis-à-vis larger firms,               small entities or specific submarkets of small        choices of economic actors, not from
                                              is a direct, cognizable economic impact                  entities; (e) extra costs associated with the         actions required to comply with the
                                                                                                       payment of taxes or fees associated with the          rule.377
                                              under the RFA that the Board should                      proposed rule; and (f) hiring employees
                                              have considered.                                                                                                  Notwithstanding the indirect nature
                                                                                                       dedicated to compliance with regulatory
                                                 Respectfully, the foregoing                           requirements.
                                                                                                                                                             of the potential impacts raised by these
                                              commenters do not raise direct                                                                                 comments, the Board also disagrees that
                                              economic impacts under the RFA. The                      SBA Guide at 37. These are all direct,                the rule will upset existing collective-
                                              RFA does not require an agency to                        compliance-based costs.                               bargaining relationships. The Board
                                              consider speculative and wholly                             In the IRFA, the Board noted that the              believes that the rule will promote
                                              discretionary responses to the rule, or                  only identifiable compliance cost                     labor-management stability because it
                                              the indirect impact on every stratum of                  imposed by the proposed rule for                      simplifies the test for joint employment,
                                              the economy. What the statute requires                   entities not named in a Board                         provides for a more consistent standard,
                                              is that the regulatory agency consider                   proceeding related to reviewing and                   and ends the unpredictable oscillations
                                              the direct burden that compliance with                   understanding the substantive changes                 between differing tests for joint
                                              a new regulation will likely impose on                   to the joint-employer standard. 83 FR at              employment.
                                              small entities. See Mid-Tex Elec. Co-op                  46695. Otherwise, there will be no                       Furthermore, the Board finds no
                                              v. FERC, 773 F.2d 327, 342 (D.C. Cir.                                                                          evidence to support the notion that the
                                                                                                       ‘‘reporting, recordkeeping and other
                                              1985) (‘‘[I]t is clear that Congress                                                                           rule places small employers at a
                                                                                                       compliance requirements’’ for these
                                              envisioned that the relevant ‘economic                                                                         competitive disadvantage to large
                                                                                                       small entities. See 5 U.S.C. 603(b)(4) &
                                              impact’ was the impact of compliance                                                                           employers. Employers of all sizes
                                                                                                       604(b)(4). The same is true of the final
                                              with the proposed rule on regulated                                                                            routinely enter into service contracts,
                                                                                                       rule. And the final rule imposes no
                                              small entities’’); accord White Eagle Co-                                                                      and all have an interest in the
                                                                                                       mandatory capital costs, no mandatory
                                              op. Ass’n v. Conner, 553 F.3d 467, 478                                                                         applicable joint-employer standard.
                                                                                                       costs of modifying existing process, no
                                              (7th Cir. 2009); Colorado State Banking                                                                        Those private-sector employers that
                                                                                                       costs of lost sales or profits, and, as
                                              Bd. v. Resolution Trust Corp., 926 F.2d                                                                        exercise substantial direct and
                                                                                                       discussed further below, no appreciable
                                              931, 948 (10th Cir. 1991).                                                                                     immediate control over the essential
                                                                                                       changes in market competition. See SBA                working conditions of employees
                                                 This construction of the RFA,                         Guide at 37. Lastly, for small entities not
                                              requiring agencies to consider only                                                                            maintain the same legal responsibilities
                                                                                                       party to Board proceedings, there are no              under the NLRA as they had before the
                                              direct compliance costs, finds support                   costs associated with taxes or fees and
                                              in the text of the Act. Section 603(a) of                                                                      rule. And while the rule does decrease
                                                                                                       no costs for additional employees                     liability and responsibilities of
                                              the RFA states that if an IRFA is                        dedicated to compliance, as no
                                              required, it ‘‘shall describe the impact of                                                                    employers that do not exercise such
                                                                                                       compliance requirements exist. Id.                    control over those essential terms and
                                              the proposed rule on small entities.’’ 5
                                              U.S.C. 603(a). Although the term                            Consistent with these principles, the              conditions of employment, the rule does
                                              ‘‘impact’’ is undefined, its meaning can                 Board rejects the view that it must                   not intrude upon the contractual
                                              be gleaned from Section 603(b), which                    analyze how indirect employers                        liberties of direct and indirect entities.
                                              recites the required elements of an                      exercise market power within their                    Those employers may negotiate
                                              initial regulatory flexibility analysis.                 contracting arrangements to determine                 contractual terms of their choosing
                                              One such element is ‘‘a description of                   the impact upon small businesses, as                  without the undue burden of a
                                              the projected reporting, recordkeeping                   suggested by the comments discussed                   complicated joint-employer standard.
                                              and other compliance requirements of                     above. The D.C. Circuit has firmly                    Accordingly, this rule would provide no
                                              the proposed rule, including an estimate                 rejected the notion that a regulating                 additional leverage for employers of any
                                              of the classes of small entities which                   agency must analyze every indirect and                size to manipulate the supply of and
                                              will be subject to the requirement and                   remote economic impact. See Mid-Tex                   demand for labor, nor interfere with
                                              the type of professional skills necessary                Elec. Co-op., Inc. 773 F.2d at 343                    market access.
                                              for preparation of the report or record.’’               (‘‘Congress did not intend to require that               One commenter argues that ‘‘[u]nder
                                              5 U.S.C. 603(b)(4) (emphasis added).                     every agency consider every indirect                  the proposed narrow standard, small
                                              Section 604 further corroborates the                     effect that any regulation might have on              businesses that can’t afford to
                                              Board’s conclusion, as it contains an                    small businesses in any stratum of the
                                                                                                       national economy.’’). ‘‘[R]equir[ing] an                377 According to the Law and Economics
khammond on DSKJM1Z7X2PROD with RULES2




                                              identical list of requirements for a FRFA                                                                      Professors, large indirect employers with
                                              (if one is required). 5 U.S.C. 604(b)(4).                agency to assess the impact on all of the
                                                                                                                                                             substantial market power will have greater leverage
                                                 Additional support for confining the                  nation’s small businesses possibly                    to artificially suppress workers’ wages and capture
                                              regulatory analysis to direct compliance                 affected by a rule would be to convert                these asserted monetary losses experienced by
                                                                                                       every rulemaking process into a massive               workers affected by the rule. Assuming solely for
                                              costs is found in an authoritative guide                                                                       the sake of argument that this is true, it would not
                                                                                                       exercise in economic modeling, an                     constitute an RFA concern because such transfers
                                                376 See comment of Law and Economics                   approach we have already rejected.’’                  would not result in changes to small direct
                                              Professors.                                              Cement Kiln Recycling Coal. v. EPA, 255               employers’ bottom-line profitability.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00047   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                    Page 52 of 58
                                              11230            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              subcontract out operations will be at a                  Unfair labor practice liability is the cost              b. Response to Comments Concerning
                                              competitive disadvantage to large                        of not complying with the NLRA, not a                    Economic Impact on Small Labor
                                              corporations that can and do                             cost of compliance with the Board’s                      Unions
                                              outsource.’’ 378 The commenter                           joint-employer rule.383                                     Several comments assert that the
                                              presented no evidence to support this                       Even if increased unfair labor practice               Board should have provided a more
                                              conclusion. And other comments in                        liability were a direct cost attributable to             detailed consideration of the impact
                                              support of the proposed rule note that                   the rule, those costs would not impact                   upon labor unions, a specific category of
                                              there is no empirical evidence                           a substantial number of small entities.                  small entities directly impacted by the
                                              supporting the proposition that the new                  As the Board explained in the NPRM,                      proposed rule. One commenter, for
                                              rule will place small businesses at a                    only .028% of all 5.9 million business                   example, believe that the alleged shift in
                                              competitive disadvantage to larger                       firms in the United States were alleged                  market power away from direct
                                              companies just because the latter are                    to be joint employers in Board                           employers will reduce employment and
                                              better situated to subcontract their                     proceedings from 2013 to 2017. See 83                    suppress pay and, in turn, cause a
                                              operations.379 Absent empirical                          FR at 46693. And since the data counts                   reduction in dues contributions to labor
                                              evidence, the Board is not persuaded                     only allegations, not prosecutions or                    unions.384 Another commenter similarly
                                              that the new standard impacts                            Board decisions, the number of                           predicts that, by removing franchisors
                                              outsourcing in this manner.                              employers who were actually impacted                     and larger indirect employers from
                                                 Many critics of the Board’s IRFA                      by the Board’s joint-employer standard                   reach of the NLRA, the proposed rule
                                              contend that the Board did not fully                     in recent years is even smaller.                         might frustrate collective bargaining
                                              consider the impact of requiring direct                  Accordingly, the Board is not persuaded                  and, thereby, alienate employees.385
                                              employers, including small businesses,                   that any changes to unfair labor practice                These comments assert that labor
                                              to bear the full cost of liability under the             liability arising from this rule will                    unions will find it more difficult to
                                              NLRA. For example, one commenter                         impact a substantial number of small                     organize employees and maintain
                                              contends that, since the rule applies to                 entities.                                                existing membership, which will
                                              business relationships where the larger                     Nor does the Board believe the rule
                                                                                                                                                                adversely impact dues income. Thus,
                                              entity contracts for services of the                     creates the prospect of added liability
                                                                                                                                                                one commenter contends that the Board
                                              smaller employer, the smaller employer                   for direct employers subject to
                                                                                                                                                                should estimate the additional
                                              will shoulder all liability under the                    organizing campaigns or engaged in
                                                                                                                                                                organizing, communications, and
                                              NLRA.380 This increased legal exposure,                  collective bargaining. These direct
                                                                                                                                                                bargaining costs imposed upon small
                                              says another commenter, will cause                       employers have always been the
                                                                                                                                                                unions.386 Other labor organizations
                                              significant harm to small businesses                     primary target of union organizing
                                                                                                       aimed at their workers by virtue of their                offer similar comments.387
                                              because their large customers or                                                                                     The comments on this issue present
                                              franchisors will not be jointly                          direct control over payroll and other
                                                                                                                                                                no reliable empirical evidence to show
                                              responsible for bargaining, or jointly                   essential terms and conditions of
                                                                                                                                                                that the rule would have a significant
                                              and severally liable for unfair labor                    employment. And as the Board stated in
                                                                                                                                                                economic impact on a substantial
                                              practices. Many other comments offered                   the NPRM, the proposed rule may make
                                                                                                                                                                number of small entity labor unions.
                                              the same argument.381                                    it easier for employers to collectively
                                                                                                                                                                One commenter estimates $1.3 billion in
                                                 In the NPRM, the Board noted that                     bargain without the complications of
                                                                                                                                                                yearly transfers from workers in contract
                                              liability and liability insurance costs                  fragmented bargaining while providing
                                                                                                       much greater certainty as to their                       firms and temporary help agencies to
                                              may increase for small entities because                                                                           employers as a result of the rule, and
                                              they may no longer have larger entities                  bargaining obligations. See 83 FR at
                                                                                                       46695. As was also pointed out there,                    argues that this $1.3 billion annual
                                              with which to share the cost of any                                                                               transfer will necessarily reduce union
                                              NLRA backpay remedies ordered in                         for at least 30 years (from no later than
                                                                                                       1984 to 2015) evidence of indirect                       dues since dues are often calculated as
                                              unfair labor practice proceedings. There,                                                                         a percentage of gross pay.388
                                              the Board further stated that these costs                control was typically insufficient to
                                                                                                                                                                   The Board finds this analysis
                                              could arguably fall within the SBA                       prove that one company was the joint
                                                                                                       employer of another business’s workers.                  unreliable because it makes several
                                              Guide’s category of ‘‘extra costs                                                                                 critical and unsubstantiated
                                              associated with the payment of taxes or                  See id. at 46693. And the contrary
                                                                                                       Browning-Ferris standard was under                       assumptions.389 Based on the disparity
                                              fees associated with the proposed                                                                                 in pay between union and nonunion
                                              rule.’’ 382 Having reviewed the                          challenge for the entirety of its relatively
                                                                                                       brief existence and, therefore, shrouded                 employees in the economy as a whole
                                              comments and further considered the                                                                               (from other research), the comment first
                                              subject, the Board no longer believes                    in uncertainty. Given this history, the
                                                                                                       possibility of disturbing existing labor                 assumes that union-organized workers
                                              that these can be characterized as direct                                                                         in contract firms and temporary help
                                              compliance costs since these costs are                   relations for direct employers is very
                                              not directly mandated by the rule.                       small. But again, the Board believes that                   384 See comment of Law and Economics
                                                                                                       these types of costs, if any, are indirect;              Professors.
                                                378 See comment of NELP.                               they arise from a series of subsequent                      385 See comment of AFL–CIO.
                                                379 See comments of Chamber of Commerce; IFA.          decisions made by individual actors that                    386 See comment of AFT. Comments offered in
                                                380 See comment of IUOE.                               are not compelled by the rule itself.                    support of the proposed rule suggest just the
                                                 381 See comment of AFL–CIO; see also comments                                                                  opposite—that the narrower standard could be
                                              of AFT; SEIU; Congressmen Scott and Senator                383 Likewise, liability insurance is also a cost not   beneficial to labor unions because they will no
                                              Murray; EPI; CWA; Texas Rio-Grande Legal Aid.            mandated by the rule. In response to the NPRM’s          longer be expending resources seeking to establish
khammond on DSKJM1Z7X2PROD with RULES2




                                                 382 The Board also observed that it is without the    statement that there may be compliance costs that        bargaining relationships with larger indirect
                                              means to quantify such costs. The RFA explains           are unknown to the Board such as potential               employers that have thousands of employees.
                                                                                                                                                                   387 See, e.g., comments of CWA; AFT.
                                              that in providing initial and final regulatory           increases in liability insurance costs, one comment
                                                                                                                                                                   388 See comment of Law and Economics
                                              flexibility analyses, ‘‘an agency may provide either     states that on a local level even minimal impacts
                                              a quantifiable or numerical description of the           on insurance rates could hurt small businesses. The      Professors. This estimate is based on information
                                              effects of a proposed rule or alternatives to the        commenter did not provide any supporting data,           from the comment submitted by EPI.
                                              proposed rule, or more general descriptive               and the Board believes any potential increases in           389 We refer here to the analysis contained in the

                                              statements if quantification is not practicable or       insurance rates would be minimal and not a direct        comment of EPI, on which the Law and Economics
                                              reliable.’’ 5 U.S.C. Sec. 607 (emphasis added).          impact of the rule.                                      Professors rely.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM     26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 53 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11231

                                              agencies, on average, earn $146 more                     that there would not be a significant                 requirement. Additionally, these
                                              per week (or $1.3 billion per year on an                 impact on a substantial number of small               suggested costs are speculative. There is
                                              aggregate basis) than their nonunion                     unions. See 83 FR at 46693 and 46695.                 no reason for direct employers to
                                              counterparts in these same industries.                   In reviewing the comments on this                     maintain more detailed records of their
                                              Then, without any empirical evidence,                    subject, the Board finds no other                     work with indirect employers as a result
                                              the comment assumes that the new rule                    compliance costs to labor unions, and                 of this rule than the records that they
                                              would automatically eliminate the                        no evidence showing a significant                     already keep in the normal course of
                                              higher pay afforded unionized workers                    impact. Labor unions certainly have an                business. In fact, the opposite would be
                                              and transfer the $1.3 billion to                         interest in the rule, as with any other               more likely given that the rule will
                                              employers. The stated rationale for                      standard or substantive application of                foster predictability and consistency in
                                              taking this analytical leap is that ‘‘the                the NLRA, but the negative economic                   determining joint-employer status and
                                              narrow proposed joint-employer                           impacts on labor unions raised by the                 will reduce the incentive for indirect
                                              standard will make collective bargaining                 comments are wholly speculative and                   employers to maintain records solely for
                                              among subcontracted and temporary                        based upon perceived indirect                         the purpose of defending themselves
                                              workers nearly impossible.’’ 390                         consequences of the rule.                             against liability premised on the
                                                 This analysis is flawed. Initially, it                   In fact, the rule leaves undisturbed               existence of an alleged joint-employer
                                              assumes that a pay disparity exists                      the statutory duties and bargaining                   relationship.
                                              between union and nonunion workers                       obligations of those employers that                      Nor is the Board persuaded that any
                                              in these industries, that the assumed                    directly control payroll and other                    changes to the evidentiary burden
                                              disparity is consistent in magnitude                     essential terms and conditions of                     placed upon parties to establish a joint-
                                              with the disparity that exists in the                    employment for employees. As such,                    employer relationship will meaningfully
                                              overall economy, and that the impact of                  labor unions will still be able organize              affect the cost of litigation. Assuming an
                                              unionization (and not, for example, cost                 the workforces of direct employers,                   increase in litigation costs for a
                                              of living differentials) is the sole                     engage in collective bargaining with                  particular case, the commenter makes
                                              explanation for any pay disparity. The                   direct employers, and file unfair labor               no effort to analyze the impact in order
                                              commenter presented no evidence to                       practices charges against direct                      to assess the significance. The Board
                                              support these assumptions. But, most                     employers. And the Board has made                     also expects that the new rule will
                                              troublesome, the comment assumes that                    clear that the new standard will foster               decrease the overall amount of litigation
                                              the new rule will cause union workers                    predictability and consistency regarding              involving the joint-employer standard,
                                              to automatically lose their union wages                  determinations of joint-employer status               which would also decrease litigation
                                              because, in its view, subcontracted and                  in a variety of business relationships,               costs to unions. In any event, beyond
                                              temporary workers will immediately                       thereby promoting labor-management                    familiarization costs, the Board finds
                                              forego union representation rather than                  stability. Hence, the Board finds that                that the new rule imposes no additional
                                              bargain with just their direct employers.                there is no reliable evidence to support              costs for reporting, recordkeeping, or
                                              There is no reason to accept the                         the proposition that the rule will have               other direct compliance requirements,
                                              proposition that workers in these                        a significant impact on union organizing              and none of the comments present
                                              industries will abandon collective                       or union membership.                                  empirical evidence to the contrary.
                                              bargaining en masse. At the very least,                  c. Response to Comments Concerning                    d. Response to Comments Concerning
                                              the comment presented no evidence to                     Reporting Requirements                                Duplication, Overlap, and Conflict With
                                              back it up. The contract firms and                                                                             Other Rules
                                              temporary help agencies that directly                       The Board’s IRFA stated that the
                                              control employee payrolls and other                      Board did not believe that the rule                      Some comments contend that the
                                              essential terms and conditions of                        would impose any new recordkeeping                    Board has failed to identify all relevant
                                              employment will continue to do so                        or reporting requirements on small                    rules and regulations which may
                                              before and after the rule takes effect.                  entities. See 83 FR at 46695. One                     ‘‘duplicate, overlap or conflict with the
                                              Since the relationships between direct                   commenter speculates that the rule will               proposed rule,’’ as Section 603(b)(5) of
                                              employers, their employees, and                          actually impose more onerous                          the RFA requires.393 These comments
                                              employee bargaining representatives                      recordkeeping costs because small                     argue that the proposed rule is
                                              will remain intact, there is no reason to                businesses will be required to maintain               discordant with the standard under the
                                              assume that unionized employees will                     more detailed records of the actual                   FLSA,394 or inconsistent with the
                                              automatically lose their union wages.                    control exercised upon their employees                definition of ‘‘employer’’ used by other
                                              The Board, therefore, rejects this                       (by those small employers and their                   agencies such as the IRS.395 These
                                              comment’s prediction and the corollary                   larger business partners).392 The                     contentions stretch ‘‘duplicate, overlap
                                              assertion advanced by another                            commenter further suggests that the                   or conflict’’ beyond their intended
                                              commenter concerning union dues.391                      proposed rule may increase litigation                 meanings.396 The rule does not
                                                 In the NPRM, the Board’s IRFA                         costs to small businesses and labor                   duplicate or overlap with any other rule
                                              assumed for purposes of analysis that a                  unions because they would have to                     for identifying joint employers under
                                              substantial number of small entity labor                 invest more resources in developing
                                              unions would be impacted by the rule.                    witness-intensive facts in support of a                  393 See Comments of AFL–CIO; United

                                                                                                       joint-employer theory. But the                        Association of Plumbers and Pipe Fitters
                                              See 83 FR at 46693. But the Board also                                                                         (Plumbers).
                                              stated its belief that the cost of                       commenter has not identified                             394 See Comment of AFL–CIO.
                                                                                                       cognizable recordkeeping requirements.
khammond on DSKJM1Z7X2PROD with RULES2




                                              compliance with the rule would be very                                                                            395 See Comment of Plumbers.

                                              low, related to reviewing and                            The RFA defines a ‘‘recordkeeping                        396 According to the SBA Guide, at 40:

                                              understanding the substantive changes                    requirement’’ as ‘‘a requirement                         Rules are duplicative or overlapping if they are
                                              to the joint employer standard, meaning                  imposed by an agency on persons to                    based on the same or similar reasons for the
                                                                                                       maintain specified records,’’ 5 U.S.C.                regulation, the same or similar regulatory goals, and
                                                                                                                                                             if they regulate the same classes of industry. Rules
                                                390 See comment of EPI.                                601(8), and the rule imposes no such                  are conflicting when they impose two conflicting
                                                391 See comment of Law and Economics                                                                         regulatory requirements on the same classes of
                                              Professors.                                                392 See comment of AFL–CIO.                         industry.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                                Filed: 05/02/2025                   Page 54 of 58
                                              11232            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              the NLRA, and, in fact, will be the only                 3. Response of the Agency to Any                             The final rule will only be applied as
                                              joint-employer standard maintained by                    Comments Filed by the Chief Counsel                       a matter of law when small businesses
                                              the NLRB. Nor does the rule expose                       for Advocacy of the Small Business                        are alleged to be joint employers in a
                                              regulated entities to conflicting                        Administration in Response to the                         Board proceeding. Therefore, the
                                              obligations, even if other agencies apply                Proposed Rule, and a Detailed                             frequency with which the issue comes
                                              different standards for determining                      Statement of Any Change Made to the                       before the Board is indicative of the
                                              when a joint-employment relationship                     Proposed Rule in the Final Rule as a                      number of small entities most directly
                                              exists under other statutes.                             Result of the Comments                                    impacted by the final rule. A review of
                                                                                                          The Chief Counsel of Advocacy of the                   the Board’s representation petitions and
                                              e. Response to Comments Concerning                                                                                 unfair labor practice charges provides a
                                                                                                       Small Business Administration did not
                                              Public Outreach                                          submit comments in response to the                        basis for estimating the frequency with
                                                                                                       NPRM.                                                     which the joint-employer issue comes
                                                 One commenter argues that the Board                                                                             before the Agency. During the five-year
                                              failed to conduct sufficient outreach to                 4. Description and Estimate of Number                     period between January 1, 2013, and
                                              small businesses, including small local                  of Small Entities to Which the Rule                       December 31, 2017, a total of 114,577
                                              unions, that will be impacted by the                     Applies                                                   representation and unfair labor practice
                                              rule. 5 U.S.C. 609.397 But there have                       In order to evaluate the impact of the                 cases were initiated with the Agency. In
                                              been no surprises: the issues addressed                  proposed rule, the Board first identified                 1598 of those filings, the representation
                                              by this rule have been the subject of a                  the entire universe of businesses that                    petition or unfair labor practice charge
                                              robust public debate for several years.                  could be impacted by a change in the                      filed with the Agency asserted a joint-
                                              And in conjunction with the official                     joint-employer standard. According to                     employer relationship between at least
                                              publication of the NPRM, the Board                       the United States Census Bureau, there                    two employers.401 Accounting for
                                              worked to widely publicize the                           were approximately 5.95 million                           repetitively alleged joint-employer
                                              proposed rule. Upon issuance, the                        business firms with employees in                          relationships in these filings, the Board
                                              Board published the NPRM and facts                       2016.398 Of those, the Census Bureau                      has identified 823 separate alleged joint-
                                              sheets on its website. See The Standard                  estimates that about 5,934,985 million                    employer relationships involving an
                                              for Determining Joint-Employer Status,                   were firms with fewer than 500                            estimated 1646 employers.402
                                                                                                       employees.399 While this final rule does                  Accordingly, the joint-employer
                                              NLRB, https://www.nlrb.gov/about-nlrb/
                                                                                                       not apply to employers that do not meet                   standard most directly impacted
                                              what-we-do/national-labor-relations-
                                                                                                       the Board’s jurisdictional requirements,                  approximately .028% of all 5.95 million
                                              board-rulemaking/standard-                                                                                         business firms (including both large and
                                              determining-joint-employer (last visited                 the Board does not have the data to
                                                                                                       determine the number of excluded                          small businesses) over the five-year
                                              Feb. 11, 2020). On September 13, 2018,                                                                             period. Since a large share of our joint-
                                              the Board issued a press release, which                  entities (nor was data received on this
                                                                                                       particular issue).400                                     employer cases involve large employers,
                                              was published on its website and                                                                                   the Board expects an even lower
                                              distributed by email to subscribers,                        398 ‘‘Establishments’’ refer to single location        percentage of small businesses to be
                                              notifying the public of the proposed                     entities—an individual ‘‘firm’’ can have one or           most directly impacted by the Board’s
                                              rule. See NLRB Office of Public Affairs,                 more establishments in its network. As we did in          application of the rule.
                                              Board Proposes Rule to Change its Joint-                 the NPRM, the Board has used firm-level data for             As discussed in the NPRM,
                                                                                                       this FRFA because establishment data is not
                                              Employer Standard (Sept. 13, 2018)                       available for certain types of employers discussed        irrespective of an Agency proceeding,
                                              https://www.nlrb.gov/news-outreach/                      below. Census Bureau definitions of                       the rule may be more relevant to certain
                                              news-story/board-proposes-rule-change-                   ‘‘establishment’’ and ‘‘firm’’ can be found at https://   types of small employers because their
                                                                                                       www.census.gov/programs-surveys/susb/about/
                                              its-joint-employer-standard. The press                   glossary.html (last visited Feb. 10, 2020).
                                              release was also shared on social media                     399 The U.S. Census Bureau does not specifically
                                                                                                                                                                 NLRB 1126 (1961). The Board asserts jurisdiction
                                                                                                                                                                 over non-retailers generally where the value of
                                              through the Board’s official Twitter and                 define small business, but does break down its data       goods and services purchased from entities in other
                                              Facebook accounts. The Board members                     into firms with 500 or more employees and those           states is at least $50,000. Siemons Mailing Service,
                                                                                                       with fewer than 500 employees. See U.S                    122 NLRB 81 (1959).
                                              themselves have also discussed the                       Department of Commerce, Bureau of Census, 2016
                                              proposed rule at various public                                                                                       The following employers are excluded from the
                                                                                                       Statistics of U.S. Businesses (SUSB) Annual Data
                                                                                                                                                                 NLRB’s jurisdiction by statute:
                                              speaking engagements, including the                      Tables by Establishment Industry (Dec. 2018),
                                                                                                                                                                    • Federal, state and local governments, including
                                                                                                       https://www.census.gov/data/tables/2016/econ/
                                              annual meeting of the Labor and                          susb/2016-susb-annual.html (from downloaded               public schools, libraries, and parks, Federal Reserve
                                              Employment Law Section of the                            Excel Table entitled ‘‘U.S., 6-digit NAICS’’).            banks, and wholly-owned government corporations.
                                                                                                                                                                 29 U.S.C. 152(2).
                                              American Bar Association. Given the                      Consequently, the 500-employee threshold is
                                                                                                       commonly used to describe the universe of small              • Employers that employ only agricultural
                                              foregoing efforts and the thousands of                                                                             laborers, those engaged in farming operations that
                                                                                                       employers. For defining small businesses among
                                              comments the Board received in                           specific industries, the standards are defined by the     cultivate or harvest agricultural commodities or
                                              response to the NPRM, the Board                          North American Industry Classification System             prepare commodities for delivery. 29 U.S.C. 153(3).
                                              believes that the public has been well                   (NAICS), which we set forth below.                           • Employers subject to the Railway Labor Act,
                                                                                                          400 Pursuant to 29 U.S.C. 152(6) and (7), the Board    such as interstate railroads and airlines. 29 U.S.C.
                                              informed, the pros and cons of the rule                  has statutory jurisdiction over private sector            152(2).
                                              have been thoroughly examined, and                       employers whose activity in interstate commerce              401 This includes initial representation-case

                                              the impact of the rule on the full range                 exceeds a minimal level. NLRB v. Fainblatt, 306           petitions (RC petitions) and unfair labor practice
                                                                                                       U.S. 601, 606–607 (1939). To this end, the Board          charges (CA cases) filed against employers.
                                              of business entities governed by it have
                                                                                                       has adopted monetary standards for the assertion of          402 Since a joint-employer relationship requires at
khammond on DSKJM1Z7X2PROD with RULES2




                                              been brought into sharp focus by                         jurisdiction that are based on the volume and             least two employers, the Board has estimated the
                                              individuals, businesses, labor unions,                   character of the business of the employer. In             number of employers by multiplying the number of
                                              and industry trade groups.                               general, the Board asserts jurisdiction over              asserted joint-employer relationships by two. Some
                                                                                                       employers in the retail business industry if they         of these filings assert more than two joint
                                                                                                       have a gross annual volume of business of $500,000        employers; but, on the other hand, some of the same
                                                                                                       or more. Carolina Supplies & Cement Co., 122              employers are named multiple times in these
                                                                                                       NLRB 88 (1959). But shopping center and office            filings. Additionally, this number is certainly
                                                                                                       building retailers have a lower threshold of              inflated because the data does not reveal those cases
                                                397 See Comment of AFL–CIO.                            $100,000 per year. Carol Management Corp., 133            where joint-employer status is not in dispute.



                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM      26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                 Page 55 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                                11233

                                              business relationships involve the                          (2) Temporary help service suppliers                often an initial fee for the right to
                                              exchange of employees or operational                     (NAICS #561320) are primarily engaged                  conduct business under the franchisor’s
                                              control.403 83 FR at 46693. In addition,                 in supplying workers to supplement a                   name and system.408 The nature and
                                              labor unions, as organizations                           client employer’s workforce. To be                     degree of control exercised by
                                              representing or seeking to represent                     defined as a small business temporary                  franchisors over franchisee operations
                                              employees, will be impacted by the                       help service supplier by the SBA, the                  vary widely and may, depending on the
                                              Board’s change in its joint-employer                     entity must generate receipts of less                  circumstances of a particular
                                              standard. Thus, the Board identified the                 than $27.5 million annually.405 In 2012,               franchising relationship, render the
                                              following five types of small businesses                 there were 13,202 temporary service                    relationship subject to application of the
                                              or entities as those most likely to be                   supplier firms in the U.S.406 Of these                 Board’s joint-employer standard. The
                                              impacted by the rule: Contractors/                       business firms, 6,372 had receipts of                  Board explained in the NPRM that it
                                              subcontractors, temporary help service                   less than $1,000,000; 3947 had receipts                does not have the means to identify
                                              suppliers, temporary help service users,                 between $1,000,000 and $4,999,999;                     precisely how many franchisees operate
                                              franchisees, and labor unions.                           1639 had receipts between $5,000,000                   within the United States, or how many
                                                 (1) Businesses commonly enter into                    and $14,999,999; and 444 had receipts                  are small businesses as defined by the
                                              contracts with vendors to receive a wide                 between $15,000,000 and $24,999,999.                   SBA. A 2012 survey of business owners
                                              range of services that may satisfy their                 In aggregate, at least 12,402 temporary                by the Census Bureau revealed that at
                                              primary business objectives or solve                     help service supplier firms (93.9% of                  least 507,834 firms operated a portion of
                                              discrete problems they are not qualified                 total) are definitely small businesses                 their business as a franchise. But only
                                              to address. And there are seemingly                      according to SBA standards. Since the                  197,204 of these firms had paid
                                              unlimited types of vendors who provide                   Board cannot determine how many of                     employees.409 In the Board’s view, only
                                              these types of contract services.                        the 130 business firms with receipts                   franchisees with paid employees are
                                              Businesses may also subcontract work                     between $25,000,000 and $29,999,999                    potentially impacted by the joint-
                                              to vendors to satisfy their own                          fall below the $27.5 million annual                    employer standard. Of the franchisees
                                              contractual obligations—an arrangement                   receipt threshold (nor were any                        with employees, 126,858 (64.3%) had
                                              common to the construction industry.                     comments submitted on this topic), it                  sales receipts totaling less than $1
                                              Businesses that contract to receive or                   will assume that these are small                       million. Based on this available data
                                              provide services often share workspaces                  businesses as defined by the SBA. For                  and the SBA’s definitions of small
                                              and sometimes share control over                         purposes of this FRFA, as in the NPRM,                 businesses, which generally define
                                              workers, rendering their relationships                   the Board assumes that 12,532                          small businesses as having receipts well
                                              subject to application of the Board’s                    temporary help service supplier firms                  over $1 million, the Board assumes that
                                              joint-employer standard. The Board                       (94.9% of total) are small businesses.                 almost two-thirds of franchisees would
                                              does not have the means to identify                         (3) Entities that use temporary help                be defined as small businesses.410
                                              precisely how many businesses are                        services in order to staff their businesses               (5) Labor unions, as defined by the
                                              impacted by contracting and                              are widespread throughout many types                   NLRA, are entities ‘‘in which employees
                                              subcontracting within the United States,                 of industries and include both large and               participate and which exist for the
                                              or how many contractors and                              small employers. A 2012 survey of                      purpose . . . of dealing with employers
                                              subcontractors would be small                            business owners by the Census Bureau                   concerning grievances, labor disputes,
                                              businesses as defined by the SBA.404                     revealed that at least 266,006 firms                   wages, rates of pay, hours of
                                                                                                       obtained staffing from temporary help                  employment, or conditions of work.’’ 411
                                                403 The Board acknowledges that there are other        services in that calendar year.407 This                By defining which employers are joint
                                              types of entities and/or relationships between           survey provides the only gauge of                      employers under the NLRA, the final
                                              entities that may be affected by this change in the      employers that obtain staffing from
                                              joint-employer rule. Such relationships include but                                                             rule impacts labor unions generally, and
                                              are not limited to lessor/lessee and parent/
                                                                                                       temporary help services, and the Board                 more directly impacts those labor
                                              subsidiary. However, the Board does not believe          is without the means to estimate what                  unions that organize the specific
                                              that entities involved in these relationships would      portion of those are small businesses as               business sectors discussed above. The
                                              be impacted more than the entities discussed             defined by the NAICS. Nor were
                                              below.                                                                                                          SBA’s ‘‘small business’’ standard for
                                                404 The only data known to the Board relating to
                                                                                                       comments received on this topic. For                   ‘‘Labor Unions and Similar Labor
                                              contractor business relationships involve                purposes of this FRFA, the Board                       Organizations’’ (NAICS #813930) is $7.5
                                              businesses that contract with the federal                assumes that all users of temporary
                                              government. In 2014, the DOL reported that               services are small businesses.                            408 See IFA FAQs, found at https://
                                              approximately 500,000 federal contractor firms              (4) Franchising is a method of                      www.franchise.org/faqs-about-franchising (last
                                              were registered with the General Services
                                              Administration. Establishing a Minimum Wage for          distributing products or services in                   visited Feb. 10, 2020).
                                                                                                                                                                 409 See U.S. Department of Commerce, Bureau of
                                              Contractors, 79 FR 60634, 60697. However, the            which a franchisor lends its trademark
                                                                                                                                                              Census, 2012 Survey of Business Owners, https://
                                              Board is without the means to identify the precise       or trade name and a business system to                 factfinder.census.gov/bkmk/table/1.0/en/SBO/
                                              number of firms that actually receive federal            a franchisee, which pays a royalty and
                                              contracts or to determine what portion of those are                                                             2012/00CSCB67 (last visited Feb. 11, 2020).
                                              small businesses as defined by the SBA. No                                                                         The Board received comments from the IFA and
                                                                                                         405 13 CFR 121.201.                                  Chamber of Commerce stating that there are 233,000
                                              comments were received on this topic. Even if these
                                              data were available, the Board does not have               406 The Census Bureau only provides data about       small business franchisees in the United States.
                                              jurisdiction over government entities, and therefore     receipts in years ending in 2 or 7. The 2017 data      However, the Board is unable to verify the
                                              business relationships between federal contractors       has not been published, so the 2012 data is the most   methodology of the underlying study producing
                                              and the federal agencies will not be impacted by the     recent available information regarding receipts. See   that number. Nevertheless, the statistic supplied by
khammond on DSKJM1Z7X2PROD with RULES2




                                              Board’s joint-employer rule. The business                U.S Department of Commerce, Bureau of Census,          these commenters is not far off from Census data
                                              relationships between federal contractors and their      2012 SUSB Annual Data Tables by Establishment          showing the total number of franchisees with paid
                                              subcontractors could be subject to the Board’s joint-    Industry, NAICS classification #561320, https://       employees in 2012. In the Board’s view, Census
                                              employer rule. However, the Board also lacks the         www2.census.gov/programs-surveys/susb/tables/          data is more reliable than a number that is derived
                                              means for estimating the number of businesses that       2012/us_6digitnaics_r_2012.xlsx.                       from unknown means. Therefore, the Board has
                                              subcontract with federal contractors or determine          407 See U.S. Department of Commerce, Bureau of       decided to rely on the Census’s data in performing
                                              what portion of those would be defined as small          Census, 2012 Survey of Business Owners, https://       this analysis.
                                                                                                                                                                 410 See 13 CFR 121.201.
                                              businesses, and no comments were received on this        factfinder.census.gov/bkmk/table/1.0/en/SBO/
                                              subject.                                                 2012/00CSCB46 (last visited Feb. 11, 2020).               411 29 U.S.C. 152(5).




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                                                     USCA Case #25-1119                            Document #2114177                                 Filed: 05/02/2025               Page 56 of 58
                                              11234            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              million in annual receipts.412 In 2012,                  determine the amount of ‘‘reporting,                     from reviewing the rule. The Board
                                              there were 13,740 labor union firms in                   recordkeeping and other compliance                       believes a union would consult with an
                                              the U.S.413 Of these firms, 11,245 had                   requirements’’ imposed on small                          attorney, which is estimated to require
                                              receipts of less than $1,000,000, 2022                   entities.415 In providing its FRFA, an                   no more than one hour of attorney time
                                              labor unions had receipts between                        agency may provide either a                              costing $97.08 (see fns. 418 and 419))
                                              $1,000,000 and $4,999,999, and 141 had                   quantifiable or numerical description of                 because union counsel should already
                                              receipts between $5,000,000 and                          the effects of a rule or alternatives to the             be familiar with the pre-Browning-Ferris
                                              $7,499,999. In aggregate, 13,408 labor                   rule, or ‘‘more general descriptive                      standard. Additionally, the Board
                                              union firms (97.6% of total) are small                   statements if quantification is not                      expects that the additional clarity of the
                                              businesses according to SBA standards.                   practicable or reliable.’’416                            final rule will serve to reduce litigation
                                                 Based on the foregoing, the Board                        The Board concludes that the final                    expenses for unions and other small
                                              assumes there are 12,532 temporary                       rule imposes no capital costs for                        entities.
                                              help supplier firms, 197,204 franchise                   equipment needed to meet the                                The Board does not find the estimated
                                              firms, and 13,408 union firms that are                   regulatory requirements; no costs of                     $144.69 cost to small employers and the
                                              small businesses; and it further assumes                 modifying existing processes and                         estimated $97.08 cost to unions in order
                                              that all 266,006 temporary help user                     procedures to comply with the final                      to review and understand the rule to be
                                              firms are small businesses. Therefore,                   rule; no lost sales and profits resulting                significant within the meaning of the
                                              among these four categories of                           from the final rule; no changes in                       RFA. In making this finding, one
                                              employers that are most interested in                    market competition as a result of the                    important indicator is the cost of
                                              the final rule, 489,150 business firms are               final rule and its impact on small                       compliance in relation to the revenue of
                                              assumed to be small businesses as                        entities or specific submarkets of small                 the entity or the percentage of profits
                                              defined by the SBA. The Board believes                   entities; and no costs of hiring                         affected.420 Other criteria to be
                                              that all of these small businesses, and                  employees dedicated to compliance                        considered are the following:
                                              also those businesses regularly engaged                  with regulatory requirements.417 The                     —Whether the rule will cause long-term
                                              in contracting/subcontracting, have a                    final rule also does not impose any new                     insolvency, i.e., regulatory costs that
                                              general interest in the rule and would be                information collection or reporting                         may reduce the ability of the firm to
                                              impacted by the compliance costs,                        requirements on small entities.                             make future capital investment,
                                              discussed below, related to reviewing                       Small entities may incur some costs                      thereby severely harming its
                                              and understanding the rule. But, as                      from reviewing the rule in order to                         competitive ability, particularly
                                              previously noted, employers will only                    understand the substantive changes to                       against larger firms;
                                              be most directly impacted when they                      the joint-employer standard. The Board                   —Whether the cost of the proposed
                                              are alleged to be a joint employer in a                  estimates that a labor compliance                           regulation will (a) eliminate more
                                              Board proceeding. Given the Board’s                      employee at a small employer who                            than 10 percent of the businesses’
                                              historic filing data, this number is very                undertook to become generally familiar                      profits; (b) exceed one percent of the
                                              small relative to the number of small                    with the proposed changes may take at                       gross revenues of the entities in a
                                              employers in these five categories.                      most one hour to read the summary of                        particular sector, or (c) exceed five
                                                 Throughout the IRFA, the Board                        the rule in the introductory section of                     percent of the labor costs of the
                                              requested comments or data that might                    the preamble. It is also possible that a                    entities in the sector.421
                                              improve its analysis, 83 FR at 46693,                    small employer may wish to consult                          The minimal cost to read and
                                              46695–46696, but no additional data                      with an attorney, which we estimated to                  understand the rule, $144.69 for small
                                              was received regarding the number of                     require one hour as well.418 Using the                   employers and $97.08 for small unions,
                                              small entities to which the rule will                    Bureau of Labor Statistics (BLS)’ most                   will not generate any such significant
                                              apply, other than the comments                           recent estimated wage and benefit costs,                 economic impacts.
                                              referenced in n. 409, above.                             the Board has assessed these labor costs                    In the NPRM, the Board requested
                                              5. Description of the Projected                          to be $144.69.419                                        comments from the public that would
                                              Reporting, Recordkeeping and Other                          As to the impact on unions, the Board                 shed light on any potential compliance
                                              Compliance Requirements of the Rule,                     anticipates they may also incur costs                    costs, 83 FR 46693, and considered
                                              Including an Estimate of the Classes of                                                                           those responses in the comments
                                              Small Entities That Will Be Subject to
                                                                                                         415 See 5 U.S.C. 604(a)(4).                            section above.
                                                                                                         416 5 U.S.C. 607.
                                              the Requirement and the Type of                            417 See SBA Guide at 37.                               6. Description of the Steps the Agency
                                              Professional Skills Necessary for                          418 The Board does not believe that more than one      Has Taken To Minimize the Significant
                                              Preparation of the Report or Record                      hour of time by each would be necessary to read          Economic Impact on Small Entities
                                                 The RFA requires an agency to                         and understand the rule. This is because the new         Consistent With the Stated Objectives of
                                                                                                       standard constitutes a return to the pre-Browning-       Applicable Statutes, Including a
                                              consider the direct burden that                          Ferris standard, with which most employers are
                                              compliance with a new regulation will                    already familiar if relevant to their businesses, and    Statement of the Factual, Policy, and
                                              likely impose on small entities.414 Thus,                with which most labor-management attorneys are           Legal Reasons for Selecting the
                                              the RFA requires the Agency to                           also familiar.                                           Alternative Adopted in the Final Rule
                                                                                                          419 For wage figures, see May 2018 National
                                                                                                                                                                and Why Each One of the Other
                                                                                                       Occupancy Employment and Wage Estimates,
                                                412 13 CFR 121.201
                                                                                                       found at https://www.bls.gov/oes/current/oes_
                                                                                                                                                                Significant Alternatives to the Rule
                                                413 See U.S Department of Commerce, Bureau of
                                                                                                       nat.htm. The Board has been administratively             Considered by the Agency Which Affect
                                              Census, 2012 SUSB Annual Data Tables by                  informed that BLS estimates that fringe benefits are     the Impact on Small Entities Was
khammond on DSKJM1Z7X2PROD with RULES2




                                              Establishment Industry, NAICS classification             approximately equal to 40 percent of hourly wages.       Rejected
                                              #722513, https://www2.census.gov/programs-               Thus, to calculate total average hourly earnings,
                                              surveys/susb/tables/2012/us_6digitnaics_r_               BLS multiplies average hourly wages by 1.4. In May          Pursuant to 5 U.S.C. Sec. 604(a)(6),
                                              2012.xlsx.                                               2018, average hourly wages for labor relations           agencies are directed to examine ‘‘why
                                                414 See Mid-Tex Elec. Co-op v. FERC, 773 F.2d at       specialists (BLS #13–1075) were $34.01. The same
                                              342 (‘‘[I]t is clear that Congress envisioned that the   figure for a lawyer (BLS # 23–1011) is $69.34.
                                                                                                                                                                each one of the other significant
                                              relevant ‘economic impact’ was the impact of             Accordingly, the Board multiplied each of those
                                                                                                                                                                  420 See SBA Guide at 18.
                                              compliance with the proposed rule on regulated           wage figures by 1.4 and added them to arrive at its
                                              small entities.’’).                                      estimate.                                                  421 Id. at 19.




                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00052   Fmt 4701      Sfmt 4700   E:\FR\FM\26FER2.SGM   26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025                Page 57 of 58
                                                               Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations                                              11235

                                              alternatives to the rule considered by                   jurisdiction, with no suggestion that it                 PART 103—OTHER RULES
                                              the agency which affect the impact on                    wanted to limit coverage of any part of
                                              small entities was rejected.’’ In the                    the Act to only larger employers.424 As                  ■ 1. The authority citation for part 103
                                              NPRM, the Board requested comments                       the Supreme Court has noted, ‘‘[t]he                     continues to read as follows:
                                              identifying any other issues and                         [NLRA] is federal legislation,                             Authority: 29 U.S.C. 156, in accordance
                                              alternatives that it had not considered.                 administered by a national agency,                       with the procedure set forth in 5 U.S.C. 553.
                                              See 83 FR 46696.                                         intended to solve a national problem on                  ■ 2. Add subpart D, consisting of
                                                 Several comments suggest that the                     a national scale.’’ 425 As such, this                    § 103.40, to read as follows:
                                              Board withdraw the proposed rule and                     alternative is contrary to the objectives
                                              leave in place the Browning-Ferris joint-                of this rulemaking and of the NLRA.                      Subpart D—Joint Employers
                                              employer standard.422 We considered                         None of the alternatives considered
                                              and rejected this alternative for the                    accomplished the objectives of issuing                   § 103.40   Joint Employers.
                                              reasons stated in Sections V.N and VI,                   this rule while minimizing costs on                        (a) An employer, as defined by
                                              supra. The Board finds it desirable to                   small businesses. Accordingly, the                       Section 2(2) of the National Labor
                                              revise the Browning-Ferris standard and                  Board believes that promulgating this                    Relations Act (the Act), may be
                                              to do so through the rulemaking                          final rule is the best regulatory course of              considered a joint employer of a
                                              process. Consequently, the Board rejects                 action.                                                  separate employer’s employees only if
                                              maintaining the status quo.                                                                                       the two employers share or codetermine
                                                 One comment proposes two                              B. Paperwork Reduction Act                               the employees’ essential terms and
                                              additional alternatives.423 It suggests                    In the NPRM, the Board explained                       conditions of employment. To establish
                                              that if the Board is to depart from the                  that the proposed rule would not                         that an entity shares or codetermines the
                                              Browning-Ferris standard, the final rule                 impose any information collection                        essential terms and conditions of
                                              should expand the definition of ‘‘joint                  requirements and accordingly, the                        another employer’s employees, the
                                              employer’’ to explicitly include indirect                proposed rule is not subject to the                      entity must possess and exercise such
                                              employers ‘‘with sufficient market                       Paperwork Reduction Act (PRA), 44                        substantial direct and immediate control
                                              power in the direct employer’s product                   U.S.C. 3501–3521. See 83 FR 46696. No                    over one or more essential terms or
                                              market or the relevant labor market to                   substantive comments were received                       conditions of their employment as
                                              determine workers’ wages and/or terms                    relevant to the Board’s analysis of its                  would warrant finding that the entity
                                              and conditions of work.’’ The comment                    obligations under the PRA.                               meaningfully affects matters relating to
                                              further suggests that the Board should,                                                                           the employment relationship with those
                                              at a minimum, include franchisors that                   C. Congressional Review Act                              employees. Evidence of the entity’s
                                              include no-poaching, non-compete, and                       In the NPRM, the Board explained                      indirect control over essential terms and
                                              similar clauses in their franchise                       that the provisions of the proposed rule                 conditions of employment of another
                                              agreements, since those provisions                       were substantive and that the Board                      employer’s employees, the entity’s
                                              restrict labor market competition. The                   would submit this rule and required                      contractually reserved but never
                                              Board discussed these alternatives in                    accompanying information to the                          exercised authority over the essential
                                              Section V.M and V.N and rejected those                   Senate, the House of Representatives,                    terms and conditions of employment of
                                              alternatives for the reasons explained                   and the Comptroller General as required                  another employer’s employees, or the
                                              above.                                                   by the Small Business Regulatory                         entity’s control over mandatory subjects
                                                 In the NPRM, the Board considered                     Enforcement Fairness Act                                 of bargaining other than the essential
                                              exempting certain small entities. See 83                 (Congressional Review Act or CRA), 5                     terms and conditions of employment is
                                              FR 46696. The Board received no                          U.S.C. 801–808. Pursuant to the                          probative of joint-employer status, but
                                              comments on this potential alternative                   Congressional Review Act, the Office of                  only to the extent it supplements and
                                              and again rejects this exemption as                      Information and Regulatory Affairs                       reinforces evidence of the entity’s
                                              impractical because such a large                         designated this rule as a major rule.                    possession or exercise of direct and
                                              percentage of employers and unions                       Accordingly, the rule will become                        immediate control over a particular
                                              would be exempt under the SBA                            effective April 27, 2020.                                essential term and condition of
                                              definitions, thereby substantially                                                                                employment. Joint-employer status must
                                              undermining the purpose of the final                     Final Rule                                               be determined on the totality of the
                                              rule. Moreover, as this rule often applies                 This rule is published as a final rule.                relevant facts in each particular
                                              to relationships involving a small entity                                                                         employment setting. The party asserting
                                                                                                       List of Subjects in 29 CFR Part 103                      that an entity is a joint employer has the
                                              (such as a franchisee) and a large
                                              enterprise (such as a franchisor),                         Jurisdictional standards, Election                     burden of proof.
                                              exemptions for small businesses would                    procedures, Appropriate bargaining                         (b) ‘‘Essential terms and conditions of
                                              decrease the application of the rule to                  units, Joint Employers, Remedial                         employment’’ means wages, benefits,
                                              larger businesses as well, potentially                   Orders.                                                  hours of work, hiring, discharge,
                                              undermining the policy behind this                         For the reasons stated in the                          discipline, supervision, and direction.
                                                                                                                                                                  (c) ‘‘Direct and Immediate Control’’
                                              rule. Additionally, given the very small                 preamble, the National Labor Relations
                                                                                                                                                                means the following with respect to
                                              quantifiable cost of compliance, it is                   Board amends 29 CFR part 103 as
                                                                                                                                                                each respective essential employment
                                              possible that the burden on a small                      follows:
                                                                                                                                                                term or condition:
                                              business of determining whether it fell
                                                                                                                                                                  (1) Wages. An entity exercises direct
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                                              within a particular exempt category                        424 However, there are standards that prevent the

                                                                                                       Board from asserting authority over entities that fall   and immediate control over wages if it
                                              might exceed the burden of compliance.
                                                                                                       below certain jurisdictional thresholds. This means      actually determines the wage rates,
                                              Congress gave the Board very broad                       that extremely small entities outside of the Board’s     salary or other rate of pay that is paid
                                                                                                       jurisdiction will not be affected by the final rule.     to another employer’s individual
                                                422 See comments of Law and Economics                  See 29 CFR 104.204.
                                              Professors; AFL–CIO; CWA.                                  425 NLRB v. Nat. Gas Util. Dist. of Hawkins Cty.,      employees or job classifications. An
                                                423 See comment of Law and Economics                   Tenn., 402 U.S. 600, 603–604 (1971) (quotation           entity does not exercise direct and
                                              Professors.                                              omitted).                                                immediate control over wages by


                                         VerDate Sep<11>2014    17:41 Feb 25, 2020   Jkt 250001   PO 00000   Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\26FER2.SGM    26FER2
                                                     USCA Case #25-1119                           Document #2114177                               Filed: 05/02/2025              Page 58 of 58
                                              11236            Federal Register / Vol. 85, No. 38 / Wednesday, February 26, 2020 / Rules and Regulations

                                              entering into a cost-plus contract (with                 not exercise direct and immediate                       (8) Direction. An entity exercises
                                              or without a maximum reimbursable                        control over discharge by bringing                    direct and immediate control over
                                              wage rate).                                              misconduct or poor performance to the                 direction by assigning particular
                                                 (2) Benefits. An entity exercises direct              attention of another employer that                    employees their individual work
                                              and immediate control over benefits if it                makes the actual discharge decision, by               schedules, positions, and tasks. An
                                              actually determines the fringe benefits                  expressing a negative opinion of another              entity does not exercise direct and
                                              to be provided or offered to another                     employer’s employee, by refusing to                   immediate control over direction by
                                              employer’s employees. This would                         allow another employer’s employee to                  setting schedules for completion of a
                                              include selecting the benefit plans (such                continue performing work under a                      project or by describing the work to be
                                              as health insurance plans and pension                    contract, or by setting minimal                       accomplished on a project.
                                              plans) and/or level of benefits provided                 standards of performance or conduct,
                                              to another employer’s employees. An                                                                              (d) ‘‘Substantial direct and immediate
                                                                                                       such as those required by government
                                              entity does not exercise direct and                                                                            control’’ means direct and immediate
                                                                                                       regulation.
                                              immediate control over benefits by                                                                             control that has a regular or continuous
                                                                                                          (6) Discipline. An entity exercises                consequential effect on an essential term
                                              permitting another employer, under an                    direct and immediate control over
                                              arm’s-length contract, to participate in                                                                       or condition of employment of another
                                                                                                       discipline if it actually decides to                  employer’s employees. Such control is
                                              its benefit plans.                                       suspend or otherwise discipline another
                                                 (3) Hours of work. An entity exercises                                                                      not ‘‘substantial’’ if only exercised on a
                                                                                                       employer’s employee. An entity does                   sporadic, isolated, or de minimis basis.
                                              direct and immediate control over hours
                                                                                                       not exercise direct and immediate
                                              of work if it actually determines work                                                                           (e) ‘‘Indirect control’’ means indirect
                                                                                                       control over discipline by bringing
                                              schedules or the work hours, including                                                                         control over essential terms and
                                                                                                       misconduct or poor performance to the
                                              overtime, of another employer’s                                                                                conditions of employment of another
                                                                                                       attention of another employer that
                                              employees. An entity does not exercise                                                                         employer’s employees but not control or
                                                                                                       makes the actual disciplinary decision,
                                              direct and immediate control over hours                                                                        influence over setting the objectives,
                                                                                                       by expressing a negative opinion of
                                              of work by establishing an enterprise’s                                                                        basic ground rules, or expectations for
                                              operating hours or when it needs the                     another employer’s employee, or by
                                                                                                       refusing to allow another employer’s                  another entity’s performance under a
                                              services provided by another employer.                                                                         contract.
                                                 (4) Hiring. An entity exercises direct                employee to access its premises or
                                              and immediate control over hiring if it                  perform work under a contract.                          (f) ‘‘Contractually reserved authority
                                              actually determines which particular                        (7) Supervision. An entity exercises               over essential terms and conditions of
                                              employees will be hired and which                        direct and immediate control over                     employment’’ means the authority that
                                              employees will not. An entity does not                   supervision by actually instructing                   an entity reserves to itself, under the
                                              exercise direct and immediate control                    another employer’s employees how to                   terms of a contract with another
                                              over hiring by requesting changes in                     perform their work or by actually                     employer, over the essential terms and
                                              staffing levels to accomplish tasks or by                issuing employee performance                          conditions of employment of that other
                                              setting minimal hiring standards such as                 appraisals. An entity does not exercise               employer’s employees, but that has
                                              those required by government                             direct and immediate control over                     never been exercised.
                                              regulation.                                              supervision when its instructions are                   Dated: February 14, 2020.
                                                 (5) Discharge. An entity exercises                    limited and routine and consist
                                                                                                                                                             Roxanne L. Rothschild,
                                              direct and immediate control over                        primarily of telling another employer’s
                                              discharge if it actually decides to                      employees what work to perform, or                    Executive Secretary.
                                              terminate the employment of another                      where and when to perform the work,                   [FR Doc. 2020–03373 Filed 2–25–20; 8:45 am]
                                              employer’s employee. An entity does                      but not how to perform it.                            BILLING CODE 7545–01–P
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